     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 1 of 60



                                                                  Page 1

 1                UNITED STATES DISTRICT COURT FOR THE
 2                    WESTERN DISTRICT OF WISCONSIN
 3                                   --o0o--
 4   EDGEWOOD HIGH SCHOOL OF THE
     SACRED HEART, INC.,
 5
                        Plaintiff,
 6
                                             Case No. 3:21-cv-0018-wmc
 7
     CITY OF MADISON, WISCONSIN,
 8   et al,
 9                      Defendants.
     ______________________________
10
11
12
                                DEPOSITION OF
13
                               JOHN W. STRANGE
14
15
16                                June 1, 2022
17                            Madison, Wisconsin
18
19
20
21
22
23
24   Reported by:      Cheri Winter, CSR
25

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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 2 of 60


                                                              Page 2                                                        Page 4
 1              INDEX                                                   1          DEPOSITION OF JOHN W. STRANGE, called as a
 2
     WITNESS                            PAGE                            2   witness, taken at the instance of the Plaintiff,
 3                                                                      3   pursuant to Subpoena, before Cheri Winter, Certified
     JOHN W. STRANGE
 4
                                                                        4   Shorthand Reporter, and a notary public in and for the
         Examination by Mr. Ingrisano          5                        5   State of Wisconsin, at the law offices of Godfrey &
 5                                                                      6   Kahn, S.C., One East Main Street, Suite 500, Madison,
 6
 7                                                                      7   Wisconsin, on the 1st day of June, 2022, commencing at
                EXHIBITS                                                8   8:56 a.m.
 8
 9 No.              Description      Identified
                                                                        9
10 Exhibit 107 Email from Wautier re            22                     10 APPEARANCES:
            delaying consideration of                                  11 For the Plaintiff:
11          Edgewood's proposal
12 Exhibit 108 Email exchange with Wautier         24
                                                                       12    JONATHAN R. INGRISANO, ESQ.
            Re Edgewood Statement                                            GODFREY & KAHN, S.C.
13                                                                     13    One East Main Street, Suite 500
   Exhibit 109 Email exchange with Wautier         37
14          Re Meeting tonight,                                              Madison, Wisconsin 53701
            dated March 7, 2019                                        14    608.257.0609
15
   Exhibit 110 Email from Matt Lee re           56
                                                                             jingrisa@gklaw.com
16          July 2nd meeting, dated                                    15
            July 1, 2019                                               16 For the Defendants:
17
   Exhibit 111 Series of emails re obtaining     57                    17    SARAH A. ZYLSTRA, ESQ.
18          copy of Edgewood's 3/12                                          TANNER JEAN-LOUIS, ESQ.
            letter to city.
19
                                                                       18    BOARDMAN & CLARK, LLP
   Exhibit 112 Email from Matt Lee re           65                           1 South Pinckney Street, 4th Floor
20          July 2nd meeting, dated                                    19    Madison, Wisconsin 53701
            July 1, 2019
21                                                                           szylstra@boardmanclark.com
   Exhibit 113 Email from Ethan Brodsky re         66                  20    TJeanLouis@boardmanclark.com
22          Questions about issue discussed                            21
            at Edgewood ZBA hearing
23                                                                     22
   Exhibit 114 Memo from Ms. Stouder to Mayor 115                      23
24          Rhodes-Conway and Madison Common
            Council, dated October 11, 2019
                                                                       24
25                                                                     25
                                                              Page 3                                                        Page 5
 1    EXHIBITS                                                          1          WEDNESDAY, JUNE 1, 2022, 8:56 A.M.
 2    No.         Description       Identified                          2                   --o0o--
 3    Exhibit 115  Curriculum vitae          116                        3              ATTORNEY JOHN STRANGE,
 4
                                                                        4      having been first duly sworn, was examined and
 5    PREVIOUSLY MARKED EXHIBITS:
 6                        Page
                                                                        5              testified as follows:
 7    Exhibit 3              35                                         6                   --o0o--
 8    Exhibit 6              26                                         7   BY MR. INGRISANO:
 9    Exhibit 12               70                                       8       Q. Good morning, Mr. Strange. Could you please
10    Exhibit 19             104                                        9   state your name and spell it for the record.
11    Exhibit 20               88                                      10       A. Sure. John Strange, J-o-h-n, last name is
12    Exhibit 21               83                                      11   Strange, S-t-r-a-n-g-e, just like the word.
13    Exhibit 22               82
                                                                       12       Q. What is your current residential address?
14    Exhibit 23               74
                                                                       13       A. 5010 La Crosse Lane.
15    Exhibit 24             110
16    Exhibit 30             111                                       14       Q. That's in Madison?
17    Exhibit 31             113                                       15       A. Madison, yep. 53705.
18    Exhibit 38               35                                      16       Q. How are you employed, sir?
19    Exhibit 45               18                                      17       A. I work for the University of Wisconsin.
20    Exhibit 70               40                                      18       Q. In what capacity?
21    Exhibit 71               49                                      19       A. I teach at the law school.
22                                                                     20       Q. What courses?
               QUESTIONS INSTRUCTED NOT TO ANSWER:
                                                                       21       A. I teach legal research and writing. Legal
23
                       Page / Line                                     22   courses. That's it so far. I've only been there for a
24                                                                     23   year.
                         55 / 13                                       24       Q. When did you start that job?
25                                                                     25       A. August of last year, 2021.

                                                                                                              2 (Pages 2 - 5)
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 3 of 60


                                                         Page 6                                                           Page 8
 1       Q. And prior to that you were employed where?             1   representatives about its athletic field?
 2       A. City of Madison.                                       2       A. With Edgewood or its representatives, probably
 3       Q. In what capacity?                                      3   around the time that they filed for the application to
 4       A. City attorney's office, assistant city                 4   amend the master plan, if not after that. I wasn't
 5   attorney.                                                     5   involved in anything prior to that.
 6          MS. ZYLSTRA: And I know these are easy                 6       Q. So is it fair to summarize perhaps you began
 7   answers, but for the court reporter try and slow down         7   involvement late 2018, early 2019?
 8   just a little.                                                8       A. That would be right, yeah.
 9          THE WITNESS: Sorry.                                    9       Q. Do you recall meeting with Edgewood or its
10       Q. MR. INGRISANO: So, Mr. Strange, as assistant          10   attorneys in January of 2019 to discuss the athletic
11   city attorney what were your responsibilities in that        11   field?
12   role?                                                        12       A. I don't recall off the top of my head meeting
13       A. Well, I started in 2009 and I was in the              13   with them. I met with their attorneys either over the
14   prosecution unit for about four to five years. And so        14   phone or in person a number of times over the course of
15   in that capacity, I handled all manner of municipal          15   a period of time.
16   ordinance violations -- municipal ordinance violations       16          I don't remember a specific meeting with their
17   in municipal court.                                          17   attorneys and Edgewood officials.
18          And then sometime before I moved out of the           18       Q. Do you recall a particular meeting with Nathan
19   prosecution unit I started to represent Madison Metro        19   Wautier and Matthew Tucker in about the middle of 2018
20   Transit, so transportation law. That was probably in         20   in which you were discussing the master plan amendment?
21   about, I don't know, 2013 or so, 2014, when that             21       A. In the middle of 2018?
22   happened.                                                    22       Q. In the middle of January 2019.
23          And then when I moved out of prosecution              23       A. In the middle of January 2019, I don't recall.
24   altogether, I took over land use and zoning. So from         24   I don't recall that.
25   about 2013 or '14 on, I was the primary lawyer for           25       Q. Do you ever recall a meeting with Mr. Wautier
                                                         Page 7                                                           Page 9
 1   Madison Metro Transit and land use and zoning.                1   in January of 2019 or February of 2019 in which you were
 2           And then as I got closer to the time when I           2   discussing -- in which it was discussed about whether
 3   left, I was also doing a lot of projects for the              3   Edgewood would table the master plan amendment?
 4   Council.                                                      4       A. Are you asking about January or February or
 5           For example, we had this task force on                5   both?
 6   structure of government. It was a two- to three-year          6       Q. Let's ask about January.
 7   period where I was lead staff for. We ended up having         7          Do you remember a January meeting with
 8   90 meetings with 11 members of this task force looking        8   Mr. Wautier in which he discussed tabling the master
 9   at racial equity and social justice issues with respect       9   plan amendment?
10   to Madison government.                                       10       A. I don't remember a meeting with him. I
11       Q. Just so I'm clear, it was around 2013-2014            11   remember conversations that they had started to talk
12   when you began taking on responsibilities for land use       12   about tabling the amendments, but I don't remember a
13   and planning?                                                13   specific meeting.
14       A. That's my best guess, but I can't remember the        14       Q. Do you remember conversations with those that
15   exact year. I was in the prosecution unit for four to        15   had been telephonic conversations with --
16   five years or so.                                            16       A. I don't recall if they were telephonic or in
17       Q. And you continued to be responsible or                17   person. I just remember there were conversations.
18   continued to work in the areas of transportation after       18       Q. Did you have any conversations with
19   that?                                                        19   Mr. Wautier about Edgewood adding lights to its athletic
20       A. That's correct.                                       20   field through the administrative process in January or
21       Q. So you added land use to transportation. You          21   early February of 2019?
22   didn't stop doing transportation?                            22          MS. ZYLSTRA: Object to form. You can answer.
23       A. That's correct.                                       23       A. Well, I remember the discussion relative to
24       Q. As assistant city attorney, when, if ever, did        24   tabling the amendment, so they filed for an amendment to
25   you first engage in discussions with Edgewood or its         25   the master plan in November. They were going forward

                                                                                                          3 (Pages 6 - 9)
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 4 of 60


                                                        Page 10                                                           Page 12
 1   with that, and then they sort of stopped and decided          1       Q. And there was extra storage; correct?
 2   they weren't going to go forward with that anyway or          2       A. I don't remember the storage.
 3   were considering not going forward with that anyway.          3       Q. They didn't seek any -- after raising with you
 4          That was a very unusual circumstance for us in         4   the issue of tabling the master plan amendment, they did
 5   general. Normally when somebody files an application,         5   not seek either locker rooms, concessions, or restrooms
 6   they go through with it one way or the other. So              6   through any other permitting process; is that right?
 7   suddenly there were discussions about potentially             7          MS. ZYLSTRA: Objection. Form and foundation.
 8   tabling that.                                                 8   You can answer.
 9          And I remember discussions about what happens          9       A. Not that I recall.
10   if we apply for lights. And I remember thinking I've         10       Q. When Edgewood's representatives, prior to
11   never known of an applicant to stop their application        11   filing for their outdoor lighting permit, when they
12   and start applying for permits they would otherwise need     12   raised the issue of seeking lighting did you confirm or
13   to get if they got the application ultimately approved.      13   advise that a light application could be approved?
14          So I don't remember when those were. You're           14          MS. ZYLSTRA: Objection. Form. You can
15   asking January or February. I can't tell if they were        15   answer.
16   January or February, but I remember those conversations.     16       A. At what point are you talk about?
17       Q. You remember, do you not, sir, that Edgewood          17       Q. Sure. Between the period of time in which
18   filed a light application for -- an application for          18   they first raised the issue of tabling the amendment and
19   lights under the outdoor lighting ordinance on or around     19   seeking lights separately versus when they actually
20   February 22nd of 2019; correct?                              20   filed their light application, did you ever advise them
21       A. I remember that they filed an application for         21   or confirm that they could get a lighting application
22   lights. I don't exactly know when they filed it.             22   approved?
23       Q. Sure. Prior to them actually filing the               23          MS. ZYLSTRA: Objection. Form. You can
24   application, though, they had apprised you, hadn't they,     24   answer.
25   that they were considering tabling their amendment?          25       A. No, I did not. I was not -- 10.085, which is
                                                        Page 11                                                           Page 13
 1       A. Right. They had discussed the possibility of           1   the lighting ordinance, that was not my area. So I
 2   tabling the amendment and that's when they started to         2   didn't know -- that was the first time I had ever even
 3   ask about the possibility of basically trying to get the      3   heard of 10.085 as a separate issue, so I wasn't the
 4   things that were in their amendment without going             4   lighting lawyer.
 5   through the amendment.                                        5           So at that point I would have had no basis to
 6       Q. Taking more of a piecemeal approach; is that           6   advise them about the technical aspects of lighting,
 7   fair?                                                         7   whether there is lumens, those kinds of things, so I
 8          MS. ZYLSTRA: Objection. Form. You can                  8   didn't know anything about that stuff.
 9   answer.                                                       9           I knew that there was interaction with zoning
10       A. I don't know that I would use the word                10   code and to still be compliant with the zoning code, but
11   "piecemeal." All I remember is suddenly they were            11   I didn't advise them one way or the other before they
12   talking about just filing a lighting application and         12   filed the application.
13   thinking that that was the only time I had ever known        13       Q. Prior to Edgewood filing its application for
14   that to happen where somebody just starts filing for         14   lights did you hear or see Matt Tucker advise Edgewood
15   permits before they go through with their application.       15   or its attorneys that a lighting application could be
16       Q. You understood that their master plan                 16   approved without a master plan amendment?
17   amendment was filed, as you said, in November of 2018.       17       A. No.
18          Part of that amendment sought locker rooms;           18       Q. Same question with respect to sound approval
19   correct?                                                     19   for amplified sound.
20       A. Correct.                                              20           MS. ZYLSTRA: Objection. Form. You can
21       Q. And part of that sought concession stands?            21   answer.
22       A. Correct.                                              22       A. What's the question?
23       Q. Restrooms?                                            23       Q. Sure. Did you ever observe or hear Matt
24       A. I don't -- yeah, correct. There were                  24   Tucker advise Edgewood prior to its lighting application
25   restrooms involved.                                          25   being filed that it could get approval for amplified

                                                                                                          4 (Pages 10 - 13)
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 5 of 60


                                                        Page 14                                                                Page 16
 1   sound for its football field, for its athletic field?         1 consulting.
 2       A. No.                                                    2     A. I don't recall consulting or giving any
 3       Q. Prior to the application being filed for               3 advice. It would have been unusual for us to think
 4   lighting did you ever see or observe or hear Matt Tucker      4 about it without an application on file, because there
 5   advise Edgewood on the subject of temporary bleachers?        5 are too many variables to guess at.
 6       A. No, I -- I don't remember anything about               6         So prior to the application being filed, I
 7   temporary bleachers until after -- after all of that.         7 don't recall and I would doubt we did.
 8       Q. In your communications with Matt Tucker prior          8     Q. So in conjunction with the master plan
 9   to Edgewood filing the lighting application did you and       9 amendment filed by Edgewood in November of 2018, did you
10   he ever discuss whether the City would be able to            10 review Edgewood's master plan?
11   approve a lighting application without a master plan         11     A. No. When they filed it -- are you asking for
12   amendment?                                                   12 when they filed the plan? No.
13          MS. ZYLSTRA: Wait a minute, wait a minute,            13     Q. In conjunction with that, at or around that
14   wait a minute. Let me hear it back.                          14 time.
15          (Record read.)                                        15     A. No.
16          MS. ZYLSTRA: Counsel, I think that's                  16     Q. Did you review the Edgewood Master Plan at any
17   attorney-client privilege and I'll instruct him not to       17 time prior to the filing of the light application in
18   answer. And if it is cabined with respect to the topics      18 February of 2019?
19   that we have already covered, one of which relates to        19     A. Well, at some point the issue of games was
20   the February 27th letter, I'm fine with him answering.       20 raised. That was the first -- that was the first that I
21          If it extends beyond that, if we don't put any        21 had been brought into it, when it was -- the question
22   constraints with respect to the time period, then I          22 came up whether or not they could play games on the
23   think I would call it privilege and instruct him not to      23 field because of the language that said it was limited
24   answer.                                                      24 to --
25          MR. INGRISANO: This is the time period                25         THE REPORTER: You have to speak up.

                                                        Page 15                                                                Page 17
 1   preceding that?                                               1          THE WITNESS: Because it was limited to the
 2          MS. ZYLSTRA: If we're keeping it within that           2   language of practices and classes. Sorry.
 3   time period I'll allow him to answer, but I just want --      3          And so I did look at that provision and that
 4          MR. INGRISANO: What time period is that?               4   would have been prior to the lighting application.
 5          MS. ZYLSTRA: The February time period                  5          Because one of the reasons they talked about
 6   relating to the lighting application in that letter.          6   tabling the amendment was because of the interpretation
 7          MR. INGRISANO: Okay. So I'm asking about               7   about the games. But my review of the master plan was
 8   before that lighting application.                             8   limited to that.
 9          MS. ZYLSTRA: Well, I don't mind if it's --             9       Q. MR. INGRISANO: When did you first review the
10          MR. INGRISANO: So I'm asking about February           10   Edgewood Master Plan?
11   and January of 2018.                                         11       A. I don't recall the date. It would have been
12          MS. ZYLSTRA: If it's cabined to that time             12   when -- around the time when we communicated or Matt
13   period I will let him answer.                                13   communicated to Edgewood that the games were not allowed
14          Do you need the question back again?                  14   on the field.
15          THE WITNESS: I would like the question back           15          So it would have been around that time that he
16   again.                                                       16   came to me and said something like we found out that
17          MS. ZYLSTRA: I just want to be clear on the           17   they were playing games on the field and so what do you
18   issue.                                                       18   think about this provision.
19          MR. INGRISANO: That's fine.                           19       Q. And that was communicated to Edgewood before
20          (Record read.)                                        20   the master plan amendment was filed; correct?
21          MS. ZYLSTRA: And that's in the                        21       A. I don't know. It would have been -- it was
22   January-February 2019 time period.                           22   either around that time or after that time. I don't
23          THE WITNESS: Right. And you're asking for             23   remember when it was related to when it was filed.
24   advice that I gave him or just whether we consulted?         24       Q. So if Matt Tucker testified that he
25      Q. MR. INGRISANO: I'm asking, at this point,              25   communicated to Edgewood in or around October of 2018

                                                                                                                  5 (Pages 14 - 17)
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 6 of 60


                                                        Page 18                                                         Page 20
 1   about his interpretation about games not being permitted      1       Q. MR. INGRISANO: -- or its attorneys?
 2   under the master plan it would have been at or around         2       A. When?
 3   that time that you would have first reviewed the master       3       Q. Prior to the filing of the light application,
 4   plan?                                                         4   did you ever advise Edgewood that the City would have no
 5          MS. ZYLSTRA: Objection. Form, foundation.              5   enforcement ability against team practices at night with
 6       A. I don't -- like I said, I don't remember -- I          6   lights?
 7   don't remember the date that he talked to me, the first       7           MS. ZYLSTRA: Objection. Form, foundation.
 8   time he talked to me about the games.                         8       A. I don't recall advising Edgewood of that.
 9          You're asking about whether I reviewed the             9       Q. Or its attorneys?
10   master plan. So he asked me about the games, and I           10       A. Or its attorneys.
11   looked at the provision of the master plan that dealt        11       Q. Prior to filing the -- prior Edgewood's filing
12   with the games and told him what I thought about that.       12   of its light application, did Mr. Wautier ever advise
13          MS. ZYLSTRA: Careful.                                 13   you that Edgewood would likely table its master plan
14       Q. MR. INGRISANO: I'll ask you to take a look at         14   amendment?
15   Exhibit 45, Mr. Strange.                                     15       A. Prior to -- prior to filing the lighting
16          Mr. Strange, have you ever seen the email in          16   application did Nathan ever tell me that they were
17   Exhibit 45, dated October 26, 2018, from Matt Tucker to      17   considering tabling their --
18   Brian Munson and Mike Elliot?                                18           Is that the same question you asked earlier
19       A. I mean, I don't recall seeing -- I don't              19   when we started all this?
20   recall seeing this. I mean, I wasn't copied on the           20       Q. That's the question I just asked.
21   letter. I don't recall seeing this at the time.              21       A. I know, but are you asking the same thing?
22          I remember -- I remember this issue coming up         22       Q. I don't think so, that's why I'm asking it
23   within the context of a larger meeting where it was          23   now.
24   raised this issue about the games, and that's the first      24           MS. ZYLSTRA: Object to form. You can answer.
25   I recall getting involved and talking to Matt about it.      25       A. Prior to filing -- prior to the time that they
                                                        Page 19                                                         Page 21
 1       Q. Sir, this is the first communication by the            1   filed the lighting application I recall him telling me
 2   City to Edgewood about a restriction on its ability to        2   that they were considering tabling the amendment.
 3   play games on its field.                                      3   That's all I recall about that.
 4          Do you have any reason to believe that you             4       Q. Did you ask him why?
 5   were consulting with Mr. Tucker around this time on this      5       A. I don't recall asking him why. I recall that
 6   interpretation of the master plan?                            6   one of the issues was the interpretation of games.
 7          MS. ZYLSTRA: Objection. Form, foundation.              7       Q. How was that an issue that would cause him to
 8       A. I mean, it's possible that I talked with him           8   table a master plan amendment that sought use of the
 9   in October if that's when this email came out.                9   field?
10          I don't know for certain that I talked to him         10       A. I don't know. You would have to ask Nathan
11   prior to him sending this email. I just remember him         11   that question.
12   consulting with me at some point about the fact that he      12          That wasn't loud enough. You'd have to ask
13   had learned information related to the number of games       13   Nathan that question.
14   being played, the kind of games being played on the          14       Q. Okay.
15   field.                                                       15       A. I don't know what motivated them.
16          And I don't remember the timeline with respect        16       Q. Prior to filing the lighting application, to
17   to October or November when they filed the application.      17   your knowledge, was there any sort of protest petition
18       Q. Prior to Edgewood filing its light                    18   that was filed against Edgewood's master plan amendment?
19   application, sir, did you ever advise the City would         19          MS. ZYLSTRA: Objection. Form, foundation.
20   have no enforcement ability against team practices at        20   You can answer.
21   Edgewood held at night under the lights?                     21       A. I don't recall.
22          MS. ZYLSTRA: Objection --                             22       Q. Have you heard that any of the neighbors were
23       Q. MR. INGRISANO: Did you ever advise                    23   planning on filing a protest petition to Edgewood's
24   Edgewood --                                                  24   master plan amendment?
25          MS. ZYLSTRA: Okay. Thank you.                         25       A. I had not heard that.

                                                                                                         6 (Pages 18 - 21)
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 7 of 60


                                                        Page 22                                                          Page 24
 1      Q. In your experience as a city attorney what              1       A. Well, certainly by January 22nd, 2019 when
 2   would the effect of a filing of a protest petition be on      2   this email came through, and when it was set to go to
 3   an amended master plan?                                       3   Plan Commission.
 4      A. Well, to amend a master plan in the kind of             4          We knew it was going to go to Plan Commission
 5   Campus-Institutional District you have to do a map            5   February 11, and so I would have found out sometime
 6   amendment, so that means changing the zoning.                 6   before that.
 7          So any time you do a map amendment there is a          7          It wasn't unusual for any project for me to
 8   possibility of a protest petition, and if a valid             8   not be significantly involved in the preparations for an
 9   protest petition is filed it increases the vote that's        9   upcoming Plan Commission meeting because there are so
10   required to three-quarters of the council instead of         10   many development projects throughout the City that
11   majority vote.                                               11   something like this could go all the way through without
12      Q. So supermajority instead of a majority vote?           12   me ever getting involved something like a big
13      A. I mean, three-quarters. People have different          13   development could.
14   definitions of supermajority.                                14          So it wouldn't be surprising if they started
15      Q. Understood.                                            15   to say they are not going to go forward with it I was
16          (Exhibit 107 marked.)                                 16   made aware of that one way or the other.
17      Q. MR. INGRISANO: Mr. Strange, take a look at             17          (Exhibit 108 marked.)
18   Exhibit 107.                                                 18       Q. MR. INGRISANO: Mr. Strange, I'm handing you
19          Do you recognize that, sir, as an email               19   what's been marked as Exhibit 108.
20   exchange, the last email of which -- it appears the last     20          Do you recognize that, sir, as an email
21   email of which you were copied upon. Do you see that?        21   exchange between and you Mr. Wautier, his email dated
22      A. When you say "the last email," are you talking         22   February 22nd and yours dated February 23rd?
23   about January 22nd, 2019, 10:02 a.m.?                        23       A. Yes, I recognize it.
24      Q. Yes, the most recent.                                  24       Q. And that top email is an email that you sent?
25      A. I see I was copied on that email, yes.                 25       A. It looks like it.
                                                        Page 23                                                          Page 25
 1      Q. Do you recall being apprised on this date by            1       Q. And that's your email address?
 2   this email that Edgewood was confirming that it was not       2       A. Yes, that's my email address.
 3   requesting consideration of its project at the February       3       Q. And in the email below Mr. Wautier is advising
 4   11th Plan Commission?                                         4   you that Edgewood is tabling its master plan amendment;
 5      A. You asked do I recall being apprised? Sitting           5   is that right?
 6   here right now I don't recall. I mean, this is three          6       A. That's correct.
 7   years ago, right?                                             7       Q. And you responded by thanking him; is that
 8          So I can look at this, though, and say I was           8   right?
 9   on this email, and I do recall hearing that they are not      9       A. That's what it says.
10   going forward with the Plan Commission hearing, so I         10       Q. And then you said, "I assumed this was going
11   certainly knew it around that time.                          11   to be the result." Do you see that?
12      Q. And, again, you don't recall having any                12       A. I do see that.
13   conversations with Mr. Wautier or anyone else at             13       Q. Why did you assume that that was going to be
14   Edgewood about why they were not requesting                  14   the result?
15   consideration at that next Plan Commission meeting;          15       A. I don't -- sitting here, I don't recall why I
16   correct?                                                     16   assumed that.
17      A. I don't recall any specific conversations              17          I recall conversations with Nathan as they
18   about that. I'm not saying they didn't happen. I mean,       18   were trying to make a final decision on that, and that's
19   Nathan and I talked frequently, but if you're asking         19   probably based on information that he had provided me
20   about independent conversations, without any notes or        20   that made me think that that's the way they were
21   anything I don't know.                                       21   leaning. But I don't know for certain why I would have
22      Q. So the best of your recollection you were              22   said that I assumed that was going to be the result.
23   apprised of the possibility of this being tabled by late     23       Q. Is it fair to say, sir, that you were not
24   January, by the end of January 2019; correct?                24   surprised by Edgewood's decision to table its amendment
25          MS. ZYLSTRA: Objection. Form.                         25   if you had assumed that that was the result that they

                                                                                                          7 (Pages 22 - 25)
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 8 of 60


                                                       Page 26                                                          Page 28
 1   were going to be seeking?                                    1          MS. ZYLSTRA: And can I just pause for a
 2           MS. ZYLSTRA: Object to form. You can answer.         2   second. You know, it makes her job a lot easier --
 3       A. I don't -- I mean, was I surprised? I think           3          THE WITNESS: Yes, I know.
 4   probably I was --                                            4          MS. ZYLSTRA: -- if you don't talk over each
 5           At that point we were hoping that they would         5   other.
 6   go through with the master plan amendment process, and       6          THE WITNESS: Yep, yep.
 7   so surprise is probably not what I was feeling, just         7          MR. ZYLSTRA: You're talking over me now. Do
 8   more realistic.                                              8   your best to wait until he's done with his question
 9           This is what he had been telling they were           9   before you respond and he will do the same. Thank you.
10   likely going to do and now he sends me an email saying      10          THE WITNESS: Sorry.
11   this is what they are going to do.                          11      Q. MR. INGRISANO: So, do you see that on Exhibit
12       Q. I'll ask you to take a look at Exhibit 6,            12   6?
13   Mr. Strange.                                                13      A. Yes.
14           MR. INGRISANO: Counsel, while he's looking at       14      Q. The February 22nd acceptance of a lighting
15   that, just for the record, you're representing              15   plan?
16   Mr. Strange today?                                          16      A. February 22nd lighting plan, yes.
17           MS. ZYLSTRA: I am.                                  17      Q. Between February 22nd and February 27th do you
18       Q. MR. INGRISANO: Mr. Strange, I'm handing you          18   recall conferring with Mr. Tucker about the issuance of
19   what's been marked as Exhibit 6 there in the binder, a      19   a permit for the lighting or the Edgewood Master Plan
20   letter to Mike Elliot dated February 27, 2019 from Matt     20   and its limitations?
21   Tucker. Do you see that?                                    21      A. I don't have an independent recollection of
22       A. I do.                                                22   conferring with him about this in between February 22nd
23       Q. And have you seen this letter before?                23   and February 27th when this was sent out. It's possible
24       A. I don't recall -- I don't recall seeing this         24   that I did. If he called and sent me the letter it's
25   until preparing for the deposition shown to me as one of    25   possible I did.
                                                       Page 27                                                          Page 29
 1   the exhibits. But I don't recall seeing it. I mean,          1           I remember -- as I said earlier, I remember
 2   sitting here today I don't recall seeing it before that      2   when the application was filed not knowing anything
 3   time.                                                        3   about 10.085, knowing that was more George Hank's area
 4       Q. Did you assist Mr. Tucker in drafting this            4   and saying to them take a look at this application.
 5   letter?                                                      5           I knew that there were interactions with the
 6       A. I did not assist him. This was February 27th.         6   zoning code because of the zoning code provisions and
 7   It would have been shortly after they filed the lighting     7   certain provisions in 10.085 related to other
 8   application. I didn't -- Matt usually drafted these on       8   regulations, but I didn't know anything about the
 9   his own.                                                     9   lighting aspect.
10           And he sometimes ran them past me, sometimes        10           Sitting here today, I couldn't tell you the
11   he didn't. I don't recall helping him draft like            11   difference between lumen and non-lumen, so I had sort of
12   language or anything. It's possible that he ran it past     12   left it up to them to try and figure out what the
13   me but I don't remember drafting language.                  13   application said.
14       Q. So the first line on this letter says, "On           14       Q. To the best of your recollection when were you
15   Friday, September 22nd, the Building Inspection Division    15   first consulted about the Edgewood lighting application?
16   accepted a lighting plan filed by Forward Electric on       16       A. I don't recall the first time I was consulted
17   behalf of Edgewood High School to install lighting for      17   about the Edgewood lighting application.
18   the school's field." Do you see that?                       18       Q. The end of the first paragraph of Exhibit 6,
19       A. Uh-huh.                                              19   it says, "Those plans" -- meaning the Edgewood lighting
20       Q. I'm sorry, is that a yes, Mr. Strange?               20   plans -- "will be reviewed for compliance with MGO
21       A. Yes. I'm sorry, I've never done this before.         21   Section 10.085, and if the plans comply, electrical
22   I've never done a deposition, so normally --                22   permits will be issued when requested."
23       Q. The court reporter needs to hear your verbal         23           Did I read that correctly?
24   answers. You've done a great job so far.                    24       A. That's what the document says, yes.
25       A. Yes.                                                 25       Q. Prior to -- let me ask you this:

                                                                                                         8 (Pages 26 - 29)
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 9 of 60


                                                       Page 30                                                           Page 32
 1          Did you ever have a contrary view of what             1           And so my concern was, not knowing anything
 2   would happen to that lighting application or should          2   about 10.085, making sure that the application complied
 3   happen to that lighting application the difference from      3   with all aspects of that, one of which is it's got to
 4   that sentence?                                               4   comply with the other regulations.
 5          MS. ZYLSTRA: Objection. Form. You can                 5           And so I don't recall the dates and times when
 6   answer.                                                      6   all of those determinations were made.
 7      A. Did I ever? Yes, I did.                                7           My first recollection of really digging into
 8      Q. And when did you first develop that?                   8   it and providing a legal answer was when I responded to
 9      A. Well, George Hank said I don't think we can            9   Nathan's statement that we had already approved it.
10   issue this permit under 10.085. I looked at 10.085,         10       Q. But prior to Edgewood filing its master plan
11   looked at the master plan, looked at the map amendment,     11   -- or I'm sorry, filing it's lighting application -- I
12   and said I agree, they don't have anything in the master    12   think I just heard you say this.
13   plan about lights. This is a capital improvement.           13           Prior to Edgewood filing its lighting
14          And I think my -- then, shortly after that,          14   application you had come to the conclusion that lighting
15   Nathan and I had an exchange of formal letters where I      15   would have to comply with Edgewood's master plan; is
16   dug into the issue.                                         16   that correct?
17          And so I don't know if it's contrary to that         17           MS. ZYLSTRA: Object to form, foundation. You
18   line because that line says it's going to be reviewed       18   can answer.
19   for compliance with MGO 10.085, and if they comply then     19       A. I had come to the conclusion that because the
20   they would be issued. That's true.                          20   master plan was still in effect we had to make sure that
21          My ultimate decision was -- my ultimate              21   whatever was being proposed in that area complied with
22   interpretation was they didn't comply.                      22   the master plan.
23      Q. The first time you recall analyzing, reviewing        23       Q. Between February 22nd and February 27, do you
24   that question was at some point with George Hank; is        24   know if you had any in-person meetings with Mr. Tucker?
25   that correct?                                               25       A. Sitting here today I can't recall an in-person
                                                       Page 31                                                           Page 33
 1       A. That's the first time that I recall, yes,             1   meeting. I'm sorry. It's been a long time.
 2   really looking into it and giving an interpretation from     2       Q. How about emails in which drafts of this
 3   our perspective.                                             3   letter, Exhibit 6, may have been sent during that period
 4       Q. The next line of this letter in the start of          4   of time?
 5   the first -- in the start of the second paragraph, "The      5       A. Do I recall any emails? I don't -- like I
 6   City believes this permit can be issued without              6   said, there may have been emails. I don't recall seeing
 7   requiring amendment to the approved 2014 Master Plan."       7   this letter up until that point.
 8          Do you see that?                                      8           If he -- if he contacted me about it, he may
 9       A. I do.                                                 9   have emailed it to me, he may have called me about it to
10       Q. And on or before the date of this letter had         10   talk about it verbally. If I looked at it, it was
11   you ever expressed that statement or sentiment to anyone    11   pretty quick and then the letter went out.
12   else within the City?                                       12       Q. With respect to this Exhibit 6, is anything in
13          MS. ZYLSTRA: Objection. Form.                        13   this Exhibit 6 -- and take a look at it if you have to
14       A. I don't recall ever making that sentiment, no.       14   further, the first page of Exhibit 6.
15       Q. Had you heard anyone from the City ever              15           Did anything in this exhibit run contrary to
16   express that sentiment to you?                              16   your understanding of the City's position on Edgewood's
17          MS. ZYLSTRA: Objection. Form.                        17   lighting application as of February 27?
18       A. I don't recall hearing anybody express that          18           MS. ZYLSTRA: Objection. Form, foundation.
19   sentiment to me.                                            19   You can answer.
20          My thinking throughout this process was that         20           THE WITNESS: Could you read that back to me
21   the master plan, whatever is being -- whatever is being     21   just so I understand the time.
22   applied for has to comply with the master plan, right?      22           (Record read.)
23          So we go through this process of having the          23           THE WITNESS: Well, as I read this today, what
24   master plan amendment and then they switch gears in         24   I read this saying is that the lighting application has
25   filing a lighting application.                              25   to comply with 10.085 and the master plan, and that it's

                                                                                                         9 (Pages 30 - 33)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 10 of 60


                                                        Page 34                                                          Page 36
 1   being reviewed for compliance with MGO 10.085.                1      Q. Sure.
 2          I don't -- on this date, February 27th, it             2      A. I'm sorry, you're asking me to recall
 3   sounds like it was still being reviewed for compliance        3   something over a period of time.
 4   with 10.085.                                                  4          I recall when George raised the issue of
 5          So I don't know that it necessarily takes a            5   whether or not we could issue the permit. I recall
 6   position that I could say would be contrary.                  6   asking Matt for documents at some point and I remember
 7          What I testified to before was that when               7   he sent this to me. That was the first time I saw this.
 8   George Hank raised his hand and said I don't think we         8      Q. So the first time that you recall seeing
 9   can issue this permit, and I looked closely at the            9   Exhibit 3 was after, you're saying, George Hank raised
10   application, closely at the master plan and specifically     10   the question of whether the light permit could be
11   10.085, I determined that I agreed with him.                 11   issued; is that right?
12       Q. Mr. Strange, do you remember having a call            12      A. Right. To the best of my recollection that's
13   with Nathan Wautier on or around February 26 of 2019 in      13   the first time I would have seen this.
14   which you agreed that the lighting application was a         14      Q. Did you have any discussions with either Steve
15   separate issue from the zoning use and the master plan?      15   Rewey or Christina Thiele about their involvement with
16       A. No, I don't have any independent recollection         16   this approval at Exhibit 3?
17   of that.                                                     17      A. No. This is -- these site plan verification
18       Q. Do you recall telling Mr. Wautier that you            18   forms, this is probably the third one I've ever seen in
19   told Mr. Tucker and Ms. Stouder that the two were            19   my life, so I just wasn't involved in that sort of staff
20   separate issues?                                             20   process.
21       A. Do I recall Mr. Wautier telling?                      21      Q. Understood. But after the fact, and in
22       Q. Right. Do you recall telling Mr. Wautier that         22   looking at the approval and in looking at George's
23   you told Matt Tucker and Heather Stouder that those were     23   expression that he didn't think the light permit should
24   separate issues, i.e., the light application and the         24   issue, in doing your review and advising the City, you
25   zoning use under the master plan?                            25   didn't go back and talk to Steve or Christina?
                                                        Page 35                                                          Page 37
 1       A. I don't recall. I don't recall telling Nathan          1      A. No.
 2   that, if that's what you're asking.                           2         (Exhibit 109 marked.)
 3       Q. Do you remember telling Mr. Wautier at that            3      Q. MR. INGRISANO: Mr. Strange, I'm handing you
 4   time on or around February 26th of 2019 that the              4   what's been marked as Exhibit 109.
 5   lighting application was presently then in the normal         5      A. Okay.
 6   process of being reviewed for compliance with 10.085?         6      Q. It's an email exchange between you and Nathan
 7       A. I don't recall conversations with Nathan on            7   Wautier starting Thursday, March 7, 2019, at 4:25 p.m.,
 8   February 26th.                                                8   and ending March 7 at 6:24 p.m. Do you see that?
 9       Q. Let me ask you to take a look at Exhibit 38,           9      A. I do see this email that you -- this series of
10   sir. Actually, let me ask you to take a look instead at      10   emails. If I could take a minute to read them all.
11   Exhibit 3. It's a more legible copy. Maybe keep a            11      Q. Yeah, please, go ahead.
12   bookmark on 38.                                              12      A. Okay.
13       A. I'll just remember the number. That's easier          13      Q. Sir, do you remember discussing with
14   to see.                                                      14   Mr. Wautier in this email a meeting that was coming up
15       Q. It is. Sir, do you recognize Exhibit 3 as a           15   on March 8th and whether or not to attend that meeting?
16   printout of a City of Madison Site Plan Verification?        16         MS. ZYLSTRA: Objection. Form. You can
17           MS. ZYLSTRA: Objection. Form, foundation.            17   answer.
18   You can answer.                                              18      A. I recall that now, having reviewed this
19       A. I do.                                                 19   document.
20       Q. Have you ever reviewed this document before?          20      Q. Did you attend that meeting on March 8?
21       A. I have.                                               21      A. No.
22       Q. And do you recall reviewing this in February          22         MS. ZYLSTRA: Objection. Form. You can
23   and/or March of 2019?                                        23   answer.
24       A. Again, I'm having trouble with the date frames        24      A. No, I did not.
25   you're giving.                                               25      Q. And you write on March 7 at 4:30 p.m., "No" --

                                                                                                         10 (Pages 34 - 37)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 11 of 60


                                                       Page 38                                                            Page 40
 1   as in saying you were not aware of a meeting tonight --      1       Q. On March 7, when you're sending this email --
 2   "There are some neighbors (I don't know if it's No           2   in sending these emails to Mr. Wautier on Exhibit 109
 3   Stadium Now) who asked for a meeting with staff through      3   were you aware that, per Exhibit 3, that the lighting
 4   Alder Arntsen. That meeting is tomorrow. It is my            4   review and zoning review had already been stamped
 5   understanding they want clarification on process."           5   approved by city staff?
 6           Did I read that correctly?                           6          MS. ZYLSTRA: Objection. Form. You can
 7       A. You did.                                              7   answer.
 8       Q. So do you have an understanding of who was            8       A. I don't know. I don't think so. I don't
 9   going to be attending that meeting?                          9   know. Again, the timeline is -- I don't know the exact
10           MS. ZYLSTRA: Objection. Form, foundation.           10   timeline.
11       A. I don't.                                             11       Q. I'd ask you to look at Exhibit 70, sir. It's
12       Q. Do you know if Mr. Tucker attended that              12   going to be in the other binder.
13   meeting?                                                    13       A. Okay.
14       A. I don't know.                                        14       Q. Take a look at that Exhibit 70. Do you
15       Q. Alder Evers?                                         15   recognize that document, sir?
16       A. I don't know. I just knew I wasn't going to          16       A. I do.
17   attend and that's pretty much the last I thought of it.     17       Q. It's a letter to you dated March 12, 2019 by
18       Q. Sure. At this point in time in communicating         18   Nathan Wautier; correct?
19   with Mr. Wautier did you understand that Edgewood had       19       A. Correct.
20   filed its lighting application?                             20       Q. And you recall receiving this letter?
21       A. I mean, they would have filed their lighting         21       A. I do recall receiving this letter.
22   application. Presumably, I would have understood that.      22       Q. Sir, in the second paragraph of the first page
23   But sitting there I can't say that I recall that while I    23   of this Exhibit 70 it says, "It has come to my attention
24   was having this conversation with him.                      24   that the City of Madison is considering the revocation
25       Q. Sure. While you're having this email                 25   of its prior approval of the complaint application based
                                                       Page 39                                                            Page 41
 1   conversation with Mr. Wautier did you understand at that     1   upon a new zoning interpretation for the Edgewood campus
 2   point in time that Mr. Hank had expressed a concern or       2   that the light poles of any height -- that light poles
 3   reservation about issuing the lighting permit?               3   of any height are not allowed."
 4      A. I can't remember when George first did that in         4          Did I read that correctly?
 5   relation to this email exchange.                             5       A. I mean, not verbatim, but yes.
 6      Q. But there is nothing in this email that would          6       Q. I misspoke once, but that's --
 7   suggest that there is an issue to Mr. Wautier about the      7       A. Yes.
 8   Edgewood lighting application; is that right?                8       Q. Okay. Do you know, sir, how it came to
 9      A. This email appears to be Nathan asking me if           9   Mr. Wautier's attention that there -- well, let me ask
10   there is a meeting whether Edgewood could go, whether I     10   you this:
11   was going to go, and I responded with what I knew about     11          As of March 12, 2019, was it your
12   that meeting at the time. I don't -- it doesn't contain     12   understanding that the City of Madison was indeed
13   any other information than that.                            13   considering revocation of the prior approval?
14      Q. As you sit here today when you read this              14          MS. ZYLSTRA: Objection. Form. You can
15   email, as of March 7 you were not aware of any looming      15   answer.
16   or potential issues between Edgewood and the City of        16       A. Again, I don't recall the dates. I recall
17   Madison with respect to that lighting application as of     17   that at some point George raised his hand and said
18   that March 7 date; is that right?                           18   "hey," and we took a look at it and I agreed that we
19          MS. ZYLSTRA: Objection. Form, foundation,            19   couldn't issue it.
20   misstates testimony. You can answer.                        20          The next thing I recall is Nathan sending this
21      A. I don't recall -- again, I don't recall the           21   letter and saying -- and I don't know how they -- I
22   date when I first heard about that from George.             22   don't know how they learned of it, of a changed
23      Q. Did you receive any sort of report about what         23   interpretation or -- I don't.
24   was discussed at that meeting on March 8th?                 24       Q. But you are saying that what you described as
25      A. No.                                                   25   George Hank raising his hand, you're saying that George

                                                                                                         11 (Pages 38 - 41)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 12 of 60


                                                       Page 42                                                           Page 44
 1   Hank did raise his hand before you received this letter      1   letter on March 12, so the meeting would have occurred
 2   from Nathan Wautier?                                         2   on March 11.
 3       A. That would be my -- that would be my best             3          Do you recall a meeting with George Hank on
 4   guess that, yes, he did.                                     4   March 11?
 5           I mean, at that point, we would have                 5          MS. ZYLSTRA: Objection. Form. You can
 6   presumably -- based on Nathan's letter we would have         6   answer.
 7   talked about it up until that point George would have        7       A. No, I don't recall a meeting with George.
 8   said something.                                              8   What I recall from that day, to the best of my
 9       Q. Do you recall how far, before receiving this          9   recollection, is a telephone call with Nathan telling me
10   letter, that you would have been meeting with Mr. Hank      10   he was going to send me this letter, and I said okay.
11   where he would have been expressing that concern and, as    11          But I didn't -- I don't recall meeting with
12   you said, raising his hand about issuing that permit?       12   George or anybody else on that day.
13           MS. ZYLSTRA: Objection. Form. You can               13       Q. So as of March 11 you knew that Exhibit 70 was
14   answer.                                                     14   in process for Mr. Wautier; is that right?
15       A. I don't recall how far before.                       15       A. Well, I knew that he was thinking about
16       Q. Sir, if you look at Exhibit 109 briefly. It          16   sending a letter. I think he was trying to determine
17   should be a separate exhibit.                               17   whether he thought it was the best thing to do or not.
18           Exhibit 109, when you look at some of the           18          So I didn't know if it was coming or not or
19   markings on this document it references March 7 as being    19   what it would say. And so that's what I recall from
20   a Thursday. Do you see that?                                20   that day or around that day.
21       A. I do.                                                21       Q. Did he express to you why he was sending you
22       Q. So is that consistent with the idea that there       22   that letter?
23   is going to be a Friday meeting that was referenced on      23       A. I think he expressed generally the same thing
24   March 8th in this document; correct?                        24   he expressed in the letter.
25           MS. ZYLSTRA: Objection. Form, foundation.           25       Q. Did he express how it had come to his
                                                       Page 43                                                           Page 45
 1   You can answer.                                              1   attention?
 2       A. Say that again.                                       2       A. No, not that I recall.
 3       Q. Sure. Is that consistent with the idea that           3       Q. In Exhibit 109, he's thanking you for getting
 4   there is going to be a meeting the following day, March      4   back to him. He's telling you he's not going to attend
 5   8th, which would have been a Friday; correct?                5   this meeting and he's wishing you to have a good
 6          MS. ZYLSTRA: Objection. Form. You can                 6   weekend; correct?
 7   answer.                                                      7       A. That is correct.
 8       A. If that's when the meeting happened. I mean,          8       Q. So as of March 7, 2019, were you aware of any
 9   my email says at the time it looked like I thought the       9   issue that Nathan Wautier had with the City of Madison
10   meeting was going to be tomorrow, that would have been      10   regarding the light permit?
11   Friday. I don't have an independent recollection of         11          MS. ZYLSTRA: Objection. Form, foundation.
12   when the meeting actually occurred because I didn't go.     12   You can answer.
13       Q. And as you said before, you don't have a             13       A. I can't speculate to what issues Nathan may or
14   recollection of anyone confirming for you that meeting      14   may not have had with the City at that point.
15   occurred, right?                                            15       Q. So when you talked to him on March 11 was that
16       A. Correct.                                             16   the first you were hearing that Nathan was having a
17       Q. Sir, if Thursday, March 7 -- well, if March 7        17   problem with the City's position on the light permit?
18   is a Thursday, by my calculation March 12 would have        18       A. That's the first I recall hearing it. I don't
19   been a Tuesday. Do you agree with that?                     19   know if we had conversations before that.
20       A. Yes.                                                 20          To be quite honest, my ears really didn't perk
21       Q. Do you recall meeting with George Hank over          21   up until I got a letter with a lawyer letter like this
22   the weekend on either March 9 or March 10?                  22   thinking, ope, I better engage here.
23       A. No.                                                  23          So I don't recall if the 11th was the first
24       Q. Do you recall meeting with George Hank the day       24   time he mentioned that or if it was before that.
25   before this meeting on March 12 -- I'm sorry, before the    25       Q. But to the best of your recollection your

                                                                                                         12 (Pages 42 - 45)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 13 of 60


                                                        Page 46                                                          Page 48
 1   meeting with George Hank was before receiving this            1   could not issue the permit if it didn't comply with the
 2   letter dated March 12; correct?                               2   master plan.
 3       A. Yes.                                                   3          He was the lighting person. I think he was
 4       Q. Exhibit 70.                                            4   looking for me for confirmation whether I thought it
 5       A. Yes.                                                   5   complied with the master plan, and I said I don't think
 6       Q. And what can you remember about that meeting           6   it does and therefore it doesn't.
 7   with George Hank?                                             7          And I think that's -- that would have been the
 8          MS. ZYLSTRA: Object to form. You can answer.           8   likely way that it would --
 9       A. I remember George raising the question of              9       Q. What about the lighting permit did not comply
10   whether or not we can issue the permit when they aren't      10   with the master plan?
11   in compliance with the master plan.                          11       A. Well, the master plan did not propose stadium
12          And then I read 10.085, and I said here's a           12   lighting on the open space that they described as an
13   provision that says you have to be in compliance with        13   athletic field for practices and classes.
14   all regulations, read the master plan and see there were     14          It did not describe it as a stadium, it didn't
15   no lights there, there were capital improvements, there      15   describe it as an athletic complex, it didn't show any
16   were no lights, there were no proposals for capital          16   lighting there. And it specifically says in the CI
17   improvements. And I said, "George, I think you're            17   District ordinance that if you are going to propose a
18   right."                                                      18   different use for an open space or if you're going to
19          Now, I don't, sitting here, have a                    19   propose a capital improvement to -- that's not shown on
20   picture-perfect memory of that meeting. I couldn't tell      20   the master plan, that it requires Plan Commission
21   you where we were. I couldn't tell you if it was a           21   approval.
22   phone conference, but that's what I recall him saying.       22          And that's what they were going for when they
23       Q. How many meetings did you have with George            23   had to file the application to amend the master plan.
24   Hank?                                                        24   They decided to table that. Nothing changed about that.
25          MS. ZYLSTRA: Objection. Form. You can                 25   That was still the case.
                                                        Page 47                                                          Page 49
 1   answer.                                                       1           The unusual thing was they stopped that
 2       A. I don't recall, but I believe it was just one          2   process and then they started going down this path of
 3   on that issue.                                                3   just filing a 10.085 application without really giving
 4       Q. And do you recall anyone else that was either          4   us information about what their intentions were.
 5   -- you said you don't remember if it was in person or on      5           And so I looked at the master plan and said
 6   the phone.                                                    6   there are no lights proposed here. There is a capital
 7          Do you recall anyone else who would have been          7   improvement. They need to go to the Plan Commission for
 8   either on the phone or in the meeting?                        8   approval.
 9       A. I don't recall anybody, but I would -- as              9           And, again, the provision was clear, both the
10   practice would have it, Matt would have been there.          10   zoning code and 10.085, that it has to be compliant with
11          I mean, Matt was -- or George was Matt's boss,        11   not only the technical specifications but with all the
12   so --                                                        12   regulations as well.
13       Q. Do you remember going through the master plan         13       Q. So Exhibit 71 is your response to
14   with either George Hank or Matt Tucker at that meeting       14   Mr. Wautier's letter; correct?
15   or on that call?                                             15       A. Correct.
16       A. I don't recall going through the master plan          16       Q. And that's dated March 21, 2019?
17   at that meeting. But again, I can't recall the               17       A. That's correct.
18   specifics of the meeting.                                    18       Q. So between receipt of his letter, dated March
19       Q. Do you remember Matt Tucker saying anything           19   12, 2019 and March 21 of 2019, what further analysis and
20   during that meeting if he was there?                         20   review did you do to be able to craft the response in
21       A. No.                                                   21   Exhibit 71?
22       Q. So, to your understanding, George Hank had            22       A. Well, they would have begun by reading the
23   expressed this interpretation of the master plan that it     23   letter closely, considering all of the points that he
24   didn't permit the lights; is that correct?                   24   was making as to why lighting would be allowed under the
25       A. George Hank expressed the concern that we             25   master plan. And I would look at those provisions of

                                                                                                         13 (Pages 46 - 49)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 14 of 60


                                                       Page 50                                                          Page 52
 1   the master plan and decide whether I agreed with him or      1   during that period of time.
 2   not and then I would formulate a response.                   2      Q. Do you recall any communications that you
 3          So I also read the legal authority that he            3   received or sent or had with any residents of the City
 4   cited with respect to vested rights and disagreed with       4   of Madison on or before March 21, 2019 related to
 5   that and came to the conclusion that I didn't agree with     5   Edgewood's lights?
 6   his position that the lighting application was going to      6          MS. ZYLSTRA: Objection to form. Do you mean
 7   be denied and sent him our response and go from there.       7   other than city officials, like you mean neighbors? Is
 8       Q. In between March 12 and March 21, did you             8   that what you're trying --
 9   confer with Mr. Tucker on the response?                      9      Q. MR. INGRISANO: Neighbors and residents in
10       A. I don't recall conferring with him. It would         10   their capacity as residents and neighbors.
11   have been actually probably unusual for me to do that at    11      A. No, I don't recall any communication with
12   that point because I was now in lawyer mode and crafting    12   residents or neighbors.
13   a response.                                                 13      Q. Sir, Exhibit 71, was it your intent that that
14          It may be that I had him review the letter at        14   provide a complete response to Mr. Wautier's letter; in
15   some point, but it would have been unusual for me to be     15   other words, this letter sets forth all of your
16   sitting with him and crafting a response with him.          16   conclusions as to your interpretation of the master plan
17       Q. In crafting your Exhibit 71, was it your             17   and why it prohibited the issuance of that light permit;
18   intent that that letter serve as the City's denial or       18   correct?
19   revocation of the lighting permit?                          19          MS. ZYLSTRA: Object to form. You can answer.
20          MS. ZYLSTRA: Objection. Form. You can                20      A. Not necessarily. I mean, I wouldn't have
21   answer.                                                     21   necessarily made more arguments than I needed to, to
22       A. Denial; not revocation. Because I wasn't             22   refute what was in his letter. So I made the ones that
23   convinced this was actually ever -- it wasn't -- it was     23   I needed to address his points, but I would have not
24   never in compliance with the regulations and so there       24   necessarily made every single argument that I was
25   was nothing to revoke. It had never been issued. It         25   thinking at the time.
                                                       Page 51                                                          Page 53
 1   was a denial.                                                1          Sitting here today, I can't recall
 2       Q. Prior to March 21 of 2019, did you have any           2   specifically leaving any out, but it would have been --
 3   communications with anyone else from the City, City          3   I wasn't certainly intending to waive any defenses by
 4   officials, in formulating this response?                     4   including or not including anything.
 5          MS. ZYLSTRA: I'm going to object. That's              5       Q. As you sit here today are there any provisions
 6   broadly phrased and I'm going to invoke the                  6   in the master plan that you can recall that you didn't
 7   attorney-client privilege.                                   7   cite in your letter, Exhibit 71, that you believe
 8          To the extent you have any privileged                 8   supported your conclusion?
 9   communications I want you to not disclose those. To the      9          MS. ZYLSTRA: Objection. Form, foundation.
10   extent you have any non-privileged communications you       10   You can answer.
11   may answer.                                                 11       A. The purpose of my letter was to respond to the
12       A. I don't recall any communications. It would          12   provisions that he was citing as authority and telling
13   have been very common for me to basically go into a hole    13   him then why I thought he was wrong.
14   at this point and craft a response.                         14          I did not lay out an exhaustive list of
15       Q. And so your attorney's objection kind of             15   everything in the master plan that I thought did or
16   muddied the waters here.                                    16   didn't support my interpretation. And sitting here
17          I'm not asking you for any non-privileged            17   today, I can't recall what those things may have been.
18   communications. I want to know about the existence of       18          But my intent was to respond to his letter,
19   communications. I'm not asking you to disclose any          19   not to write an entire thesis on the issue.
20   substance of the communication. I want to know about        20       Q. And Exhibit 71, this is your -- this
21   the existence of communications with anyone from the        21   represents your interpretation of the master plan and
22   City, any City official prior to March 21 of 2019, that     22   why it prohibits the lights; correct?
23   you considered in formulating this response.                23          MS. ZYLSTRA: Object to form. You can answer.
24       A. I don't recall the existence of any                  24       A. Correct. This was my response to him as to
25   communications. I don't recall what I would have done       25   why -- responding as to why the master plan would need

                                                                                                        14 (Pages 50 - 53)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 15 of 60


                                                       Page 54                                                          Page 56
 1   to be amended to allow lights.                               1   schedules and the quickness of this deposition. I may,
 2       Q. And you don't recall Mr. Tucker having any            2   at a break, see if I can consult them on whether I can
 3   input in formulating the arguments that you have in          3   continue on that topic.
 4   Exhibit 71; correct?                                         4       Q. MR. INGRISANO: Mr. Strange, are you going to
 5           MS. ZYLSTRA: Objection. Form, asked and              5   listen to your attorney's advice on that?
 6   answered. You can answer.                                    6       A. Yes.
 7       A. I don't recall. It's possible that I sent him         7          (Exhibits 110 and 111 marked.)
 8   the letter to review it. That would have been the            8       Q. MR. INGRISANO: Mr. Strange, I'm handing you
 9   common practice. But I don't recall him sitting down         9   what's been marked as Exhibit 110. It's an email from
10   with me to come up with a response.                         10   Attorney Matt Lee to you, dated July 1st, 2019. Do you
11       Q. And how about Mr. Hank; would you have sent it       11   see that?
12   to him as well?                                             12       A. I do.
13       A. I don't -- that's -- I mean, it would have           13       Q. Do you recall receiving this email?
14   been less common for me to do that. It's possible that      14       A. Can I take a minute to read it?
15   I did, but it would have been less common for me to send    15       Q. Please do.
16   it to him as well.                                          16       A. Okay. I do recall seeing this.
17       Q. After sending this letter, Exhibit 71, did you       17       Q. And Mr. Lee is expressing -- fair to say he's
18   have any additional conversations with Edgewood High        18   expressing his displeasure about a record he received in
19   School or its representatives about issuance of the         19   open records request that involved an email exchange
20   lights?                                                     20   involving you; correct?
21           MS. ZYLSTRA: Object to form.                        21       A. That's correct.
22       A. Not that I recall. I mean, it didn't give me         22       Q. Sir, Exhibit 110 references an attachment;
23   a time period, but I don't recall doing that.               23   correct? Looking at 110, sir.
24       Q. Sir, what, if any, involvement did you have          24       A. I'm looking at 110, an email, yes.
25   with the issuance of the City of Madison's official         25       Q. And there is an attachment, Strange 5-13-19
                                                       Page 55                                                          Page 57
 1   notices for Edgewood's use of its athletic field for         1   email to Evers and follow up PDF. Do you see that?
 2   athletic competitions?                                       2       A. I see that.
 3       A. I recall being consulted about whether to             3       Q. Sir, do you recognize Exhibit 111 as that
 4   issue those notices.                                         4   attachment?
 5          MS. ZYLSTRA: Careful. At least with respect           5       A. I don't recognize it as an attachment. I
 6   to the notices, to the extent you had privileged             6   recognize 111.
 7   communications with anyone at the City that would invoke     7       Q. And what is 111, sir?
 8   attorney-client privilege I would instruct you not to        8       A. Well, it looks like an email that Lisa Veldran
 9   answer.                                                      9   printed out from Tag Evers to Lisa Veldran regarding
10          Your answer so far is fine just that he was          10   obtaining a copy of Edgewood's 4/12 letter to the City.
11   consulted. I didn't want you to expand upon that            11           It looks like there is some other emails here
12   without a question.                                         12   between Alder Evers and some individuals. There is my
13       Q. MR. INGRISANO: Did you advise the City that          13   email to Alder Evers. It looks like the original string
14   it was on solid ground to issue those official notices?     14   of emails where Ethan Brodsky requested a public record.
15          MS. ZYLSTRA: I'm going to object and claim           15       Q. So starting, I guess, with the last page of --
16   attorney-client privilege and instruct him not to           16   second to last page of -- strike that.
17   answer.                                                     17           The last page of this exhibit, EHS 10433. Do
18          MR. INGRISANO: So you're not waiving it on           18   you see that?
19   this area?                                                  19       A. I do.
20          MS. ZYLSTRA: We haven't yet, and I haven't --        20       Q. That's an email from Ethan Brodsky to you,
21   I'm concerned about going too further down the line in      21   correct, dated Wednesday, April 3 of 2019?
22   terms of that.                                              22       A. That's correct, looks like.
23          So I think -- I think for right now I'm going        23       Q. And he's asking you to get a copy of the
24   to hold on the privilege. As you can tell, there is no      24   letter that Attorney Nathan Wautier sent to the City on
25   city representative here today. That's due in part to       25   March 12; correct?

                                                                                                        15 (Pages 54 - 57)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 16 of 60


                                                       Page 58                                                           Page 60
 1      A. That's what it says, correct.                          1      A. I did.
 2      Q. And you respond by advising him that you will          2      Q. And you write to Alder Evers, "Per his
 3   send a letter tomorrow when you have a minute and that       3   request, I provided Ethan Brodsky with the spreadsheet
 4   you would consider his email to be a formal public           4   Edgewood provided the City back in April regarding the
 5   records request, right?                                      5   potential nonconforming use"; correct?
 6      A. Correct. That's what it says.                          6      A. Correct.
 7      Q. Do you oftentimes take emails such as what             7      Q. "As I explained to Ethan, Edgewood did not
 8   Mr. Brodsky sent you and consider that or deem that to       8   provide any other information, though they said they
 9   be a formal records request?                                 9   could send me affidavits from athletic directors";
10      A. I don't know about oftentimes. It's rare that         10   correct?
11   we get a request for one document. Usually it's             11      A. Correct.
12   hundreds and thousands.                                     12      Q. You write, "I did not ask for those since I
13          So I think in this instance it would have not        13   have no question they would say whatever needed to be
14   been normal for me to go back and, say, submit a formal     14   said." Did I read that correctly?
15   requests record, which is what document they are looking    15      A. You did.
16   for.                                                        16      Q. "I think Matt shared the spreadsheet with you,
17      Q. Do residents in the city of Madison submit            17   but if not I've attached it here." Do you see that?
18   record requests to you specifically?                        18      A. I do see that.
19          MS. ZYLSTRA: Object to form, foundation. You         19      Q. You then say, "Could you follow up with Ethan
20   can answer.                                                 20   or whomever you suggested may have information contrary
21      A. Sometimes.                                            21   to what is contained in this spreadsheet"; right?
22      Q. So as part of your practice, as part of your          22      A. Correct.
23   experience as assistant city attorney, you would receive    23      Q. And then you write, "Again, I would be looking
24   direct requests for records from residents in the city      24   for a 12-month gap in game play, maybe even when they
25   of Madison?                                                 25   installed the field." Right?
                                                       Page 59                                                           Page 61
 1       A. It was not the usual. Usually they sent them          1       A. Correct. That's what it says.
 2   directly to a department. But, I mean, over 12 years         2       Q. You didn't feel any need, did you, sir, to
 3   I've gotten emails from residents asking for documents.      3   follow up with issues that supported Edgewood's
 4       Q. And who is Ethan Brodsky?                             4   arguments there, right?
 5       A. I don't know Ethan Brodsky other than to say          5          MS. ZYLSTRA: Objection. Form. You can
 6   that I know that he was one of the neighbors of the          6   answer.
 7   Woodrow complex.                                             7       A. I don't know what you mean by issues.
 8       Q. To your recollection is his email to you of           8       Q. Sure. You didn't need to -- you said
 9   April 3 the first time that you received a communication     9   specifically that I did not ask for those, meaning the
10   from him?                                                   10   affidavits from other athletic directors, right?
11       A. To the best of my recollection, yes.                 11       A. Right.
12       Q. Mr. Brodsky follows up with you, though,             12       Q. I did not ask for those since I have no
13   correct, and asks for a spreadsheet that was attached to    13   question that they would say whatever needed to be said;
14   that letter; correct?                                       14   correct?
15       A. It looks like it. That's what it says there,         15       A. That's what it says. And I would say I didn't
16   yes.                                                        16   feel the need to ask them for those affidavits because I
17       Q. On EHS 10430 you send an email to Alder Evers;       17   assumed that they would provide affidavits that
18   correct?                                                    18   supported the dates that they put in the spreadsheet and
19       A. Evers, yes. It's very confusing but --               19   that -- assumed that would be part of it.
20       Q. I caught myself. I think I did a pretty good         20          I think that what I was looking for at this
21   job of that not following into that trap.                   21   point was if Alder Evers mentioned that there was
22          Your email to Alder Evers, May 13, 2019, at          22   evidence out there to the contrary trying to figure out
23   9:11 a.m.; correct?                                         23   whether or not there was a nonconforming use would
24       A. Correct.                                             24   require me to consider that information as well and pass
25       Q. And you drafted that email?                          25   that on to Matt for his consideration of nonconforming

                                                                                                        16 (Pages 58 - 61)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 17 of 60


                                                        Page 62                                                          Page 64
 1   use.                                                      1       You can answer.
 2          But I didn't -- I wasn't referring to all          2           A. I mean, the documents speak for themselves. I
 3   issues when it comes to Edgewood. I was just referring    3       don't know if it's fair or not to say that that's what
 4   to those affidavits.                                      4       they are doing.
 5       Q. Sure. But you did ask Alder Evers to follow        5               The purpose of my email to Alder Evers was to
 6   up with whomever might have information that could        6       follow up on any other information that might be out
 7   contradict Edgewood's position; correct?                  7       there regarding the potential of a nonconforming use. I
 8       A. That's what it says, correct.                      8       had already received Edgewood's.
 9       Q. And you specified specifically that you would      9           Q. And you knew that Mr. Evers was an opponent of
10   be looking for a 12-month gap in games; is that rights?  10       Edgewood getting lights; correct?
11       A. That's what it says.                              11               MS. ZYLSTRA: Objection. Form. You can
12       Q. So here you were looking to others to help        12       answer.
13   undermine Edgewood's argument for its nonconforming use. 13           A. Well, I knew -- I don't think it's fair to say
14   Is that fair?                                            14       that he was an opponent of getting lights. He was a
15          MS. ZYLSTRA: Objection. Form. You can             15       proponent for them going through a process to get the
16   answer.                                                  16       lights.
17       A. I wouldn't characterize it that way. I            17               He clearly opposed the lights when it came --
18   explained what I was doing to my response email to Matt  18       when it was at the election. I don't know -- have
19   Lee which you probably also have.                        19       specific information about that.
20       Q. Sure. But you can understand why a person         20               But I know that he was the alder for that
21   would be confused and take issue with what you wrote,    21       district and that individuals in and around that area
22   right?                                                   22       opposed the lights and that he was -- they were his
23          MS. ZYLSTRA: Objection. Form, foundation.         23       constituents.
24   You can answer.                                          24           Q. Do you think it's fair, Mr. Strange, for
25       A. I'm not going to speculate on what other          25       someone like Mr. Evers to suggest that someone go
                                                        Page 63                                                          Page 65
 1   people might consider.                                        1   through a long, expensive process when that person,
 2       Q. Well, let's look farther down this email chain         2   Mr. Evers, fully intends to deny the result of that
 3   on the first page at 10429.                                   3   process anyway?
 4          Do you know who Dianne Jenkins is?                     4         MS. ZYLSTRA: Objection. Form, foundation,
 5       A. I don't.                                               5   argumentative. You can answer.
 6       Q. In her email at the bottom of this page to             6      A. That's your narrative. I'm not going to
 7   Lynn she writes, "Interesting that the City doesn't           7   comment on your narrative.
 8   trust them to provide corroboration." Do you see that?        8         I don't -- it assumes an enormous amount about
 9       A. I do see that.                                         9   what Mr. Evers was thinking he would do under any
10       Q. So at least one other person took your email          10   circumstances of a process.
11   to say that you didn't trust Edgewood to provide             11      Q. We'll get to that.
12   corroboration for its position. Is that fair?                12         MS. ZYLSTRA: Are we ready for a break?
13          MS. ZYLSTRA: Objection. Form. You can                 13         MR. INGRISANO: Yeah, we are.
14   answer.                                                      14         MS. ZYLSTRA: Okay. Thank you.
15       A. I don't know if that's fair or not. That              15         (Recess)
16   doesn't even frankly make sense.                             16         (Exhibit 112 marked.)
17          I, in fact, did trust that they would be able         17      Q. MR. INGRISANO: Mr. Strange, I'm handing you
18   to provide the affidavits that they said they could          18   what's been marked as Exhibit 112.
19   provide, so I don't know where that interpretation would     19         Do you recognize that, sir, as an email
20   come from.                                                   20   exchange that includes your response to Mr. Lee in his
21       Q. In 110, Exhibit 110, Mr. Lee and now Dianne           21   email found on Exhibit 110?
22   Jenkins are both taking your email to mean that you did      22      A. Yes.
23   not trust Edgewood to provide truthful information. Is       23      Q. And you stated that your intention was to
24   that fair?                                                   24   convey that you believe the affidavits would support the
25          MS. ZYLSTRA: Objection. Form, foundation.             25   information in the spreadsheet while exploring whether

                                                                                                         17 (Pages 62 - 65)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 18 of 60


                                                       Page 66                                                           Page 68
 1   that would be enough to establish a nonconforming use in     1   this date. I think after this date he submitted a
 2   this case. Do you see that?                                  2   longer public records request like in a formal -- formal
 3      A. I do see that.                                         3   letter asking for a bunch of documents. And I may have
 4      Q. You go on to say that, "You are correct,               4   written him a letter in connection with that denying a
 5   Edgewood's lawyers have been professional and honest         5   large portion of what he was asking for.
 6   with the City." Do you see that?                             6          But I don't -- other than those public records
 7      A. Yes.                                                   7   request incidents I don't remember any other
 8      Q. Would you agree, sir, that before and after            8   conversations with him.
 9   the date of this email, July 2nd, that Edgewood has been     9       Q. So when he says "usually I interact with
10   honest in its dealings with the City pertaining to          10   Mr. Strange," the only thing you can recall prior to
11   lights and its athletic field?                              11   that date of July 30 was his email treated as a records
12          MS. ZYLSTRA: Objection. Form, foundation.            12   request?
13   You can answer.                                             13       A. That's the only thing I can recall, yes.
14      A. Yes.                                                  14       Q. He says, "But he" -- meaning you -- "is on
15      Q. Are you aware of any instance of dishonesty by        15   vacation this week."
16   Edgewood High School?                                       16          Do you know, sir, were you in fact on vacation
17      A. Not with respect to me. I'm not aware of              17   during the week of -- I'll just call it -- July 30th?
18   anything else they have done or not done.                   18       A. I mean, sitting here today I can't recall. I
19          I was expressing my sorrow for him                   19   can say that is a normal time that we used to take
20   misinterpreting that phrase that I used in the previous     20   vacations to the Boundary Waters, so it makes sense.
21   email and wanted him to let Nathan know that it wasn't      21   But I don't recall sitting here today or exact dates of
22   nothing -- I didn't mean anything bad by it.                22   vacations.
23          (Exhibit 113 marked.)                                23       Q. Do you recall responding to this email of July
24      Q. MR. INGRISANO: I'm handing you what's been            24   30?
25   marked as Exhibit 113.                                      25       A. I don't.
                                                       Page 67                                                           Page 69
 1          Do you recognize any of the emails on this            1      Q. When you go on vacation do you set an
 2   Exhibit 113?                                                 2   out-of-office alert that tends to bounce back email to
 3      A. I don't.                                               3   people that send emails to you?
 4      Q. The first email is a forward from Tag Evers to         4          MS. ZYLSTRA: Object to form. You can answer.
 5   a Dianne Jenkins. But the second email below that, the       5      A. Usually I did. I can't say whether I did
 6   email appears to have been forwarded from Ethan Brodsky      6   every single time I went on vacation.
 7   to Michael May and you're also listed as a recipient on      7      Q. Your typical vacations to the Boundary Waters,
 8   that email. Do you see that?                                 8   how long were those?
 9      A. I do see that.                                         9      A. A week, like a Saturday to Saturday sort of
10      Q. Do you recall receiving this email on July            10   thing.
11   30th of 2019?                                               11      Q. Boundary Waters don't typically have very good
12      A. I don't. It looks like I was on vacation that         12   cell coverage in my experience. Is that fair?
13   week according to the email.                                13      A. That's the beautiful thing about them. You're
14      Q. We're going to get to that.                           14   correct.
15          Mr. Brodsky writes in the end of the first           15      Q. So is it your typical practice to not
16   line, "Usually I interact with Mr. Strange, but he is on    16   work while you're on vacation at the Boundary Waters?
17   vacation this week and I had some pressing questions I      17      A. Correct. And I want to be clear, I can't say
18   wanted to discuss." Did I read that correctly?              18   for sure if I was in the Boundary Waters. If I'm
19      A. You did.                                              19   guessing, on a vacation, that's where we were.
20      Q. So when Mr. Brodsky says that usually he              20          But, yes, I did not work in the Boundary
21   interacts with Mr. Strange, other than the exhibit we       21   Waters, I do not work in the Boundary Waters, and I only
22   looked at previously where he sent the email that you       22   get cell service when we drive into town.
23   interpreted as a formal records request, what other         23      Q. Got it. During those periods of time when
24   interactions did you have with Mr. Brodsky, if you know?    24   you're driving to town and get cell service do you check
25      A. That's the only one that I recall prior to            25   work-related issues?

                                                                                                         18 (Pages 66 - 69)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 19 of 60


                                                       Page 70                                                           Page 72
 1          MS. ZYLSTRA: Object to form. You can answer.          1   schools, equal to the same zoning as the public high
 2       A. I try not to. I can't say that I don't ever.          2   schools, same footing, whatever the case may be.
 3       Q. Sure. I'm going to have you take a look at --         3          And so I think that we looked into that, or I
 4   you can put the loose exhibits to the side for a moment      4   looked into that, what is the process for terminating a
 5   and take a look at Exhibit 12 in the binders.                5   master plan before the 10 years runs, made the
 6          Sir, do you recognize Exhibit 12 as a letter          6   determination that they could and this would be the
 7   to Attorney Matthew Lee signed by a Michael May, city        7   process.
 8   attorney, dated July 12, 2019?                               8          And so since they had been asking for that, I
 9       A. I do.                                                 9   think Mike's intention here -- and I don't want to speak
10       Q. And you are identified as a cc to that letter;       10   for Mike obviously -- but was to say if that's the path
11   correct?                                                    11   you want to go for the reasons that you've stated to be
12       A. Correct.                                             12   on equal footing with the other high schools then we
13       Q. Do you recall receiving that letter on or            13   invite you to do that.
14   about that date?                                            14       Q. It was the conclusion of your office, was it
15       A. I remember the letter. It would have been odd        15   not, that terminating the master plan was an appropriate
16   for me to actually receive it because it was in our         16   mechanism, an appropriate process for Edgewood to
17   office. But yes, I got the letter. I knew the letter        17   pursue?
18   was there. Nobody hand-delivered it to me. It would         18          MS. ZYLSTRA: Objection. Form. You can
19   have just been our office.                                  19   answer.
20       Q. Internal mail, internal delivery or email?           20       A. I don't know about the word "appropriate." It
21       A. I don't know. It wasn't quite that formal.           21   was an option for them. You have to keep in mind that
22       Q. Mr. May, as of this period of time, was your         22   at this point they still had their Campus Master Plan
23   boss, your supervisor; correct?                             23   amendment pending. It was still there. It could have
24       A. Correct. He was the city attorney.                   24   been pulled back to the Plan Commission at any point in
25       Q. And was there anyone that you reported to            25   time.
                                                       Page 71                                                           Page 73
 1   between you and Mr. May?                                     1          And so it wasn't altogether thinkable that
 2       A. No.                                                   2   that was an option for them to continue. After the ZBA
 3       Q. So you were a direct report to Mr. May; is            3   hearing they could have gone back to the Plan Commission
 4   that correct?                                                4   with their -- Plan Commission with their master plan
 5       A. Correct.                                              5   amendment. We left it in referral so that it could
 6       Q. The third paragraph of this letter, Exhibit           6   quickly be grabbed back because that's what they asked
 7   12, Mr. May writes, "We invite Edgewood to file to           7   for. So it was sitting there.
 8   terminate its master plan and return to the standard CI      8          Another option was for them to determine that
 9   zoning which would placed it on equal footing with other     9   they could terminate the master plan. It was a
10   high schools." Do you see that?                             10   voluntary master plan, so voluntary in, voluntary out.
11       A. I do see that, yes.                                  11   That that was an option. The other option they could do
12       Q. Were you involved with Mr. May in crafting           12   was wait for it to expire.
13   this letter, Exhibit 12?                                    13      Q. So terminating -- I guess what I'm trying to
14       A. No, Mike crafted this on his own and brought         14   say, sir, is that your office determined that
15   it to me at some point to look at it, but it was in its     15   terminating the master plan was a viable option for
16   near final form when that happened.                         16   Edgewood?
17       Q. What was your understanding, if you had one,         17          MS. ZYLSTRA: Object to form. You can answer.
18   as to what the phrase "equal footing with other high        18      A. It was an option for terminating their master
19   schools" meant or was intended to convey?                   19   plan becoming an institution in the CI District without
20       A. That was leading up until the ZBA meeting.           20   a master plan, which is what the other schools were and
21   Edgewood had asked us for what the process would be for     21   which they kept saying we want to have the same as the
22   repealing their master plan, or I think their phrase was    22   other schools. And we said, well, the other schools
23   "how we can terminate the master plan."                     23   don't have a master plan, so if you don't have a master
24          And the reason they gave us was that they            24   plan you can terminate it.
25   wanted to be in the same zoning as the public high          25      Q. But your office would not have invited

                                                                                                        19 (Pages 70 - 73)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 20 of 60


                                                       Page 74                                                            Page 76
 1   Edgewood to file to terminate its master plan if you         1   recommendation assuming -- well, let me ask you this:
 2   believed that Edgewood didn't have the right to              2          After it goes to Plan Commission for
 3   terminate its master plan; correct?                          3   recommendation, it would then go on to the Common
 4       A. Correct.                                              4   Council for a vote to approve or deny; correct?
 5         MS. ZYLSTRA: Object -- sorry. Late objection           5          MS. ZYLSTRA: Object to form. You can answer.
 6   to form. You can answer.                                     6       A. Correct. The amendment to the master plan had
 7       A. Yes, I believe that that was an option for            7   to be done through a map amendment like we talked about
 8   them.                                                        8   before which was a zoning change.
 9       Q. I'll ask you to take a look at Exhibit 23.            9          So zoning ordinance changes go to the Plan
10   This is an email from you to Nathan Wautier, dated July     10   Commission for recommendation and then to the Common
11   17, 2019; correct?                                          11   Council for final approval.
12       A. Did you say July 17th?                               12       Q. And because it was going to be a map amendment
13       Q. Yes, July 17, 2019.                                  13   -- because an amendment to a Campus Master Plan would be
14       A. Correct.                                             14   a map amendment, neighbors would have the option and
15       Q. And cc'd to Michael May and Matthew Tucker?          15   ability to file a protest petition; correct?
16       A. Correct.                                             16       A. That is correct.
17       Q. And you drafted this email?                          17       Q. And the result of that, as you mentioned
18       A. I did.                                               18   before, would be that an amendment to the Campus Master
19       Q. Did you have any assistance with anyone in           19   Plan would require a three-quarters vote of the Common
20   formulating this email?                                     20   Council; is that correct?
21       A. I don't recall getting any assistance with           21       A. That is correct.
22   this.                                                       22       Q. Option No. 2, you write, "Edgewood could ask
23       Q. Had you been speaking with Attorney Wautier in       23   the City to repeal the ordinance that adopted its master
24   advance of sending him this email to talk through the       24   plan"; correct?
25   options that you outlined in Exhibit 23?                    25       A. Correct.
                                                       Page 75                                                            Page 77
 1       A. I had talked to Nathan about these options. I         1       Q. And you go on to say, "As a consequence of
 2   think that's why he requested that I send it to him in       2   repealing its master plan, Edgewood would revert to the
 3   writing.                                                     3   standard regulations of the CI District in the zoning
 4       Q. So I guess that goes to my question.                  4   code which would allow games and lights at the field."
 5          After the Michael May letter of July 12th,            5   Did I read that correctly?
 6   what precipitated you sending this email to Mr. Wautier      6       A. You did.
 7   on July 17?                                                  7       Q. So as you understood, at the time of writing
 8          MS. ZYLSTRA: Object to form. You can answer.          8   this email, the standard requirements and regulations in
 9       A. He asked me for it.                                   9   the Campus-Institutional District zoning ordinances
10       Q. This email outlines three options for Edgewood       10   would allow lights and games on Edgewood's athletic
11   to legally play games and install lights in its field;      11   fields; correct?
12   correct?                                                    12          MS. ZYLSTRA: Object to form.
13       A. Correct.                                             13       A. The Zoning Board of Appeals process showed
14       Q. Option One would be to amend the Campus Master       14   that there were certain uses that were allowable in the
15   Plan; is that right?                                        15   Campus-Institutional District that would not be subject
16       A. Correct.                                             16   to conditional use review, specifically uses that would
17       Q. And if Edgewood proceeded with that process it       17   occur outside of a building or in a building that is
18   would first go to Plan Commission for a recommendation;     18   less than 4,000 square feet.
19   correct?                                                    19          So to the extent that there are identified
20       A. Correct.                                             20   allowable uses in the CI District that didn't require a
21          MS. ZYLSTRA: Object --                               21   construction of a building, those could be established
22          THE WITNESS: Oh, I'm sorry.                          22   without constitutional use review.
23          MS. ZYLSTRA: No, it's okay.                          23          That was a flaw in the ordinance that was
24       A. Correct.                                             24   discovered during that process, but it's my opinion
25       Q. And after it goes to Plan Commission for             25   that's what the law said and so that's what the email

                                                                                                         20 (Pages 74 - 77)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 21 of 60


                                                        Page 78                                                          Page 80
 1   conveys.                                                      1   zoning code; correct? Your sentence there, "Edgewood
 2      Q. Why do you call it a flaw?                              2   would revert to the standard regulations in the CI
 3      A. Because I wasn't involved in the initial                3   District in the zoning code"; right?
 4   drafting of the CI District ordinance, but it was my          4       A. Correct.
 5   understanding that nobody intended for you to be able to      5       Q. So you were talking about the CI District
 6   do certain things that didn't involve the construction        6   regulations in the zoning code as of July 17, 2019;
 7   of a building without any review process. But in my           7   correct?
 8   view that's what the ordinance said.                          8       A. Correct.
 9      Q. But what you said is that if by repealing the           9       Q. Were you aware on July 17 of any discussions
10   master plan Edgewood would revert to the standard            10   by any city officials about changing the ordinance in
11   regulations in the zoning code which would allow games       11   such a way that Edgewood would not have the ability to
12   and lights at the field; correct?                            12   get games or lights at its field?
13          MS. ZYLSTRA: Objection. Form. You can                 13          MS. ZYLSTRA: Object to form. You can answer.
14   answer.                                                      14       A. No.
15      A. That's what it says. That was my opinion at            15       Q. If you had been aware of any efforts or
16   the time.                                                    16   discussions by city officials to change those
17      Q. So under the law at it stood at the time?              17   regulations as of the time you sent this email you would
18      A. At that time, right.                                   18   not have made that representation; is that correct?
19      Q. And so at that time the master plan was the            19          MS. ZYLSTRA: Object to form. You can answer.
20   only obstacle to Edgewood getting its lights and game        20       A. I don't -- I don't -- I mean, I'm not even
21   use of its field; correct?                                   21   sure I fully understand the question.
22          MS. ZYLSTRA: Objection. Form. You can                 22          I mean, it's a hypothetical. It brings up a
23   answer.                                                      23   lot of different issues.
24      A. Correct. The master plan prohibited the                24       Q. Sir, would you have told Edgewood that by
25   playing of games and it didn't identify any development      25   repealing this master plan that they would revert to the
                                                        Page 79                                                          Page 81
 1   of that open space.                                           1   standard regulations in the CI District in the zoning
 2       Q. And as you understood, the entry into a master         2   code which would allow games and lights at the field if
 3   plan was voluntary for Edgewood at the time that it did       3   you were, at that time, presently aware of efforts or
 4   so; correct?                                                  4   discussions about changing the ordinance such as that
 5       A. Correct.                                               5   would no longer be true?
 6       Q. So if Edgewood had never voluntarily adopted a         6          MS. ZYLSTRA: Objection. Form, asked and
 7   master plan it would have been able to get lights and         7   answered.
 8   play games on its field; correct?                             8       A. I don't know -- I mean, I would know what -- I
 9          MS. ZYLSTRA: Object to form. You can answer.           9   would have not -- if there was an active effort, if
10       A. I mean, that's a bit of a hypothetical. What          10   there was an ordinance introduced that would have
11   I can say is the master plan is what was prohibiting it      11   changed the ability of them to get lights or play games,
12   at the time.                                                 12   I would have explained that to them because it would
13          I don't know what the circumstances would have        13   have been part of what was going on in the process of
14   been at whatever point they would have tried to do what      14   the legislation.
15   they wanted to do without a master plan to tell you for      15          What my interpretation was, was what the law
16   certainty what the circumstance were.                        16   was as of the date they asked for this email.
17       Q. But to your knowledge, throughout this entire         17       Q. I'm asking you, sir, not about whether or not
18   process the master plan was the only obstacle to             18   an ordinance had been introduced yet. I'm asking you
19   Edgewood receiving lights and game use of its field;         19   about whether you had been aware of discussions amongst
20   correct?                                                     20   city officials about changing the law or efforts
21       A. Correct.                                              21   drafting proposals, anything like that, that you would
22          MS. ZYLSTRA: Object to form. You can answer.          22   not have written that email the way you did.
23       A. Correct.                                              23          MS. ZYLSTRA: Objection. Form.
24       Q. Your email to Mr. Wautier in Exhibit 23 talks         24       A. I can't say that I would never have written
25   about the standard regulation of the CI District in the      25   the email the way I did, because what Nathan was asking

                                                                                                         21 (Pages 78 - 81)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 22 of 60


                                                      Page 82                                                            Page 84
 1   me to do are what are the options under the current law.    1   city attorney, do you recognize this as a printout from
 2           This was the options -- regardless of whatever      2   the City of Madison Legistar website of legislative
 3   discussions were going on, this was the options under       3   information pertaining to the ordinance amendment to
 4   the current law.                                            4   repeal the Edgewood Campus Master Plan?
 5           I was not aware of any discussions about            5       A. I'm going to need to take a quick minute to
 6   changing the law. I don't know how I would have handled     6   look at it.
 7   that if they were a one-off conversation, an informal       7       Q. Sure. Please do.
 8   request. But I wasn't aware of any conversations about      8       A. Okay. Yes.
 9   changing the law. But what I wrote was still what the       9       Q. So when we look at a document like this, look
10   law was and that's what Nathan was asking for.             10   at the file number on the top left-hand corner, 56839.
11       Q. Very good. Thank you. Sir, I'm going to ask         11   Do you see that?
12   you to take a look at Exhibit 22.                          12       A. I do.
13           Sir, do you recognize this as a letter dated       13       Q. And that's a file number -- file numbers of
14   July 29, 2019 to the mayor and the planning director       14   that type would be assigned a particular number to a
15   signed by a few representatives of the different           15   particular legislative effort. Is that fair?
16   Edgewood entities?                                         16       A. Correct.
17       A. I recognize the doc -- I mean, I recognize it       17       Q. Let me ask you this generally. What does it
18   as a letter from Edgewood on July 29th, 2019, yes.         18   mean for a piece of legislation that the City of Madison
19       Q. You're not an addressee on this letter, right?      19   -- and we'll talk specifically about ordinance
20       A. No.                                                 20   amendments -- what's it mean to be referred for
21       Q. Nor are you a cc; is that right?                    21   introduction?
22       A. Correct.                                            22          MS. ZYLSTRA: Objection. Foundation. If you
23       Q. Do you recall receiving this letter, though,        23   know.
24   at or around the time it was sent July 29th?               24       A. I don't know exactly what that phrase means.
25       A. I don't recall.                                     25   I know that when legislation is introduced it's called
                                                      Page 83                                                            Page 85
 1       Q. Did you become aware around this time, the end       1   "introduced."
 2   of July 2019, that Edgewood had taken the City up on its    2          I really don't know why they called it
 3   invitation to seek repeal of its master plan?               3   "referred to introduction." I wasn't the city attorney
 4       A. Yes, that's something they would have made me        4   so I wasn't specifically responsible for those terms.
 5   aware of as soon as they knew about it.                     5       Q. Sure. So this Exhibit 21, the bottom of the
 6           It looks like this was July 29th, which is one      6   chart has an entry date of 7/30/2019, Attorney's
 7   day prior to July 30th, so my guess is I'm still in the     7   Office/Approval Group under the heading "Action By." Do
 8   Boundary Waters.                                            8   you see that?
 9       Q. I guess that's part of my question, too, is do       9       A. Uh-huh.
10   you recall receiving word while you were in the Boundary   10       Q. Sorry, is that a yes?
11   Waters, if that's where you were, do you recall being in   11       A. Yes. Thank you.
12   the Boundary Waters and hearing from someone at work,      12       Q. Do you know the attorney's office, does that
13   "Hey, Edgewood just provided notice of its repeal of the   13   mean city attorney's office to your knowledge?
14   master plan"?                                              14       A. That would be the city attorney's office, yes.
15           MS. ZYLSTRA: Object to form. You can answer.       15       Q. Do you know who in the city attorney's office
16       A. No. I was on vacation.                              16   would have taken the action denoted on July 30th on this
17       Q. Sure. Do you recall returning from the              17   Exhibit 21?
18   Boundary Waters to find out that Edgewood had submitted    18          MS. ZYLSTRA: Object to form, foundation.
19   its intent to repeal its master plan?                      19       A. Sue Mautz in our office is one person that
20       A. I don't specifically recall that, but               20   handled Legistar items. There were maybe a couple other
21   obviously that would have been part of getting caught up   21   staff members who handled the Legistar items.
22   with whatever I missed when I was on vacation.             22          Attorneys did not handle the Legistar
23       Q. Sir, let me ask you to take a look at Exhibit       23   technicalities of putting things in and moving them
24   21.                                                        24   around. We didn't even have authorization for that. So
25           Sir, in your capacity as a former assistant        25   I can't say for certain who would have done that.

                                                                                                        22 (Pages 82 - 85)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 23 of 60


                                                       Page 86                                                            Page 88
 1       Q. So to your knowledge you had no involvement           1   introduced from the floor, which is another thing that
 2   with that July 30, 2019 action denoted on Exhibit 21; is     2   happens.
 3   that correct?                                                3        Q. How often have you been involved with
 4       A. Well, I'm not sure what that action is. I             4   legislation introduced from the floor; how many times?
 5   didn't put it in Legistar and note it referred for           5        A. Oh, gosh, I don't know. I can't give you a
 6   introduction. So I don't know exactly what action            6   number. I drafted between 3- and 500 ordinances while I
 7   you're talking about.                                        7   was with the City. I can't tell you an exact number how
 8       Q. What involvement did you have with the file           8   many times something was from the floor.
 9   No. 56839, the ordinance amendment to repeal the             9        Q. What proportion?
10   Edgewood Campus Master Plan; what was your role with        10          MS. ZYLSTRA: Objection. Form, foundation.
11   that legislative effort?                                    11        A. I would not want to speculate as to the
12       A. I probably drafted the ordinance, which in           12   number. I mean, I don't know. It's not the norm, but
13   this case was very simple; just repealing a repeal          13   it's not uncommon.
14   ordinance.                                                  14        Q. You don't recall doing any work on the
15          I don't recall beyond that what my role was          15   Edgewood amendment to repeal its master plan while you
16   other than to give it to staff to begin the legislative     16   were in the Boundary Waters?
17   process.                                                    17          MS. ZYLSTRA: Objection -- I withdraw that
18       Q. Do you recall when you drafted the ordinance         18   objection. Go ahead.
19   amendment?                                                  19        A. No, I wouldn't have done any work in the
20       A. I don't recall the specific date. It would           20   Boundary Waters.
21   have been sometime between when they requested to           21        Q. I'll ask you to take a look at Exhibit 20.
22   terminate the master plan and when it was introduced.       22          Do you recognize this, sir, as a Legistar
23       Q. "Introduced" meaning?                                23   printout of the legislative information relating to the
24       A. Put in Legistar.                                     24   amendment to the Campus-Institutional District zoning
25       Q. Okay. And can you tell from this record when         25   ordinance?
                                                       Page 87                                                            Page 89
 1   it was put into Legistar?                                    1       A. Yes.
 2       A. I can't. I mean, that's a question you were           2       Q. What role, sir, did you have with this
 3   asking me before. I don't know the date it was put in.       3   proposed legislation?
 4   It looks like it was introduced to the Common Council on     4       A. Well, I drafted the -- there were a variety.
 5   August 6.                                                    5   Obviously, you can see there were three substitutes.
 6       Q. So what has to happen -- in your experience           6          So as the planning and zoning lawyer I was the
 7   with the city attorney's office what has to happen for       7   person to help draft the ordinances, the initial
 8   proposed legislation, where is that to be in the process     8   ordinance, and we introduced this initially by title
 9   before it can be referred for public hearing as we see       9   only.
10   on August 6, 2019 on Exhibit 21?                            10       Q. What does that mean?
11           MS. ZYLSTRA: Objection. Foundation. You can         11       A. That means that you introduce an ordinance and
12   answer, if you know.                                        12   you just put a title on it. You don't put the body on
13       A. Well, what has to happen is a broad question.        13   it.
14   There is a couple different ways it can happen with         14       Q. Sir, I'll represent to you -- it's cut off
15   respect to the Common Council.                              15   with the hole punch on this binder, but I'll represent
16           One is you draft the ordinance, put it in           16   to you on Exhibit 20 that the first date there where it
17   Legistar and set it for a date to be introduced.            17   says attorney's office referred for introduction is
18   Another is that council members can introduce items from    18   August 5, 2019.
19   the floor if they want to do that.                          19          Do you have any recollection of being involved
20           And so it depends on -- it depends upon the         20   in referring this piece of legislation for introduction?
21   timing. But if you can put together something in time       21       A. Again, I don't know what that technically
22   for it to get on the agenda, council meetings are on        22   means from Legistar's perspective.
23   Tuesday, agenda is finalized on Friday, so if you can       23          I recall drafting it by title only ordinance,
24   get something together to get on the agenda then it can     24   but I don't recall the dates and the referral dates.
25   be on the agenda, otherwise it would have to be             25       Q. Prior to your deposition today, sir, have you

                                                                                                         23 (Pages 86 - 89)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 24 of 60


                                                       Page 90                                                           Page 92
 1   reviewed the deposition transcript of Alder Tag Evers?       1       Q. So you don't know if it was Thursday or
 2        A. No.                                                  2   Friday?
 3        Q. Have you talk with Alder Tag Evers about his         3       A. I would say it was either Thursday or Friday.
 4   testimony?                                                   4       Q. You don't recall taking that call from the
 5        A. No.                                                  5   Boundary Waters?
 6        Q. I'll represent to you that Mr. Evers                 6       A. I don't.
 7   represented that he conferred with you the first week of     7       Q. Did Mr. Evers say where he was?
 8   August about drafting this legislation.                      8       A. I don't recall if he said where he was. I
 9          Do you have any recollection of that?                 9   don't know. I don't know where he was.
10        A. I recall him calling at the end of the week         10       Q. Did he advise you he was on vacation?
11   prior to the August 6th council meeting which would have    11       A. He may have. I don't recall specifically what
12   been that prior week.                                       12   his -- if he was on vacation or not.
13        Q. So that would have been, by my estimate, you        13       Q. At the time that you received the call from
14   said August 6 would have been the Common Council            14   Mr. Evers were you aware of Exhibit 22?
15   meeting, right, because they were always on the first       15       A. I don't know. I mean, I don't recall what I
16   Tuesday of the month?                                       16   was aware of when he called.
17        A. According to this document. Not the first --        17       Q. Did you and Mr. Evers discuss Exhibit 22 on
18   it's every other Tuesday, but there was on Tuesday.         18   that phone call?
19        Q. We learned from one of the prior exhibits that      19       A. I don't recall. I don't -- I recall the phone
20   July 30 was a Tuesday; correct?                             20   call being short and that he wanted to address the flaw
21          MS. ZYLSTRA: Object to form.                         21   that was identified in the ordinance related to the
22        A. I don't know.                                       22   things that could be done without conditional use review
23        Q. Yeah, Exhibit 113.                                  23   in the CI District.
24        A. Okay.                                               24       Q. So what happened during that conversation, how
25        Q. It says Tuesday, July 30th, 2019. Do you see        25   did that conversation go, what do you recall?
                                                       Page 91                                                           Page 93
 1   that?                                                        1       A. Well, I recall that it was towards the end of
 2      A. I do.                                                  2   the week, the council meeting was the next week, and
 3      Q. Do you have any reason to disagree that                3   that I didn't feel like I had time to put together a
 4   Tuesday was -- that July 30th was a Tuesday?                 4   full ordinance and so it would have to be introduced by
 5      A. I don't have any reason to disagree with that.         5   title only.
 6      Q. So if Tuesday was July 30, then Friday would           6       Q. What was the urgency in doing that at that
 7   have been August 2nd; correct?                               7   time?
 8      A. Correct.                                               8          MS. ZYLSTRA: Object to form. You can answer.
 9      Q. Would you like to verify that on the calendar          9       A. I don't know. I was responding to his
10   on your phone?                                              10   request.
11      A. Sure.                                                 11       Q. His request was to get an ordinance introduced
12      Q. Why don't you go ahead and scroll back to 2019        12   prior or on or before the August 6 meeting, is that what
13   and confirm that August 2nd was a Friday.                   13   you recall?
14         MS. ZYLSTRA: Off record.                              14       A. What I recall is him asking for an ordinance,
15         (Discussion off the record.)                          15   and normally I would give -- I would give some
16      A. So what are you asking me?                            16   indication that the options are to -- you know,
17      Q. I'm asking you to confirm, sir, that August           17   introduced by title only now or wait until the next
18   2nd, 2019 was a Friday.                                     18   round and put together a full ordinance.
19      A. Yes.                                                  19       Q. What did he say about the option to either be
20      Q. So that's the date that you recall Alder Evers        20   introduced by title or to wait for the next meeting?
21   contacting you about the proposed ordinance -- drafting     21       A. Well, I don't recall what he said because we
22   the proposed ordinance?                                     22   introduced it by title only. That's the only option we
23         MS. ZYLSTRA: Object to form. You can answer.          23   chose.
24      A. I don't recall a date. I recall that it was           24       Q. Prior to him asking you to draft an ordinance
25   the end of that week.                                       25   was there any discussion about what the problem was that

                                                                                                        24 (Pages 90 - 93)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 25 of 60


                                                       Page 94                                                            Page 96
 1   he was looking to address and what his options were?         1       Q. So when you look at Exhibit 20, file No.
 2          MS. ZYLSTRA: Object to form. You can answer.          2   56981, is that what you're referring to when you call it
 3       A. Well, there was discussion after -- there was         3   the conditional use ordinance?
 4   a realization at the ZBA meeting as to what the              4       A. Yeah, Madison General to require conditional
 5   ordinance said or just said didn't do.                       5   use approval in Campus-Institutional districts for uses
 6          After the ZBA meeting I didn't have any               6   involving -- yes.
 7   discussions about anything related to changing the           7       Q. We will just call it the conditional use
 8   ordinance.                                                   8   ordinance going forward and that will -- so when I'm
 9       Q. What realization did Mr. Evers express to you         9   referring to the conditional use ordinance that's what
10   after the ZBA hearing and before this call in August of     10   I'm referring to; okay?
11   2019?                                                       11       A. Okay.
12       A. My recollection is that Alder Evers and              12       Q. And you were the drafter of the conditional
13   several other alders were concerned that that's the way     13   use ordinance; correct?
14   the ordinance worked.                                       14       A. Correct.
15          Because other alders also had schools in their       15       Q. Did you receive input or assistance from
16   districts, specifically Alder Bidar had West High School    16   anyone in the drafting of that ordinance?
17   in her district, Alder Furman had Memorial High School      17       A. I would have received -- I would have not
18   in his district, so they were trying to learn what the      18   received any input with respect to the initial
19   option -- what they could or couldn't doing without         19   introduction of the ordinance by title only.
20   conditional use review in those districts.                  20          It would have been common for me to consult
21       Q. The ZBA hearing was what day to the best of          21   with Matt Tucker on the specifics of what the ordinance
22   your recollection?                                          22   would say and we may have talked to other staff as well.
23       A. I don't recall the exact day.                        23       Q. Got it. For an introduction by title, who --
24       Q. It was early in the month of July; correct?          24   well, let me ask you this: Did you draft the title?
25       A. Right.                                               25       A. I assume that I did. I don't recall anybody
                                                       Page 95                                                            Page 97
 1       Q. So in this call with Alder Evers in August,       1       else that would have drafted the title.
 2   the end of that first -- I guess you would call it was   2           Q. To your recollection, prior to August 5 of
 3   either August 1 or 2, Thursday or Friday, as you         3       2019, you had only one conversation with Alder Evers
 4   testified.                                               4       regarding the drafting of this ordinance; is that
 5           What was the problem framed by Alder Evers       5       correct?
 6   that he was seeking to address?                          6           A. That's my recollection.
 7       A. The one that I just testified to. The fact        7           Q. So the title, when you look at Exhibit 20, the
 8   that in CI districts that don't have a master plan, you  8       title of the ordinance, it starts out with "3rd
 9   can establish uses that don't require the construction   9       Substitute." Do you see that?
10   of a building without a conditional use process.        10           A. I do.
11       Q. Those were his words, what did he say?           11           Q. What does that mean?
12       A. I don't recall exactly what he said. That was 12              A. That means that as the ordinance went through
13   what he wanted to do. It was basically a request to try 13       the process certain changes were made to it once it was
14   and do something to address that problem.               14       introduced, and each time a change is made it's called a
15       Q. And was there any discussion of Edgewood in 15            substitute.
16   that call with Alder Evers?                             16               So you have the original 1st substitute, 2nd
17       A. I don't recall any discussion of Edgewood on 17           substitute, 3rd substitute.
18   that call.                                              18           Q. So the original, so the first change is then
19       Q. So you had said that you drafted the ordinance 19         called the 1st substitute, then the second change would
20   itself that's relating to the amendment to the          20       be a 2nd substitute, third change would be a 3rd
21   Campus-Institutional District zoning; correct?          21       substitute.
22       A. The conditional use ordinance you're referring 22             A. The 1st substitute really is just called a
23   to?                                                     23       substitute. It doesn't say "1st," but, yeah.
24       Q. Yes.                                             24           Q. Got it. Do you recall the changes between the
25       A. Yes.                                             25       original, the 1st substitute?

                                                                                                         25 (Pages 94 - 97)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 26 of 60


                                                        Page 98                                                           Page 100
 1       A. I do not.                                              1          MS. ZYLSTRA: Object to form. You can answer.
 2       Q. How about between the 1st and 2nd?                     2       A. Correct. It would be any of the uses
 3       A. I don't.                                               3   identified as allowable uses in the CI District, so
 4       Q. 2nd and 3rd?                                           4   primary, secondary.
 5       A. Do not. I would say the documents speak for            5       Q. As you sit here today you don't recall any --
 6   themselves.                                                   6   you don't recall any urgency expressed by Alder Evers as
 7       Q. All of those different versions can be found           7   to why he was raising this issue now for you on the end
 8   on Legistar; is that right?                                   8   of that first week in August; August 2, August 3. You
 9       A. Correct.                                               9   don't recall any urgency that was motivating his
10       Q. So the title on Exhibit 20, per Exhibit 20,           10   request, this call?
11   the title of your ordinance, can you read that out loud      11          MS. ZYLSTRA: Object to form. You can answer.
12   for me, please, into the record?                             12       A. No.
13       A. 3rd substitute, Amending Sections 28.097,             13       Q. Sir, Exhibit 20 demonstrates an enactment date
14   subsection 2 and subsection 3, of the Madison General        14   of -- well, it says final action 10/1 of 2019. Do you
15   Ordinances to require conditional use approval in the        15   see that?
16   Campus-Institutional District for uses involving new         16       A. I do.
17   buildings or additions -- involving new buildings or         17       Q. And that is the date that the Common Council
18   additions to existing buildings the establishment,           18   adopted the ordinance you drafted and closed public
19   improvement, or modification exceeding 4,000 square feet     19   hearing on it; correct?
20   in ground floor area and for the establishment,              20       A. Correct.
21   improvement, or modification of any occurring -- any use     21       Q. So what is the difference between the final
22   occurring outside an enclosed building, area on a zoning     22   action of 10/1/2019 and the enactment date, to your
23   lot of any primary use and to require conditional use        23   knowledge, on 10/11 of 2019?
24   approval for the establishment, improvement, or              24          MS. ZYLSTRA: Objection. Foundation.
25   modification of identified secondary uses.                   25       A. I don't recall other than the -- or I
                                                        Page 99                                                           Page 101
 1       Q. Thank you.                                             1   shouldn't I say don't recall.
 2          MS. ZYLSTRA: Rolls off the tongue.                     2          I don't know other than ordinances do not
 3       Q. It does. You have a way with words, sir.               3   become effective until the mayor signs them after the
 4       A. Thanks.                                                4   meeting.
 5       Q. So you would have drafted that title for the           5          So sometimes the enactment date -- or I would
 6   3rd substitute; correct?                                      6   really be more likely to refer to that as the effective
 7       A. Well, you don't draft titles first -- you              7   date. That is related to when the mayor signs them and
 8   don't necessarily draft a new title for every version,        8   not the day of the council meeting.
 9   so that probably would have been the original title.          9       Q. So is it your understanding, sir, the law
10   You don't change the title necessarily as it goes            10   doesn't actually take effect until the mayor signs off
11   through the process, or at least I don't recall doing        11   on it; correct?
12   that.                                                        12          MS. ZYLSTRA: Object. Foundation. You can
13       Q. Okay. The title, at least on Exhibit 20,              13   answer.
14   involves generally new buildings or additions. And it's      14       A. That's my understanding is that the effective
15   not specific to a sort of type of building or addition,      15   date is when -- is not the night of the council meeting.
16   correct, as long as it's over the 4,000 square feet --       16       Q. Got it. To your understanding and knowledge
17       A. Correct.                                              17   is there a requirement that the mayor sign off and enact
18          MS. ZYLSTRA: Object --                                18   the legislation within a certain period of time after
19       Q. -- condition?                                         19   Common Council adoption?
20       A. Yes.                                                  20          MS. ZYLSTRA: Objection. Foundation.
21          MS. ZYLSTRA: Sorry, I didn't think he was             21       A. I'm not aware of that. Again, I wasn't the
22   done. Object to form. You can answer.                        22   city attorney. I'm not the city attorney. So that's
23       Q. And then it also goes on to relate to any use         23   more the specifics of, you know, when something is
24   occurring outside of the enclosed building; correct?         24   passed, when it becomes effective, when it becomes
25   It's not specific to any particular types of uses?           25   enacted when the mayor signs it, that was something I

                                                                                                         26 (Pages 98 - 101)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 27 of 60


                                                     Page 102                                                         Page 104
 1   wasn't responsible for the details of that.                 1       Q. I'll ask you to turn to Exhibit 19. Do you
 2       Q. So, to your knowledge or in your experience,         2   recognize that, sir, as the approved meeting minutes for
 3   when two pieces of legislation have final action on the     3   the Common Council meeting dated Tuesday, August 6th,
 4   same day would have different enactment dates?              4   2019?
 5          MS. ZYLSTRA: Objection to form. You can              5       A. That's what it appears to be, yes.
 6   answer.                                                     6       Q. Do you remember, sir, if you were in
 7          THE WITNESS: Can you read back the question?         7   attendance at that Common Council meeting?
 8          (Record read.)                                       8       A. I don't recall.
 9       Q. Is it possible that two --                           9       Q. Is it your typical practice to attend such
10       A. I understand the question.                          10   meetings?
11       Q. Yeah.                                               11       A. No. Mike May attended all the council
12          MS. ZYLSTRA: Same objection.                        12   meetings and I attended when there was going to be an
13       A. I can't say that it's not impossible, but I         13   issue that I knew about or that he requested me to
14   can't say it's not possible.                               14   attend.
15          I'm not aware of any circumstances where            15       Q. Got it. Sir, to the best -- let me ask you to
16   ordinances adopted on the same -- at the same council      16   turn to the last page of Exhibit 19. Actually, it
17   meeting would become effective on the same date, because   17   should be labeled as the second to the last page, page
18   it was my understanding that the mayor signed them off     18   36.
19   at the same time. So it would be unusual.                  19       A. So 36 on the bottom?
20          Now, are there some outliers, finance stuff?        20       Q. Yes.
21   Who knows. Budget stuff? There might be some weird         21       A. Okay.
22   things that they do differently just for statutory         22       Q. And so, sir, looking at that file reference,
23   reasons.                                                   23   No. 56981, do you recognize that as being your
24       Q. Sure. Sir, did you ever hear of or                  24   conditional use ordinance amendment from Exhibit 20?
25   participate in any discussions between city officials in   25       A. Let me just double check just to make sure the
                                                     Page 103                                                         Page 105
 1   which city officials expressed a desire to pass the         1   number is right.
 2   conditional use ordinance amendment prior to the repeal     2          Yes, that's the same number, 56981.
 3   of Edgewood's master plan?                                  3       Q. And this is the minutes entry for the
 4       A. I don't recall any discussions like that with        4   introduction of the items from the floor for your
 5   city officials.                                             5   ordinance amendment; correct?
 6          MR. INGRISANO: Why don't we take a quick             6       A. It appears to be, yes.
 7   break.                                                      7       Q. Can you read that title out loud for me,
 8          MS. ZYLSTRA: Okay.                                   8   please?
 9          (Recess)                                             9       A. The title right here?
10       Q. MR. INGRISANO: Back on. Mr. Strange, you had        10       Q. Where it says "By Title Only," yes.
11   mentioned that the conditional use ordinance amendment     11       A. "Creating Madison General Ordinance Sections
12   was introduced by title; correct?                          12   28.097(2)(d) and (e) requiring institutions in the
13       A. Correct.                                            13   Campus-Institutional District without an approved campus
14       Q. And to the best of your recollection you            14   master plan to get conditional use approval for the
15   drafted that original title?                               15   establishment of open or (unintelligible) --
16       A. Correct.                                            16          THE REPORTER: Uh, slow down.
17       Q. And to the best of your recollection there was      17          THE WITNESS: Oh, I'm sorry, sorry, sorry.
18   one call with Alder Evers prior to you drafting that       18       Q. MR. INGRISANO: Yeah, can you start over and
19   original title; correct?                                   19   --
20       A. Correct.                                            20       A. I'm sorry. I'm sorry.
21       Q. Beyond the conversation with Alder Evers, what      21       Q. I'm going to ask you to slow down and start
22   if anything else would you have drawn upon in drafting     22   over; okay?
23   the original title for its introduction?                   23       A. I'm sorry. I'll start over.
24       A. My identification of the hole in the                24          "Creating Madison General Ordinance Sections
25   ordinance.                                                 25   28.097 subsection 2 (d) and (e) requiring institutions

                                                                                                    27 (Pages 102 - 105)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 28 of 60


                                                      Page 106                                                           Page 108
 1   in the Campus-Institutional District without an approved     1       A. Well, those were issues that were -- those
 2   campus master plan to get conditional use approval for       2   were items that were part of their original application
 3   establishment of open and enclosed stadiums,                 3   for a campus master plan which they had at this point
 4   auditoriums, arenas, indoor or outdoor sports                4   were not going through with.
 5   recreational facilities, and agricultural uses and for       5       Q. And the 3rd substitute involved all of the --
 6   the installation of stadium lighting, amplified sound,       6   well, strike that.
 7   and the establishment or expansion of outdoor seating        7          You recognize, sir, that stadiums,
 8   over a specified capacity."                                  8   auditoriums, arenas, indoor or outdoor sports and
 9       Q. Thank you. And that's the title that you              9   recreational facilities and agricultural uses are all
10   drafted?                                                    10   permitted uses under the Campus-Institutional District
11       A. I don't recall drafting the titles. It               11   zoning ordinance?
12   wouldn't have been my responsibility to do that.            12       A. They are not permitted uses. They are
13       Q. You recognize, sir, that this title of what          13   allowable uses, which was another very odd part of that
14   was introduced from the floor on August 6 is more           14   ordinance.
15   narrowly crafted than the ordinance that was approved as    15       Q. Those are not the entirety of the permitted or
16   the 3rd substitute on October 1; correct?                   16   allowable uses under that ordinance; correct?
17          MS. ZYLSTRA: Objection. Form.                        17       A. Correct.
18       A. I would say that I recognize that it's               18       Q. But the 3rd substitute per its title and its
19   different. I think your characterization would be           19   contents is not limited to just stadiums, auditoriums,
20   narrowly crafted.                                           20   arenas, indoor or outdoor sports recreational facilities
21       Q. Do you disagree that it's more narrowly              21   and agricultural uses; correct?
22   crafted?                                                    22          MS. ZYLSTRA: Objection. Form.
23       A. I think it's more specific.                          23          THE WITNESS: I'm sorry, could you read that
24       Q. So it's more specific in fact to the issues          24   back? I was shuffling papers.
25   that were arising with Madison Edgewood High School;        25          (Record read.)
                                                      Page 107                                                           Page 109
 1   correct?                                                     1       A. The 3rd substitute, the content of the 3rd
 2          MS. ZYLSTRA: Objection. Form. You can                 2   substitute, as I recall, addresses any of the allowable
 3   answer.                                                      3   uses that occur outside of a building, so it is not
 4       A. To the extent that it talks about stadiums and        4   limited to these.
 5   sports recreational facilities, those were the two           5       Q. When did the title for this ordinance, the
 6   issues with the Edgewood case.                               6   conditional use ordinance, change? When did that title
 7          But there are other items there, like                 7   change?
 8   auditoriums and arenas and agricultural uses that are        8          MS. ZYLSTRA: Objection. Form, foundation.
 9   also stated.                                                 9       A. I don't recall when it changed. I mean, I
10       Q. Do you recall any agricultural issue being           10   would say the documents speak for themselves.
11   raised at the ZBA hearing involving the Madison Edgewood    11       Q. You changed it though; correct?
12   property?                                                   12       A. I would have changed them.
13       A. Yes. At the ZBA hearing one of the examples          13          MS. ZYLSTRA: Wait, wait, wait, you guys are
14   that Edgewood raised was some issue about the potential     14   talking over each other. Objection. Form. Did you get
15   of a correctional facility.                                 15   the whole answer?
16          And I came -- I said in trying to explain the        16          THE REPORTER: I'm not sure I got the whole
17   hole in the ordinance said that theoretically an            17   answer. I'll read it back.
18   agricultural use could be established if it didn't          18          (Record read.)
19   involve a building.                                         19       A. I don't recall changing the titles. I recall
20          And so we were trying to determine how to            20   working on the meat of the ordinances, the substance of
21   address the hole in that ordinance.                         21   the ordinance over that period of time. I was less
22       Q. And with respect to the stadium lighting,            22   concerned about the titles themselves, because those
23   amplified sound, establishment of or expansion of           23   aren't what become law.
24   outdoor seating, those were also issues involved in the     24          The requirement for a title is that you give
25   Edgewood athletic complex; correct?                         25   general notice to the public about what the content of

                                                                                                      28 (Pages 106 - 109)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 29 of 60


                                                    Page 110                                                          Page 112
 1   the ordinance is going to be. So I was more concerned      1       A. I don't recall if I did or not.
 2   at this point of just drafting the body of the             2       Q. As a matter of typical practice when you are
 3   ordinance.                                                 3   on a "From" line in a memorandum on a city document do
 4       Q. Who changed the title?                              4   you typically have input or approval over the document
 5       A. I would have changed the title, but I'm saying      5   before it goes out?
 6   -- you asked me if I recall when I changed the title. I    6          MS. ZYLSTRA: Object to form. You can answer.
 7   don't recall.                                              7       A. I would say I have input. I mean, obviously,
 8       Q. Why did you change the title?                       8   city attorney is on this so approval is his.
 9       A. I don't recall.                                     9       Q. In the second paragraph the memo says, "In
10       Q. Can you look at Exhibit 24, sir, and               10   terms of the RLUIPA claim, the City's best legal
11   familiarize yourself with this.                           11   position would be if the master plan were repealed and
12          Do you recognize this as a memo you drafted to     12   no other changes in the CI District ordinances were
13   the Plan Commission dated August 26, 2019?                13   adopted." Did I read that correctly?
14       A. Yes.                                               14       A. You did read that correctly.
15       Q. And in this memo you are analyzing both the        15       Q. Do you know what other changes in the CI
16   map amendment for the Edgewood plan repeal and the        16   District ordinances are being referenced there?
17   conditional use ordinance change; correct?                17       A. I don't.
18       A. Correct.                                           18       Q. Do you know if that refers to your conditional
19       Q. And your conclusion at the end of this memo on     19   use ordinance amendment?
20   page 3 in summary is that if both of those items are      20       A. I mean, I'm -- perhaps at the bottom it says,
21   approved by the Common Council on September 3, the        21   "Additionally, several alders are proposing changes to
22   practical effect, practical impact, is that Edgewood      22   the CI District that would impact all of the entities in
23   would be allowed to play games but that any improvement   23   the CI District --
24   or modification will require conditional use approval;    24          THE REPORTER: Slow down, please.
25   correct?                                                  25       A. Sorry. "Additionally, several alders are
                                                    Page 111                                                          Page 113
 1        A. Correct.                                           1   proposing changes to the CI District that would impact
 2        Q. And that improvement or modification would         2   all of the entities in that CI District."
 3   include lights; correct?                                   3           So I'm assuming that's what that was referring
 4        A. Correct.                                           4   to.
 5        Q. And that was your analysis of what would           5       Q. Do you know why it would be the City's best
 6   happen in the impact of how these two pieces of            6   legal position if the master plan were repealed and no
 7   legislation would interplay; is that correct?              7   other changes in the CI District ordinance were adopted?
 8        A. That's correct.                                    8       A. Well, this -- I mean, this memo is dated
 9          MS. ZYLSTRA: Late objection to form.                9   August 22nd, 2019, which is also the date that we
10        Q. MR. INGRISANO: Are you aware of any reason        10   received the lawsuit from Edgewood, same day.
11   why these two enactments were being considered at the     11           We obviously, at that point, hadn't had an
12   same time other than mere coincidence?                    12   opportunity to read the entire lawsuit and digest it. I
13          MS. ZYLSTRA: Objection to form, foundation.        13   think that we had read it enough to realize they were --
14   But you said "are you aware"?                             14   their entire claim was based on the master plan, and a
15          MR. INGRISANO: Uh-huh.                             15   relatively quick and obvious conclusion was without the
16          MS. ZYLSTRA: I remove that foundation              16   master plan they have no claim.
17   objection. You can answer.                                17           And so it's a simple statement that if the
18        A. I'm not aware.                                    18   master plan goes away then likely that's your best
19        Q. Let me ask you to take a look at Exhibit 30,      19   position.
20   sir.                                                      20           It really wasn't making a judgment on the
21          This is a memo in which you are one of two         21   value of the RLUIPA claim, just analyzing the sort of
22   people on the "From" line to members of the Plan          22   building blocks of the lawsuit.
23   Commission, dated August 22, 2019. Do you see that?       23       Q. Let me ask you to take a look at Exhibit 31.
24        A. I do.                                             24       A. Okay.
25        Q. Did you draft this memo?                          25       Q. This is a meeting invite dated for a meeting

                                                                                                   29 (Pages 110 - 113)
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  Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 30 of 60


                                                             Page 114                                                         Page 116
 1   start of February 13, 2020, and you're listed as a                  1   Do you see that?
 2   required attendee. Do you see that?                                 2        A. I do.
 3      A. I do.                                                         3        Q. And that pertains to Edgewood's repeal of its
 4      Q. Do you recall being invited to this meeting?                  4   master plan. Is that right?
 5      A. I do.                                                         5        A. That's what it says.
 6      Q. And do you recall attending that meeting?                     6        Q. Do you recall protest petitions being filed by
 7      A. I do.                                                         7   the neighbors against Madison's -- against Madison
 8      Q. What was discussed during that meeting?                       8   Edgewood's attempt to repeal its master plan?
 9      A. Well, I mean, Alder Evers scheduled the                       9        A. I don't have an independent recollection of
10   meeting to help Edgewood's neighbors understand the                10   when they were filed. I recall that they were filed and
11   process moving forward and, as I recall, the questions             11   it's something I had to deal with, but they don't file
12   they had related to the conditional use process.                   12   those with our office.
13          And I recall being asked a question what the                13        Q. Sure. You understood, did you not, that as a
14   -- what the neighbors' rights were. And I said you                 14   result of petitions there actually was going to be a
15   don't have any rights. We have the conditional use                 15   three-quarters vote requirement in order to repeal the
16   process to go through.                                             16   Edgewood Master Plan?
17          They apply for a conditional use, go through                17        A. Yes, eventually I did. I don't know when that
18   the process, you have an opportunity to attend the                 18   became obvious to me.
19   meetings and present information just like Edgewood                19        Q. So the eventual repeal of the master plan did
20   does.                                                              20   in fact require a three-quarter vote; correct?
21          And I made a point to say I can't tell you how              21        A. Correct.
22   to do that or what to do, just like we don't tell                  22          (Exhibit 115 marked.)
23   Edgewood how to prepare their conditional use.                     23        Q. MR. INGRISANO: Mr. Strange, I'm handing you
24      Q. So you didn't suggest any information that                   24   what's been marked as Exhibit 115.
25   would be helpful in rebutting Edgewood's request for               25          And I don't know the date of this document or
                                                             Page 115                                                         Page 117
 1 conditional use?                                                      1   when it was created, but do you recognize this as your
 2     A. I did not. I remember this meeting because                     2   resume at least at some period of time while you were
 3 they were very unhappy with me.                                       3   still with the Office of the City Attorney?
 4     Q. Do you recall Alder Evers being unhappy with                   4       A. That's what it appears to be. It's a little
 5 you?                                                                  5   odd to get it from you and not know where it came from.
 6     A. I don't recall him being unhappy with me. He                   6   I mean, do I think somebody created this on their own?
 7 was, I think, trying to do the alder thing of providing               7   Probably not, but I don't know.
 8 information to his constituents.                                      8       Q. Sure. I'll represent to you, sir, that it was
 9        I don't recall him being unhappy with me or                    9   produced by the defendants in this litigation.
10 saying anything in the meeting other than listening.                 10       A. Okay.
11 The neighbors did say some things to me but -- to                    11       Q. Let me ask you to take a look at this and tell
12 express their displeasure.                                           12   me what updates you -- first, take a look at this and
13        (Exhibit 114 marked.)                                         13   tell me what updates you would add to this document to
14     Q. MR. INGRISANO: Sir, I'm handing you what's                    14   make it current as of today.
15 been marked as Exhibit 114.                                          15          MS. ZYLSTRA: I'll object to form, but go
16        Do you recognize this as a memo from Heather                  16   ahead.
17 Stouder to the mayor and the Madison Common Council                  17       A. Okay. I'm going to have to take a look at it.
18 dated October 11, 2019?                                              18       Q. Yeah. Please.
19     A. That appears to be what this is, yes.                         19       A. Okay. Where you would you like to start?
20     Q. You are listed as a cc on this document. Do                   20       Q. Start where you want to start. Start at the
21 you see that?                                                        21   beginning.
22     A. I am, yes.                                                    22       A. Okay. So, obviously, I don't work for the
23     Q. And in this memo, Ms. Stouder is apprising the                23   City anymore. I work full time at the law school so I
24 mayor and the Common Council that on Wednesday, October              24   would change that. I would change my dates of
25 2, 2019, the city clerk received two protest petitions.              25   employment with the City from June 2009 to August 1st,

                                                                                                            30 (Pages 114 - 117)
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 Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 31 of 60


                                                    Page 118                                                         Page 120
 1   2021.                                                    1    ordinances that you would be sure to note.
 2           This would appear to be a document from prior    2           Can you identify again which ordinances you
 3   to when Mayor Satya Rhodes-Conway was elected, because 3      would call out in your resume today?
 4   it references Paul Soglin.                               4        A. Chapter 33.55, Chapter 33.56, and Chapter 41
 5           I don't know exactly -- can't remember exactly   5    would be the ones that encompass the rewrites of all the
 6   when she was elected but it's been a little while now.   6    transportation-related ordinances.
 7           This also appears to be back when the City       7           And then Chapter 41 is where we parked the
 8   still had a transit and parking commission, which we     8    Historic Preservation Ordinance.
 9   rewrote ordinances. We -- I rewrote the ordinances that  9           I did the first half of that and then started
10   involved the seven transportation-related committees.   10    the second half of it around February-ish 2019 when we
11   We reduced those to one, to a transportation commission 11    started to rewrite the back half to do all the different
12   and to a transportation policy and planning board. So I 12    regulations for the historic districts.
13   would update that.                                      13           That actually was just enacted a couple weeks
14           I would include on here that I drafted that     14    ago, so I was -- handed that off.
15   ordinance. I would add on here that I drafted the       15        Q. So those were ordinances you would call out
16   ordinance to rewrite the Landmark -- the Historic       16    because you were particularly proud of your work on
17   Landmark Ordinance so we now call it the Historic       17    those?
18   Preservation Ordinance.                                 18        A. I don't know if I would use the word "proud."
19           I would add on here that during the time        19    It demonstrates things that I did at the City that could
20   period from about 2017 to 2020-something, I was lead    20    be appealing to a prospective employer if I were
21   staff to the task force on government structure that    21    applying for a job, but I don't know.
22   involved over 90 meetings over the course of that time. 22        Q. Sure. With your taking over in the City
23   It involved writing a giant report on the status of the 23    attorney's office responsibilities for zoning and land
24   City of Madison government structure as it relates to   24    use issues, you said in the 2013-2014 timeframe, were
25   equity and social justice issues.                       25    you involved in any way in the creation of the
                                                    Page 119                                                         Page 121
 1          I would add to this that at some point in 2016       1 Campus-Institutional zoning ordinance?
 2   I handled the City's lawsuit involving the NRA's            2     A. No, I was not, no.
 3   challenge to guns on buses that we were successful in       3     Q. Were you involved in any way with the review
 4   circuit court, won in the court of appeals, and then        4 and creation of the Edgewood Master Plan?
 5   lost at the Supreme Court. So I probably would add that     5     A. I was not.
 6   on here for better or worse just as an indicator of some    6        MR. INGRISANO: No further questions.
 7   of the work that I had done.                                7        MS. ZYLSTRA: Okay. We will reserve the right
 8          And there are countless other things I could         8 to read and sign.
 9   imagine adding to this if I were trying to update it to     9        (Deposition adjourned at 12:12 p.m.)
10   get a job. But that's what comes to mind at the moment.    10
11       Q. But the summary of the different professional       11
12   experiences you had working with Office of City            12
13   Attorney, Wisconsin Supreme Court, Office of the Wake      13
14   County Attorney, Kestenbaum Law Firm, Joyce L. Davis &     14
15   Associates, those or all accurate; correct?                15
16          MS. ZYLSTRA: Object to form. You can answer.        16
17       A. Correct. Those are places I worked.                 17
18       Q. So you would add your current job at the            18
19   University of Wisconsin Law School; correct?               19
20       A. Yes.                                                20
21       Q. The summary of your education is accurate and       21
22   complete?                                                  22
23       A. Yes.                                                23
24       Q. When you said you would update your work with       24
25   the Office of the City Attorney, you mentioned some        25

                                                                                                   31 (Pages 118 - 121)
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 32 of 60


                                                                 Page 122                                                                            Page 124
                                                                             1            DEPOSITION REVIEW
 1              CERTIFICATE OF REPORTER                                                  CERTIFICATION OF WITNESS
 2                                                                           2
                                                                                      ASSIGNMENT REFERENCE NO: 5244848
 3          I, Cheri Winter, a Certified Shorthand                           3        CASE NAME: Edgewood High School Of The Sacred Heart, Inc. v.
 4 Reporter, Notary Public in and for the State of                               City Of Madison Wisconsin, Et Al.
                                                                                      DATE OF DEPOSITION: 6/1/2022
 5 Wisconsin, do hereby certify that the foregoing                           4        WITNESS' NAME: John W. Strange
                                                                             5        In accordance with the Rules of Civil
 6 deposition was taken before me, on the 1st day of June
                                                                                  Procedure, I have read the entire transcript of
 7 2022; that it was taken at the request of the Plaintiff;                  6    my testimony or it has been read to me.
                                                                             7        I have made no changes to the testimony
 8 that it was taken in shorthand by me, a competent court                        as transcribed by the court reporter.
 9 reporter and disinterested person, approved by all                        8
                                                                                  _______________         ________________________
10 parties in interest, and thereafter converted to                          9    Date            John W. Strange
11 typewriting using computer-aided transcription; that                     10        Sworn to and subscribed before me, a
                                                                                  Notary Public in and for the State and County,
12 said deposition is a true record of the deponent's                       11    the referenced witness did personally appear
                                                                                  and acknowledge that:
13 testimony; that the deposition was taken pursuant to
                                                                            12
14 Subpoena, that said JOHN W. STRANGE, before examination                            They have read the transcript;
                                                                            13        They signed the foregoing Sworn
15 was sworn by me to testify to the truth, the whole                                    Statement; and
16 truth, and nothing but the truth relative to said cause.                 14        Their execution of this Statement is of
                                                                                         their free act and deed.
17       Dated June 8, 2022.                                                15
18                                                                                    I have affixed my name and official seal
                                                                            16
19                        <%22582,Signature%>                                     this ______ day of_____________________, 20____.
                                                                            17
20                        Cheri Winter
                                                                                         ___________________________________
                          Notary Public                                     18           Notary Public
                                                                            19           ___________________________________
21                       State of Wisconsin                                              Commission Expiration Date
22                                                                          20
                                                                            21
23                                                                          22
24                                                                          23
                                                                            24
25                                                                          25

                                                                 Page 123                                                                            Page 125
 1                  Veritext Legal Solutions                                 1            DEPOSITION REVIEW
                     1100 Superior Ave                                                   CERTIFICATION OF WITNESS
                                                                             2
 2                     Suite 1820                                                     ASSIGNMENT REFERENCE NO: 5244848
                    Cleveland, Ohio 44114                                    3        CASE NAME: Edgewood High School Of The Sacred Heart, Inc. v.
 3                   Phone: 216-523-1313                                         City Of Madison Wisconsin, Et Al.
 4                                                                                    DATE OF DEPOSITION: 6/1/2022
     June 8, 2022                                                            4        WITNESS' NAME: John W. Strange
                                                                             5        In accordance with the Rules of Civil
 5                                                                                Procedure, I have read the entire transcript of
     To: Ms. Zylstra                                                         6    my testimony or it has been read to me.
 6                                                                           7        I have listed my changes on the attached
   Case Name: Edgewood High School Of The Sacred Heart, Inc. v. City Of           Errata Sheet, listing page and line numbers as
 7 Madison Wisconsin, Et Al.                                                 8    well as the reason(s) for the change(s).
                                                                             9        I request that these changes be entered
 8 Veritext Reference Number: 5244848                                             as part of the record of my testimony.
 9 Witness: John W. Strange          Deposition Date: 6/1/2022              10
10                                                                                    I have executed the Errata Sheet, as well
   Dear Sir/Madam:                                                          11    as this Certificate, and request and authorize
11                                                                                that both be appended to the transcript of my
                                                                            12    testimony and be incorporated therein.
12 Enclosed please find a deposition transcript. Please have the witness    13    _______________           ________________________
13 review the transcript and note any changes or corrections on the               Date              John W. Strange
14 included errata sheet, indicating the page, line number, change, and     14
15 the reason for the change. Have the witness’ signature notarized and               Sworn to and subscribed before me, a
16 forward the completed page(s) back to us at the Production address       15    Notary Public in and for the State and County,
                                                                                  the referenced witness did personally appear
   shown                                                                    16    and acknowledge that:
17                                                                          17        They have read the transcript;
   above, or email to production-midwest@veritext.com.                                They have listed all of their corrections
18                                                                          18            in the appended Errata Sheet;
19 If the errata is not returned within thirty days of your receipt of                They signed the foregoing Sworn
                                                                            19            Statement; and
20 this letter, the reading and signing will be deemed waived.                        Their execution of this Statement is of
21                                                                          20            their free act and deed.
   Sincerely,                                                               21        I have affixed my name and official seal
22                                                                          22    this ______ day of_____________________, 20____.
   Production Department                                                    23            ___________________________________
                                                                                          Notary Public
23                                                                          24
24                                                                                       ___________________________________
25 NO NOTARY REQUIRED IN CA                                                 25           Commission Expiration Date


                                                                                                                                 32 (Pages 122 - 125)
                                                        Brown & Jones Reporting                                                        414-224-9533
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     Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 33 of 60


                                                   Page 126
 1            ERRATA SHEET
          VERITEXT LEGAL SOLUTIONS MIDWEST
 2          ASSIGNMENT NO: 5244848
 3   PAGE/LINE(S) /    CHANGE       /REASON
 4   ___________________________________________________
 5   ___________________________________________________
 6   ___________________________________________________
 7   ___________________________________________________
 8   ___________________________________________________
 9   ___________________________________________________
10   ___________________________________________________
11   ___________________________________________________
12   ___________________________________________________
13   ___________________________________________________
14   ___________________________________________________
15   ___________________________________________________
16   ___________________________________________________
17   ___________________________________________________
18   ___________________________________________________
19
   _______________     ________________________
20 Date          John W. Strange
21 SUBSCRIBED AND SWORN TO BEFORE ME THIS ________
22 DAY OF ________________________, 20______ .
23       ___________________________________
         Notary Public
24
         ___________________________________
25       Commission Expiration Date




                                                                         33 (Page 126)
                                            Brown & Jones Reporting     414-224-9533
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   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 34 of 60


[& - 33.56]                                                                      Page 1

          &             112 2:19 65:16,18     2013 6:21,25           22582 122:19
 & 4:5,12,18            113 2:21 3:17         2013-2014 7:11         22nd 10:20 22:23
   119:14                 66:23,25 67:2         120:24                 24:1,22 27:15
                          90:23               2014 6:21 31:7           28:14,16,17,22
           0
                        114 2:23 115:13,15    2016 119:1               32:23 113:9
 0018 1:6               115 2:23 3:3          2017 118:20            23 3:14 74:9,25
           1              116:22,24           2018 8:7,19,21           79:24
 1 1:16 2:16,20         116 3:3                 11:17 15:11 16:9     23rd 24:22
   4:18 5:1 95:3        11th 23:4 45:23         17:25 18:17          24 2:12 3:15
   106:16               12 3:9 40:17 41:11    2019 2:14,16,20,24       110:10
 10 43:22 72:5            43:18,25 44:1         8:7,10,22,23 9:1,1   26 3:8 18:17 34:13
 10.085 12:25 13:3        46:2 49:19 50:8       9:21 10:20 15:22       110:13
   29:3,7,21 30:10,19     57:25 59:2 60:24      16:18 22:23 23:24    26th 35:4,8
   32:2 33:25 34:11       62:10 70:5,6,8        24:1 26:20 34:13     27 26:20 32:23
   35:6 46:12 49:3        71:7,13               35:4,23 37:7           33:17
   49:10                12:12 121:9             40:17 41:11 45:8     27th 14:20 27:6
 10.085. 30:10 34:1     12th 75:5               49:16,19,19 51:2       28:17,23 34:2
   34:4                 13 3:24 59:22           51:22 52:4 56:10     28.097 98:13
 10/1 100:14              114:1                 57:21 59:22 67:11      105:12,25
 10/1/2019 100:22       14 6:25                 70:8 74:11,13        29 82:14
 10/11 100:23           17 74:11,13 75:7        80:6 82:14,18        29th 82:18,24 83:6
 104 3:10                 80:6,9                83:2 86:2 87:10      2nd 2:16,20 66:9
 10429 63:3             17th 74:12              89:18 90:25 91:12      91:7,13,18 97:16
 10430 59:17            18 3:19                 91:18 94:11 97:3       97:20 98:2,4
 10433 57:17            1820 123:2              100:14,23 104:4               3
 107 2:10 22:16,18      19 3:10 104:1,16        110:13 111:23
                                                                     3 3:7 35:11,15
 108 2:12 24:17,19      1st 4:7 56:10 97:16     113:9 115:18,25
                                                                       36:9,16 40:3
 109 2:13 37:2,4          97:19,22,23,25        120:10
                                                                       57:21 59:9 88:6
   40:2 42:16,18          98:2 117:25 122:6   2020 114:1 118:20
                                                                       98:14 100:8
   45:3                           2           2021 5:25 118:1
                                                                       110:20,21
 10:02 22:23                                  2022 1:16 4:7 5:1
                        2 76:22 95:3 98:14                           3/12 2:18
 11 2:24 7:8 24:5                               122:7,17 123:4
                          100:8 105:12,25                            30 3:16 68:11,24
   44:2,4,13 45:15                            21 3:12 49:16,19
                          115:25                                       86:2 90:20 91:6
   115:18                                       50:8 51:2,22 52:4
                        20 3:11 88:21                                  111:19
 110 2:15 3:15 56:7                             83:24 85:5,17
                          89:16 96:1 97:7                            30th 67:11 68:17
   56:9,22,23,24                                86:2 87:10
                          98:10,10 99:13                               83:7 85:16 90:25
   63:21,21 65:21                             216-523-1313
                          100:13 104:24                                91:4
 1100 123:1                                     123:3
                          124:16 125:22                              31 3:17 113:23
 111 2:17 3:16 56:7                           22 2:10 3:13 82:12
                          126:22                                     33.55 120:4
   57:3,6,7                                     92:14,17 111:23
                        2009 6:13 117:25                             33.56 120:4

                                Brown & Jones Reporting                   414-224-9533
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   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 35 of 60


[35 - allow]                                                                     Page 2

 35 3:7,18               87:10 90:14 93:12     81:11                advise 12:13,20
 36 104:18,19            106:14              able 14:10 49:20         13:6,11,14,24 14:5
 37 2:13               6/1/2022 123:9          63:17 78:5 79:7        19:19,23 20:4,12
 38 3:18 35:9,12         124:3 125:3         acceptance 28:14         55:13 92:10
 3:21 1:6              608.257.0609 4:14     accepted 27:16         advising 20:8 25:3
 3rd 97:8,17,20        65 2:19               accurate 119:15          36:24 58:2
   98:4,13 99:6        66 2:21                 119:21               affidavits 60:9
   106:16 108:5,18     6:24 37:8             acknowledge              61:10,16,17 62:4
   109:1,1             6th 90:11 104:3         124:11 125:16          63:18 65:24
           4                    7            act 124:14 125:20      affixed 124:15
                                             action 85:7,16           125:21
 4,000 77:18 98:19     7 2:14 37:7,8,25
                                               86:2,4,6 100:14,22   agenda 87:22,23
   99:16                 39:15,18 40:1
                                               102:3                  87:24,25
 4/12 57:10              42:19 43:17,17
                                             active 81:9            ago 23:7 120:14
 40 3:20                 45:8
                                             add 117:13 118:15      agree 30:12 43:19
 41 120:4,7            7/30/2019 85:6
                                               118:19 119:1,5,18      50:5 66:8
 44114 123:2           70 3:9,20 40:11,14
                                             added 7:21             agreed 34:11,14
 45 3:19 18:15,17        40:23 44:13 46:4
                                             adding 9:19 119:9        41:18 50:1
 49 3:21               71 3:21 49:13,21
                                             addition 99:15         agricultural 106:5
 4:25 37:7               50:17 52:13 53:7
                                             additional 54:18         107:8,10,18 108:9
 4:30 37:25              53:20 54:4,17
                                             additionally             108:21
 4th 4:18              74 3:14
                                               112:21,25            ahead 37:11 88:18
           5                    8            additions 98:17,18       91:12 117:16
 5 2:4 89:18 97:2      8 37:20 122:17          99:14                aided 122:11
 5-13-19 56:25           123:4               address 5:12 25:1      al 1:8 123:7 124:3
 500 4:6,13 88:6       82 3:13                 25:2 52:23 92:20       125:3
 5010 5:13             83 3:12                 94:1 95:6,14         alder 38:4,15
 5244848 123:8         88 3:11                 107:21 123:16          57:12,13 59:17,22
   124:2 125:2 126:2   8:56 4:8 5:1          addressee 82:19          60:2 61:21 62:5
 53701 4:13,19         8th 37:15 39:24       addresses 109:2          64:5,20 90:1,3
 53705 5:15              42:24 43:5          adjourned 121:9          91:20 94:12,16,17
 55 3:24                        9            administrative           95:1,5,16 97:3
 56 2:15                                       9:20                   100:6 103:18,21
                       9 43:22
 56839 84:10 86:9                            adopted 76:23            114:9 115:4,7
                       90 7:8 118:22
 56981 96:2 104:23                             79:6 100:18          alders 94:13,15
                       9:11 59:23
   105:2                                       102:16 112:13          112:21,25
 57 2:17                        a
                                               113:7                alert 69:2
           6           a.m. 4:8 5:1 22:23    adoption 101:19        allow 15:3 54:1
                         59:23               advance 74:24            77:4,10 78:11
 6 3:8 26:12,19
                       ability 19:2,20       advice 15:24 16:3        81:2
   28:12 29:18 33:3
                         20:5 76:15 80:11      56:5
   33:12,13,14 87:5
                                Brown & Jones Reporting                  414-224-9533
                                  A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 36 of 60


[allowable - aspects]                                                             Page 3

 allowable 77:14          15:3,13 20:24         117:4 118:7          approved 10:13
   77:20 100:3            21:20 26:2 30:6     appended 125:11          12:13,22 13:16
   108:13,16 109:2        32:8,18 33:19         125:18                 31:7 32:9 40:5
 allowed 17:13            35:18 37:17,23      applicant 10:11          104:2 105:13
   41:3 49:24 110:23      39:20 40:7 41:15    application 8:3          106:1,15 110:21
 altogether 6:24          42:14 43:1,7 44:6     10:5,11,13,18,18       122:9
   73:1                   45:12 46:8 47:1       10:21,24 11:12,15    april 57:21 59:9
 amend 8:4 22:4           50:21 51:11 52:19     12:13,20,21 13:12      60:4
   48:23 75:14            53:10,23 54:6         13:13,15,24 14:3,9   area 13:1 29:3
 amended 22:3             55:9,10,17 58:20      14:11 15:6,8 16:4      32:21 55:19 64:21
   54:1                   61:6 62:16,24         16:6,17 17:4           98:20,22
 amending 98:13           63:14 64:1,12         19:17,19 20:3,12     areas 7:18
 amendment 8:20           65:5 66:13 69:4       20:16 21:1,16        arenas 106:4
   9:3,9,24,24 10:25      70:1 72:19 73:17      27:8 29:2,4,13,15      107:8 108:8,20
   11:2,4,5,17,18         74:6 75:8 76:5        29:17 30:2,3         argument 52:24
   12:4,18 13:16          78:14,23 79:9,22      31:25 32:2,11,14       62:13
   14:12 16:9 17:6        80:13,19 83:15        33:17,24 34:10,14    argumentative
   17:20 20:14 21:2       87:12 91:23 93:8      34:24 35:5 38:20       65:5
   21:8,18,24 22:6,7      94:2 99:22 100:1      38:22 39:8,17        arguments 52:21
   25:4,24 26:6           100:11 101:13         40:25 48:23 49:3       54:3 61:4
   30:11 31:7,24          102:6 107:3           50:6 108:2           arising 106:25
   72:23 73:5 76:6,7      109:15,17 111:17    applied 31:22          arntsen 38:4
   76:12,13,14,18         112:6 119:16        apply 10:10            asked 18:10 20:18
   84:3 86:9,19         answered 54:6           114:17                 20:20 23:5 38:3
   88:15,24 95:20         81:7                applying 10:12           54:5 71:21 73:6
   103:2,11 104:24      answering 14:20         120:21                 75:9 81:6,16
   105:5 110:16         answers 6:7 27:24     apprised 10:24           110:6 114:13
   112:19               anybody 31:18           23:1,5,23            asking 9:4 10:15
 amendments 9:12          44:12 47:9 96:25    apprising 115:23         15:7,10,23,25
   84:20                anymore 117:23        approach 11:6            16:11 18:9 20:21
 amount 65:8            anyway 10:2,3         appropriate 72:15        20:22 21:5 23:19
 amplified 13:19          65:3                  72:16,20               35:2 36:2,6 39:9
   13:25 106:6          appealing 120:20      approval 13:18,25        51:17,19 57:23
   107:23               appeals 77:13           36:16,22 40:25         59:3 68:3,5 72:8
 analysis 49:19           119:4                 41:13 48:21 49:8       81:17,18,25 82:10
   111:5                appear 118:2            76:11 85:7 96:5        87:3 91:16,17
 analyzing 30:23          124:11 125:15         98:15,24 105:14        93:14,24
   110:15 113:21        appearances 4:10        106:2 110:24         asks 59:13
 answer 3:22 9:22       appears 22:20           112:4,8              aspect 29:9
   11:9 12:8,15,24        39:9 67:6 104:5     approve 14:11          aspects 13:6 32:3
   13:21 14:18,24         105:6 115:19          76:4

                                 Brown & Jones Reporting                  414-224-9533
                                   A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 37 of 60


[assigned - cabined]                                                           Page 4

 assigned 84:14          70:7,8,24 74:23       69:2 72:24 73:3,6   boardman 4:18
 assignment 124:2        84:1 85:3 101:22      91:12 102:7         boardmanclark.c...
   125:2 126:2           101:22 112:8          103:10 108:24         4:19,20
 assist 27:4,6           117:3 119:13,14       109:17 118:7        body 89:12 110:2
 assistance 74:19        119:25                120:11 123:16       bookmark 35:12
   74:21 96:15         attorney's 6:4        bad 66:22             boss 47:11 70:23
 assistant 6:4,10        51:15 56:5 85:6     based 25:19 40:25     bottom 63:6 85:5
   7:24 58:23 83:25      85:12,13,14,15        42:6 113:14           104:19 112:20
 associates 119:15       87:7 89:17 120:23   basically 11:3        bounce 69:2
 assume 25:13          attorneys 8:10,13       51:13 95:13         boundary 68:20
   96:25                 8:17 13:15 20:1,9   basis 13:5              69:7,11,16,18,20
 assumed 25:10,16        20:10 85:22         beautiful 69:13         69:21 83:8,10,12
   25:22,25 61:17,19   auditoriums 106:4     becoming 73:19          83:18 88:16,20
 assumes 65:8            107:8 108:8,19      began 7:12 8:6          92:5
 assuming 76:1         august 5:25 87:5      beginning 117:21      break 56:2 65:12
   113:3                 87:10 89:18 90:8    begun 49:22             103:7
 athletic 8:1,10         90:11,14 91:7,13    behalf 27:17          brian 18:18
   9:19 14:1 48:13       91:17 93:12 94:10   believe 19:4 47:2     briefly 42:16
   48:15 55:1,2 60:9     95:1,3 97:2 100:8     53:7 65:24 74:7     brings 80:22
   61:10 66:11 77:10     100:8,8 104:3       believed 74:2         broad 87:13
   107:25                106:14 110:13       believes 31:6         broadly 51:6
 attached 59:13          111:23 113:9        best 7:14 23:22       brodsky 2:21
   60:17 125:7           117:25                28:8 29:14 36:12      57:14,20 58:8
 attachment 56:22      authority 50:3          42:3 44:8,17          59:4,5,12 60:3
   56:25 57:4,5          53:12                 45:25 59:11 94:21     67:6,15,20,24
 attempt 116:8         authorization           103:14,17 104:15    brought 16:21
 attend 37:15,20         85:24                 112:10 113:5,18       71:14
   38:17 45:4 104:9    authorize 125:11      better 45:22 119:6    budget 102:21
   104:14 114:18       ave 123:1             beyond 14:21          building 27:15
 attendance 104:7      aware 24:16 38:1        86:15 103:21          77:17,17,21 78:7
 attended 38:12          39:15 40:3 45:8     bidar 94:16             95:10 98:22 99:15
   104:11,12             66:15,17 80:9,15    big 24:12               99:24 107:19
 attendee 114:2          81:3,19 82:5,8      binder 26:19            109:3 113:22
 attending 38:9          83:1,5 92:14,16       40:12 89:15         buildings 98:17,17
   114:6                 101:21 102:15       binders 70:5            98:18 99:14
 attention 40:23         111:10,14,18        bit 79:10             bunch 68:3
   41:9 45:1                     b           bleachers 14:5,7      buses 119:3
 attorney 5:3 6:5                            blocks 113:22                   c
                       b 2:7 3:1
   6:11 7:24 14:17                           board 77:13
                       back 14:14 15:14                            ca 123:25
   22:1 51:7 55:8,16                           118:12
                         15:15 33:20 36:25                         cabined 14:18
   56:10 57:24 58:23
                         45:4 58:14 60:4                             15:12
                                Brown & Jones Reporting                 414-224-9533
                                  A Veritext Company                  www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 38 of 60


[calculation - commission]                                                      Page 5

 calculation 43:18        101:18              chose 93:23           city's 33:16 45:17
 calendar 91:9          certainly 23:11       christina 36:15,25      50:18 112:10
 call 14:23 34:12         24:1 53:3           ci 48:16 71:8 73:19     113:5 119:2
   44:9 47:15 68:17     certainty 79:16         77:3,20 78:4        civil 124:5 125:5
   78:2 92:4,13,18,20   certificate 122:1       79:25 80:2,5 81:1   claim 55:15
   94:10 95:1,2,16,18     125:11                92:23 95:8 100:3      112:10 113:14,16
   96:2,7 100:10        certification 124:1     112:12,15,22,23       113:21
   103:18 118:17          125:1                 113:1,2,7           clarification 38:5
   120:3,15             certified 4:3 122:3   circuit 119:4         clark 4:18
 called 4:1 28:24       certify 122:5         circumstance 10:4     classes 17:2 48:13
   33:9 84:25 85:2      chain 63:2              79:16               clear 7:11 15:17
   92:16 97:14,19,22    challenge 119:3       circumstances           49:9 69:17
 calling 90:10          change 76:8 80:16       65:10 79:13         clearly 64:17
 campus 22:5 41:1         97:14,18,19,20        102:15              clerk 115:25
   72:22 75:14 76:13      99:10 109:6,7       cite 53:7             cleveland 123:2
   76:18 77:9,15          110:8,17 117:24     cited 50:4            client 14:17 51:7
   84:4 86:10 88:24       117:24 123:14,15    citing 53:12            55:8,16
   95:21 96:5 98:16       125:8 126:3         city 1:7 2:18 6:2,4   closed 100:18
   105:13,13 106:1,2    changed 41:22           6:4,11 7:24 14:10   closely 34:9,10
   108:3,10 121:1         48:24 81:11 109:9     19:2,19 20:4 22:1     49:23
 capacity 5:18 6:3        109:11,12 110:4,5     24:10 31:6,12,15    closer 7:2
   6:15 52:10 83:25       110:6                 35:16 36:24 39:16   code 13:10,10 29:6
   106:8                changes 76:9            40:5,24 41:12         29:6 49:10 77:4
 capital 30:13            97:13,24 112:12       45:9,14 51:3,3,22     78:11 80:1,3,6
   46:15,16 48:19         112:15,21 113:1,7     51:22 52:3,7          81:2
   49:6                   123:13 124:7          54:25 55:7,13,25    coincidence
 careful 18:13 55:5       125:7,9               57:10,24 58:17,23     111:12
 case 1:6 48:25         changing 22:6           58:24 60:4 63:7     come 32:14,19
   66:2 72:2 86:13        80:10 81:4,20         66:6,10 70:7,24       40:23 44:25 54:10
   107:6 123:6 124:3      82:6,9 94:7           76:23 80:10,16        63:20
   125:3                  109:19                81:20 83:2 84:1,2   comes 62:3 119:10
 caught 59:20           chapter 120:4,4,4       84:18 85:3,13,14    coming 18:22
   83:21                  120:7                 85:15 87:7 88:7       37:14 44:18
 cause 21:7 122:16      characterization        101:22,22 102:25    commencing 4:7
 cc 70:10 82:21           106:19                103:1,5 112:3,8     comment 65:7
   115:20               characterize 62:17      115:25 117:3,23     commission 23:4
 cc'd 74:15             chart 85:6              117:25 118:7,24       23:10,15 24:3,4,9
 cell 69:12,22,24       check 69:24             119:12,25 120:19      48:20 49:7 72:24
 certain 19:10            104:25                120:22 123:6          73:3,4 75:18,25
   25:21 29:7 77:14     cheri 1:24 4:3          124:3 125:3           76:2,10 110:13
   78:6 85:25 97:13       122:3,20                                    111:23 118:8,11

                                Brown & Jones Reporting                  414-224-9533
                                  A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 39 of 60


[commission - correct]                                                            Page 6

   124:19 125:25         computer 122:11       consideration 2:10      25:17 35:7 45:19
   126:25                concern 32:1 39:2       23:3,15 61:25         54:18 68:8 82:8
 committees                42:11 47:25         considered 51:23      converted 122:10
   118:10                concerned 55:21         111:11              convey 65:24
 common 2:24               94:13 109:22        considering 10:3        71:19
   51:13 54:9,14,15        110:1                 10:25 20:17 21:2    conveys 78:1
   76:3,10,19 87:4,15    concession 11:21        40:24 41:13 49:23   convinced 50:23
   90:14 96:20           concessions 12:5      consistent 42:22      conway 2:24 118:3
   100:17 101:19         conclusion 32:14        43:3                copied 18:20
   104:3,7 110:21          32:19 50:5 53:8     constituents 64:23      22:21,25
   115:17,24               72:14 110:19          115:8               copy 2:18 35:11
 communicated              113:15              constitutional          57:10,23
   17:12,13,19,25        conclusions 52:16       77:22               corner 84:10
 communicating           condition 99:19       constraints 14:22     correct 7:20,23
   38:18                 conditional 77:16     construction            10:20 11:19,20,22
 communication             92:22 94:20 95:10     77:21 78:6 95:9       11:24 12:1 17:20
   19:1 51:20 52:11        95:22 96:3,4,7,9    consult 56:2 96:20      23:16,24 25:6
   59:9                    96:12 98:15,23      consulted 15:24         30:25 32:16 40:18
 communications            103:2,11 104:24       29:15,16 55:3,11      40:19 42:24 43:5
   14:8 51:3,9,10,12       105:14 106:2        consulting 16:1,2       43:16 45:6,7 46:2
   51:18,19,21,25          109:6 110:17,24       19:5,12               47:24 49:14,15,17
   52:2 55:7               112:18 114:12,15    contacted 33:8          52:18 53:22,24
 competent 122:8           114:17,23 115:1     contacting 91:21        54:4 56:20,21,23
 competitions 55:2       confer 50:9           contain 39:12           57:21,22,25 58:1,6
 complaint 40:25         conference 46:22      contained 60:21         59:13,14,18,23,24
 complete 52:14          conferred 90:7        content 109:1,25        60:5,6,10,11,22
   119:22                conferring 28:18      contents 108:19         61:1,14 62:7,8
 completed 123:16          28:22 50:10         context 18:23           64:10 66:4 69:14
 complex 48:15           confirm 12:12,21      continue 56:3 73:2      69:17 70:11,12,23
   59:7 107:25             91:13,17            continued 7:17,18       70:24 71:4,5 74:3
 compliance 29:20        confirmation 48:4     contradict 62:7         74:4,11,14,16
   30:19 34:1,3 35:6     confirming 23:2       contrary 30:1,17        75:12,13,16,19,20
   46:11,13 50:24          43:14                 33:15 34:6 60:20      75:24 76:4,6,15,16
 compliant 13:10         confused 62:21          61:22                 76:20,21,24,25
   49:10                 confusing 59:19       conversation            77:11 78:12,21,24
 complied 32:2,21        conjunction 16:8        38:24 39:1 82:7       79:4,5,8,20,21,23
   48:5                    16:13                 92:24,25 97:3         80:1,4,7,8,18
 comply 29:21            connection 68:4         103:21                82:22 84:16 86:3
   30:19,22 31:22        consequence 77:1      conversations           90:20 91:7,8
   32:4,15 33:25         consider 58:4,8         9:11,14,15,17,18      94:24 95:21 96:13
   48:1,9                  61:24 63:1            10:16 23:13,17,20     96:14 97:5 98:9

                                  Brown & Jones Reporting                 414-224-9533
                                    A Veritext Company                  www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 40 of 60


[correct - different]                                                             Page 7

   99:6,16,17,24          122:8 124:7           110:13 111:23        denoted 85:16
   100:2,19,20          coverage 69:12          113:8,25 115:18        86:2
   101:11 103:12,13     covered 14:19           122:17               deny 65:2 76:4
   103:16,19,20         craft 49:20 51:14     dates 32:5 41:16       denying 68:4
   105:5 106:16         crafted 71:14           61:18 68:21 89:24    department 59:2
   107:1,25 108:16        106:15,20,22          89:24 102:4            123:22
   108:17,21 109:11     crafting 50:12,16       117:24               depends 87:20,20
   110:17,18,25           50:17 71:12         davis 119:14           deponent's 122:12
   111:1,3,4,7,8        created 117:1,6       day 4:7 43:4,24        deposition 1:12
   116:20,21 119:15     creating 105:11,24      44:8,12,20,20 83:7     4:1 26:25 27:22
   119:17,19            creation 120:25         94:21,23 101:8         56:1 89:25 90:1
 correctional             121:4                 102:4 113:10           121:9 122:6,12,13
   107:15               crosse 5:13             122:6 124:16           123:9,12 124:1,3
 corrections 123:13     csr 1:24                125:22 126:22          125:1,3
   125:17               current 5:12 82:1     days 123:19            describe 48:14,15
 correctly 29:23          82:4 117:14         deal 116:11            described 41:24
   38:6 41:4 60:14        119:18              dealings 66:10           48:12
   67:18 77:5 112:13    curriculum 3:3        dealt 18:11            description 2:9
   112:14               cut 89:14             dear 123:10              3:2
 corroboration          cv 1:6                decide 50:1            desire 103:1
   63:8,12                       d            decided 10:1           details 102:1
 council 2:24 7:4                               48:24                determination
                        d 2:1 105:12,25
   22:10 76:4,11,20                           decision 25:18,24        72:6
                        date 17:11 18:7
   87:4,15,18,22                                30:21                determinations
                          23:1 31:10 34:2
   90:11,14 93:2                              deed 124:14              32:6
                          35:24 39:18,22
   100:17 101:8,15                              125:20               determine 44:16
                          66:9 68:1,1,11
   101:19 102:16                              deem 58:8                73:8 107:20
                          70:14 81:16 85:6
   104:3,7,11 110:21                          deemed 123:20          determined 34:11
                          86:20 87:3,17
   115:17,24                                  defendants 1:9           73:14
                          89:16 91:20,24
 counsel 14:16                                  4:16 117:9           develop 30:8
                          100:13,17,22
   26:14                                      defenses 53:3          development
                          101:5,7,15 102:17
 countless 119:8                              definitions 22:14        24:10,13 78:25
                          113:9 116:25
 county 119:14                                delaying 2:10          dianne 63:4,21
                          123:9 124:3,9,19
   124:10 125:15                              delivered 70:18          67:5
                          125:3,13,25
 couple 85:20                                 delivery 70:20         difference 29:11
                          126:20,25
   87:14 120:13                               demonstrates             30:3 100:21
                        dated 2:14,16,20
 course 8:14                                    100:13 120:19        different 22:13
                          2:24 18:17 24:21
   118:22                                     denial 50:18,22          48:18 80:23 82:15
                          24:22 26:20 40:17
 courses 5:20,22                                51:1                   87:14 98:7 102:4
                          46:2 49:16,18
 court 1:1 6:7,17                             denied 50:7              106:19 119:11
                          56:10 57:21 70:8
   27:23 119:4,4,5,13                                                  120:11
                          74:10 82:13 104:3
                                 Brown & Jones Reporting                  414-224-9533
                                   A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 41 of 60


[differently - email]                                                             Page 8

 differently 102:22       112:12,16,22,23     driving 69:24            125:3
 digest 113:12            113:1,2,7           due 55:25              edgewood's 2:11
 digging 32:7           districts 94:16,20    dug 30:16                2:18 12:10 16:10
 direct 58:24 71:3        95:8 96:5 120:12    duly 5:4                 20:11 21:18,23
 directly 59:2          division 27:15                  e              25:24 32:15 33:16
 director 82:14         doc 82:17                                      52:5 55:1 57:10
                                              e 2:1,7 3:1 5:11
 directors 60:9         document 29:24                                 61:3 62:7,13 64:8
                                                105:12,25
   61:10                  35:20 37:19 40:15                            66:5 77:10 103:3
                                              earlier 20:18 29:1
 disagree 91:3,5          42:19,24 58:11,15                            114:10,25 116:3,8
                                              early 8:7 9:21
   106:21                 84:9 90:17 112:3                           education 119:21
                                                94:24
 disagreed 50:4           112:4 115:20                               effect 22:2 32:20
                                              ears 45:20
 disclose 51:9,19         116:25 117:13                                101:10 110:22
                                              easier 28:2 35:13
 discovered 77:24         118:2                                      effective 101:3,6
                                              east 4:6,13
 discuss 8:10 14:10     documents 36:6                                 101:14,24 102:17
                                              easy 6:6
   67:18 92:17            59:3 64:2 68:3                             effort 81:9 84:15
                                              edgewood 1:4 2:12
 discussed 2:22 9:2       98:5 109:10                                  86:11
                                                2:22 7:25 8:2,9,17
   9:8 11:1 39:24       doing 7:3,22 36:24                           efforts 80:15 81:3
                                                9:3,19 10:17
   114:8                  54:23 62:18 64:4                             81:20
                                                13:13,14,24 14:5,9
 discussing 8:20          88:14 93:6 94:19                           ehs 57:17 59:17
                                                16:9,16 17:10,13
   9:2 37:13              99:11                                      either 8:13 12:5
                                                17:19,25 19:2,18
 discussion 9:23        double 104:25                                  17:22 36:14 43:22
                                                19:21,24 20:4,8,13
   91:15 93:25 94:3     doubt 16:7                                     47:4,8,14 92:3
                                                23:2,14 25:4
   95:15,17             draft 27:11 87:16                              93:19 95:3
                                                27:17 28:19 29:15
 discussions 7:25         89:7 93:24 96:24                           elected 118:3,6
                                                29:17,19 32:10,13
   10:7,9 36:14 80:9      99:7,8 111:25                              election 64:18
                                                38:19 39:8,10,16
   80:16 81:4,19        drafted 27:8 59:25                           electric 27:16
                                                41:1 54:18 60:4,7
   82:3,5 94:7            74:17 86:12,18                             electrical 29:21
                                                62:3 63:11,23
   102:25 103:4           88:6 89:4 95:19                            elliot 18:18 26:20
                                                64:10 66:9,16
 dishonesty 66:15         97:1 99:5 100:18                           email 2:10,12,13
                                                71:7,21 72:16
 disinterested            103:15 106:10                                2:15,19,21 18:16
                                                73:16 74:1,2
   122:9                  110:12 118:14,15                             19:9,11 22:19,20
                                                75:10,17 76:22
 displeasure 56:18      drafter 96:12                                  22:21,22,25 23:2,9
                                                77:2 78:10,20
   115:12               drafting 27:4,13                               24:2,20,21,24,24
                                                79:3,6,19 80:1,11
 district 1:1,2 22:5      78:4 81:21 89:23                             25:1,2,3 26:10
                                                80:24 82:16,18
   48:17 64:21 73:19      90:8 91:21 96:16                             37:6,9,14 38:25
                                                83:2,13,18 84:4
   77:3,9,15,20 78:4      97:4 103:18,22                               39:5,6,9,15 40:1
                                                86:10 88:15 95:15
   79:25 80:3,5 81:1      106:11 110:2                                 43:9 56:9,13,19,24
                                                95:17 106:25
   88:24 92:23 94:17    drafts 33:2                                    57:1,8,13,20 58:4
                                                107:6,11,14,25
   94:18 95:21 98:16    drawn 103:22                                   59:8,17,22,25
                                                110:16,22 113:10
   100:3 105:13         drive 69:22                                    62:18 63:2,6,10,22
                                                114:19,23 116:16
   106:1 108:10                                                        64:5 65:19,21
                                                121:4 123:6 124:3
                                 Brown & Jones Reporting                  414-224-9533
                                   A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 42 of 60


[email - facilities]                                                              Page 9

   66:9,21 67:4,5,6,8   entry 79:2 85:6        examined 5:4             113:23 115:13,15
   67:10,13,22 68:11      105:3                example 7:5              116:22,24
   68:23 69:2 70:20     equal 71:9,18 72:1     examples 107:13        exhibits 3:5 27:1
   74:10,17,20,24         72:12                exceeding 98:19          56:7 70:4 90:19
   75:6,10 77:8,25      equity 7:9 118:25      exchange 2:12,13       existence 51:18,21
   79:24 80:17 81:16    errata 123:14,19         22:20 24:21 30:15      51:24
   81:22,25 123:17        125:7,10,18 126:1      37:6 39:5 56:19      existing 98:18
 emailed 33:9           esq 4:12,17,17           65:20                expand 55:11
 emails 2:17 33:2,5     establish 66:1 95:9    executed 125:10        expansion 106:7
   33:6 37:10 40:2      established 77:21      execution 124:14         107:23
   57:11,14 58:7          107:18                 125:19               expensive 65:1
   59:3 67:1 69:3       establishment          exhaustive 53:14       experience 22:1
 employed 5:16 6:1        98:18,20,24          exhibit 2:10,12,13       58:23 69:12 87:6
 employer 120:20          105:15 106:3,7         2:15,17,19,21,23       102:2
 employment               107:23                 3:3,7,8,9,10,11,12   experiences
   117:25               estimate 90:13           3:13,14,15,16,17       119:12
 enact 101:17           et 1:8 123:7 124:3       3:18,19,20,21        expiration 124:19
 enacted 101:25           125:3                  18:15,17 22:16,18      125:25 126:25
   120:13               ethan 2:21 57:14         24:17,19 26:12,19    expire 73:12
 enactment 100:13         57:20 59:4,5 60:3      28:11 29:18 33:3     explain 107:16
   100:22 101:5           60:7,19 67:6           33:12,13,14,15       explained 60:7
   102:4                eventual 116:19          35:9,11,15 36:9,16     62:18 81:12
 enactments             eventually 116:17        37:2,4 40:2,3,11     exploring 65:25
   111:11               evers 38:15 57:1,9       40:14,23 42:16,17    express 31:16,18
 enclosed 98:22           57:12,13 59:17,19      42:18 44:13 45:3       44:21,25 94:9
   99:24 106:3            59:22 60:2 61:21       46:4 49:13,21          115:12
   123:12                 62:5 64:5,9,25         50:17 52:13 53:7     expressed 31:11
 encompass 120:5          65:2,9 67:4 90:1,3     53:20 54:4,17          39:2 44:23,24
 ended 7:7                90:6 91:20 92:7        56:9,22 57:3,17        47:23,25 100:6
 enforcement              92:14,17 94:9,12       63:21 65:16,18,21      103:1
   19:20 20:5             95:1,5,16 97:3         66:23,25 67:2,21     expressing 42:11
 engage 7:25 45:22        100:6 103:18,21        70:5,6 71:6,13         56:17,18 66:19
 enormous 65:8            114:9 115:4            74:9,25 79:24        expression 36:23
 entered 125:9          evidence 61:22           82:12 83:23 85:5     extends 14:21
 entire 53:19 79:17     exact 7:15 40:9          85:17 86:2 87:10     extent 51:8,10
   113:12,14 124:5        68:21 88:7 94:23       88:21 89:16 90:23      55:6 77:19 107:4
   125:5                exactly 10:22            92:14,17 96:1        extra 12:1
 entirety 108:15          84:24 86:6 95:12       97:7 98:10,10                   f
 entities 82:16           118:5,5                99:13 100:13
                                                                      facilities 106:5
   112:22 113:2         examination 2:4          104:1,16,24
                                                                        107:5 108:9,20
                          122:14                 110:10 111:19

                                 Brown & Jones Reporting                   414-224-9533
                                   A Veritext Company                    www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 43 of 60


[facility - friday]                                                             Page 10

 facility 107:15        filed 8:3 9:24         flaw 77:23 78:2         106:17 107:2
 fact 19:12 36:21          10:18,21,22 11:17     92:20                 108:22 109:8,14
    63:17 68:16 95:7       12:20 13:12,25      floor 4:18 87:19        111:9,13 112:6
    106:24 116:20          14:3 16:6,9,11,12     88:1,4,8 98:20        117:15 119:16
 fair 8:6 11:7 25:23       17:20,23 19:17        105:4 106:14        formal 30:15 58:4
    56:17 62:14 63:12      21:1,18 22:9 27:7   follow 57:1 60:19       58:9,14 67:23
    63:15,24 64:3,13       27:16 29:2 38:20      61:3 62:5 64:6        68:2,2 70:21
    64:24 69:12 84:15      38:21 116:6,10,10   following 43:4        former 83:25
 familiarize 110:11     files 10:5               59:21               forms 36:18
 far 5:22 27:24         filing 10:23 11:12     follows 5:5 59:12     formulate 50:2
    42:9,15 55:10          11:14 12:11 13:13   football 14:1         formulating 51:4
 farther 63:2              14:9 16:17 19:18    footing 71:9,18         51:23 54:3 74:20
 february 9:1,4,21         20:3,11,11,15,25      72:2,12             forth 52:15
    10:15,16,20 14:20      21:16,23 22:2       force 7:5,8 118:21    forward 9:25 10:2
    15:5,10,22 16:18       31:25 32:10,11,13   foregoing 122:5         10:3 23:10 24:15
    23:3 24:5,22,22        49:3                  124:13 125:18         27:16 67:4 96:8
    26:20 27:6 28:14    final 25:18 71:16      form 9:22 11:8          114:11 123:16
    28:16,17,17,22,23      76:11 100:14,21       12:7,14,23 13:20    forwarded 67:6
    32:23,23 33:17         102:3                 18:5 19:7 20:7,24   found 17:16 24:5
    34:2,13 35:4,8,22   finalized 87:23          21:19 23:25 26:2      65:21 98:7
    114:1 120:10        finance 102:20           30:5 31:13,17       foundation 12:7
 feel 61:2,16 93:3      find 83:18 123:12        32:17 33:18 35:17     18:5 19:7 20:7
 feeling 26:7           fine 14:20 15:19         37:16,22 38:10        21:19 32:17 33:18
 feet 77:18 98:19          55:10                 39:19 40:6 41:14      35:17 38:10 39:19
    99:16               firm 119:14              42:13,25 43:6         42:25 45:11 53:9
 field 8:1,11 9:20      first 5:4 7:25           44:5 45:11 46:8       58:19 62:23 63:25
    14:1,1 16:23           12:18 13:2 16:20      46:25 50:20 52:6      65:4 66:12 84:22
    17:14,17 19:3,15       16:20 17:9 18:3,7     52:19 53:9,23         85:18 87:11 88:10
    21:9 27:18 48:13       18:24 19:1 27:14      54:5,21 58:19         100:24 101:12,20
    55:1 60:25 66:11       29:15,16,18 30:8      61:5 62:15,23         109:8 111:13,16
    75:11 77:4 78:12       30:23 31:1,5 32:7     63:13,25 64:11      four 6:14 7:15
    78:21 79:8,19          33:14 36:7,8,13       65:4 66:12 69:4     framed 95:5
    80:12 81:2             39:4,22 40:22         70:1 71:16 72:18    frames 35:24
 fields 77:11              45:16,18,23 59:9      73:17 74:6 75:8     frankly 63:16
 figure 29:12 61:22        63:3 67:4,15          76:5 77:12 78:13    free 124:14 125:20
 file 16:4 48:23           75:18 89:16 90:7      78:22 79:9,22       frequently 23:19
    71:7 74:1 76:15        90:15,17 95:2         80:13,19 81:6,23    friday 27:15 42:23
    84:10,13,13 86:8       97:18 99:7 100:8      83:15 85:18 88:10     43:5,11 87:23
    96:1 104:22            117:12 120:9          90:21 91:23 93:8      91:6,13,18 92:2,3
    116:11              five 6:14 7:16           94:2 99:22 100:1      95:3
                                                 100:11 102:5

                                 Brown & Jones Reporting                  414-224-9533
                                   A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 44 of 60


[full - hypothetical]                                                            Page 11

 full 93:4,18 117:23    giving 16:2 31:2       grabbed 73:6            102:24
 fully 65:2 80:21         35:25 49:3           great 27:24           heard 13:3 21:22
 furman 94:17           gklaw.com 4:14         ground 55:14            21:25 31:15 32:12
 further 33:14          go 10:2,6 11:15          98:20                 39:22
   49:19 55:21 121:6      24:2,4,11,15 26:6    group 85:7            hearing 2:22 23:9
           g              31:23 36:25 37:11    guess 7:14 16:5         23:10 31:18 45:16
                          39:10,11 43:12         42:4 57:15 73:13      45:18 73:3 83:12
 g 5:11
                          49:7 50:7 51:13        75:4 83:7,9 95:2      87:9 94:10,21
 game 60:24 78:20
                          58:14 64:25 66:4     guessing 69:19          100:19 107:11,13
   79:19
                          69:1 72:11 75:18     guns 119:3            heart 1:4 123:6
 games 16:19,22
                          76:3,9 77:1 88:18    guys 109:13             124:3 125:3
   17:7,13,17 18:1,8
                          91:12 92:25                   h            heather 34:23
   18:10,12,24 19:3
                          114:16,17 117:15                             115:16
   19:13,14 21:6                               h 2:7 3:1 5:10
                        godfrey 4:5,12                               height 41:2,3
   62:10 75:11 77:4                            half 120:9,10,11
                        goes 75:4,25 76:2                            held 19:21
   77:10 78:11,25                              hand 34:8 41:17
                          99:10,23 112:5                             help 62:12 89:7
   79:8 80:12 81:2                               41:25 42:1,12
                          113:18                                       114:10
   81:11 110:23                                  70:18 84:10
                        going 9:25 10:2,3                            helpful 114:25
 gap 60:24 62:10                               handed 120:14
                          11:4 23:10 24:4                            helping 27:11
 gears 31:24                                   handing 24:18
                          24:15 25:10,13,22                          hey 41:18 83:13
 general 10:5 96:4                               26:18 37:3 56:8
                          26:1,10,11 30:18                           high 1:4 27:17
   98:14 105:11,24                               65:17 66:24
                          38:9,16 39:11                                54:18 66:16 71:10
   109:25                                        115:14 116:23
                          40:12 42:23 43:4                             71:18,25 72:1,12
 generally 44:23                               handle 85:22
                          43:10 44:10 45:4                             94:16,17 106:25
   84:17 99:14                                 handled 6:15 82:6
                          47:13,16 48:17,18                            123:6 124:3 125:3
 george 29:3 30:9                                85:20,21 119:2
                          48:22 49:2 50:6                            historic 118:16,17
   30:24 34:8 36:4,9                           hank 30:9,24 34:8
                          51:5,6 55:15,21,23                           120:8,12
   39:4,22 41:17,25                              36:9 39:2 41:25
                          56:4 62:25 64:15                           hold 55:24
   41:25 42:7 43:21                              42:1,10 43:21,24
                          65:6 67:14 70:3                            hole 51:13 89:15
   43:24 44:3,7,12                               44:3 46:1,7,24
                          76:12 81:13 82:3                             103:24 107:17,21
   46:1,7,9,17,23                                47:14,22,25 54:11
                          82:11 84:5 96:8                            honest 45:20 66:5
   47:11,14,22,25                              hank's 29:3
                          104:12 105:21                                66:10
 george's 36:22                                happen 11:14
                          108:4 110:1                                hoping 26:5
 getting 18:25                                   23:18 30:2,3 87:6
                          116:14 117:17                              huh 27:19 85:9
   24:12 45:3 64:10                              87:7,13,14 111:6
                        good 5:8 45:5                                  111:15
   64:14 74:21 78:20                           happened 6:22
                          59:20 69:11 82:11                          hundreds 58:12
   83:21                                         43:8 71:16 92:24
                        gosh 88:5                                    hypothetical
 giant 118:23                                  happens 10:9 88:2
                        gotten 59:3                                    79:10 80:22
 give 54:22 86:16                              head 8:12
                        government 7:6
   88:5 93:15,15                               heading 85:7
                          7:10 118:21,24
   109:24                                      hear 13:14,23 14:4
                                                 14:14 27:23
                                 Brown & Jones Reporting                  414-224-9533
                                   A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 45 of 60


[i.e. - issues]                                                                Page 12

           i            informal 82:7         instructed 3:22       invitation 83:3
 i.e. 34:24             information 19:13     intended 71:19        invite 71:7 72:13
 idea 42:22 43:3          25:19 39:13 49:4      78:5                  113:25
 identification           60:8,20 61:24       intending 53:3        invited 73:25
    103:24                62:6 63:23 64:6     intends 65:2            114:4
 identified 2:9 3:2       64:19 65:25 84:3    intent 50:18 52:13    invoke 51:6 55:7
    70:10 77:19 92:21     88:23 114:19,24       53:18 83:19         involve 78:6
    98:25 100:3           115:8               intention 65:23         107:19
 identify 78:25         ingrisano 2:4 4:12      72:9                involved 8:5 11:25
    120:2                 5:7 6:10 14:25      intentions 49:4         18:25 24:8,12
 imagine 119:9            15:4,7,10,19,25     interact 67:16          36:19 56:19 71:12
 impact 110:22            17:9 18:14 19:23      68:9                  78:3 88:3 89:19
    111:6 112:22          20:1 22:17 24:18    interaction 13:9        107:24 108:5
    113:1                 26:14,18 28:11      interactions 29:5       118:10,22,23
 impossible 102:13        37:3 52:9 55:13       67:24                 120:25 121:3
 improvement              55:18 56:4,8        interacts 67:21       involvement 8:7
    30:13 48:19 49:7      65:13,17 66:24      interest 122:10         36:15 54:24 86:1
    98:19,21,24           103:6,10 105:18     interesting 63:7        86:8
    110:23 111:2          111:10,15 115:14    internal 70:20,20     involves 99:14
 improvements             116:23 121:6        interplay 111:7       involving 56:20
    46:15,17            initial 78:3 89:7     interpretation          96:6 98:16,17
 incidents 68:7           96:18                 17:6 18:1 19:6        107:11 119:2
 include 111:3          initially 89:8          21:6 30:22 31:2     ish 120:10
    118:14              input 54:3 96:15        41:1,23 47:23       issuance 28:18
 included 123:14          96:18 112:4,7         52:16 53:16,21        52:17 54:19,25
 includes 65:20         inspection 27:15        63:19 81:15         issue 2:22 12:4,12
 including 53:4,4       install 27:17 75:11   interpreted 67:23       12:18 13:3 15:18
 incorporated           installation 106:6    introduce 87:18         16:19 18:22,24
    125:12              installed 60:25         89:11                 21:7 30:10,16
 increases 22:9         instance 4:2 58:13    introduced 81:10        34:9,15 36:4,5,24
 independent 23:20        66:15                 81:18 84:25 85:1      39:7 41:19 45:9
    28:21 34:16 43:11   institution 73:19       86:22,23 87:4,17      46:10 47:3 48:1
    116:9               institutional 22:5      88:1,4 89:8 93:4      53:19 55:4,14
 indicating 123:14        77:9,15 88:24         93:11,17,20,22        62:21 100:7
 indication 93:16         95:21 96:5 98:16      97:14 103:12          104:13 107:10,14
 indicator 119:6          105:13 106:1          106:14              issued 29:22 30:20
 individuals 57:12        108:10 121:1        introduction            31:6 36:11 50:25
    64:21               institutions 105:12     84:21 85:3 86:6     issues 7:9 21:6
 indoor 106:4             105:25                89:17,20 96:19,23     34:20,24 39:16
    108:8,20            instruct 14:17,23       103:23 105:4          45:13 61:3,7 62:3
                          55:8,16                                     69:25 80:23

                                Brown & Jones Reporting                  414-224-9533
                                  A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 46 of 60


[issues - letter]                                                                Page 13

   106:24 107:6,24                k            knowledge 21:17       leaving 53:2
   108:1 118:25         kahn 4:6,12              79:17 85:13 86:1    lee 2:15,19 56:10
   120:24               keep 35:11 72:21         100:23 101:16         56:17 62:19 63:21
 issuing 39:3 42:12     keeping 15:2             102:2                 65:20 70:7
 items 85:20,21         kept 73:21             known 10:11           left 7:3 29:12 73:5
   87:18 105:4 107:7    kestenbaum               11:13                 84:10
   108:2 110:20           119:14               knows 102:21          legal 5:21,21 32:8
           j            kind 19:14 22:4                  l             50:3 112:10 113:6
                          51:15                                        123:1 126:1
 j 5:10                                        l 119:14
                        kinds 13:7                                   legally 75:11
 january 8:10,22                               la 5:13
                        knew 13:9 23:11                              legible 35:11
   8:23 9:1,4,6,7,20                           labeled 104:17
                          24:4 29:5 38:16                            legislation 81:14
   10:15,16 15:11,22                           land 6:24 7:1,12
                          39:11 44:13,15                               84:18,25 87:8
   22:23 23:24,24                                7:21 120:23
                          64:9,13 70:17                                88:4 89:3,20 90:8
   24:1                                        landmark 118:16
                          83:5 104:13                                  101:18 102:3
 jean 4:17                                       118:17
                        know 6:6,21 10:22                              111:7
 jenkins 63:4,22                               lane 5:13
                          11:10 13:2,8                               legislative 84:2,15
   67:5                                        language 16:23
                          17:21 19:10 20:21                            86:11,16 88:23
 jingrisa 4:14                                   17:2 27:12,13
                          21:10,15 23:21                             legistar 84:2 85:20
 job 5:24 27:24                                large 68:5
                          25:21 28:2,3 29:8                            85:21,22 86:5,24
   28:2 59:21 119:10                           larger 18:23
                          30:17 32:24 34:5                             87:1,17 88:22
   119:18 120:21                               late 8:7 23:23 74:5
                          38:2,12,14,16 40:8                           98:8
 john 1:13 2:3 4:1                               111:9
                          40:9,9 41:8,21,22                          legistar's 89:22
   5:3,10 122:14                               law 4:5 5:19 6:20
                          44:18 45:19 51:18                          letter 2:18 14:20
   123:9 124:4,9                                 77:25 78:17 81:15
                          51:20 58:10 59:5                             15:6 18:21 26:20
   125:4,13 126:20                               81:20 82:1,4,6,9
                          59:6 61:7 63:4,15                            26:23 27:5,14
 jonathan 4:12                                   82:10 101:9
                          63:19 64:3,18,20                             28:24 31:4,10
 joyce 119:14                                    109:23 117:23
                          66:21 67:24 68:16                            33:3,7,11 40:17,20
 judgment 113:20                                 119:14,19
                          70:21 72:20 79:13                            40:21 41:21 42:1
 july 2:16,16,20,20                            lawsuit 113:10,12
                          81:8,8 82:6 84:23                            42:6,10 44:1,10,16
   56:10 66:9 67:10                              113:22 119:2
                          84:24,25 85:2,12                             44:22,24 45:21,21
   68:11,17,23 70:8                            lawyer 6:25 13:4
                          85:15 86:6 87:3                              46:2 49:14,18,23
   74:10,12,13 75:5,7                            45:21 50:12 89:6
                          87:12 88:5,12                                50:14,18 52:14,15
   80:6,9 82:14,18,24                          lawyers 66:5
                          89:21 90:22 92:1                             52:22 53:7,11,18
   83:2,6,7 85:16                              lay 53:14
                          92:9,9,15 93:9,16                            54:8,17 57:10,24
   86:2 90:20,25                               lead 7:7 118:20
                          101:2,23 112:15                              58:3 59:14 68:3,4
   91:4,6 94:24                                leading 71:20
                          112:18 113:5                                 70:6,10,13,15,17
 june 1:16 4:7 5:1                             leaning 25:21
                          116:17,25 117:5,7                            70:17 71:6,13
   117:25 122:6,17                             learn 94:18
                          118:5 120:18,21                              75:5 82:13,18,19
   123:4                                       learned 19:13
                        knowing 29:2,3                                 82:23 123:20
 justice 7:9 118:25                              41:22 90:19
                          32:1
                                 Brown & Jones Reporting                  414-224-9533
                                   A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 47 of 60


[letters - master]                                                              Page 14

 letters 30:15              126:3               looming 39:15         44:1,2,4,13 45:8
 life 36:19              lisa 57:8,9            loose 70:4            45:15 46:2 49:16
 light 10:18 12:13       list 53:14             lost 119:5            49:18,19 50:8,8
    12:20 16:17 19:18    listed 67:7 114:1      lot 7:3 28:2 80:23    51:2,22 52:4
    20:3,12 34:24           115:20 125:7,17       98:23               57:25
    36:10,23 41:2,2      listen 56:5            loud 21:12 98:11     marked 3:5 22:16
    45:10,17 52:17       listening 115:10         105:7               24:17,19 26:19
 lighting 10:19          listing 125:7          louis 4:17            37:2,4 56:7,9
    11:12 12:11,12,21    litigation 117:9       lumen 29:11,11        65:16,18 66:23,25
    13:1,4,6,15,24       little 6:8 117:4       lumens 13:7           115:13,15 116:22
    14:4,9,11 15:6,8        118:6               lynn 63:7             116:24
    17:4 20:15 21:1      llp 4:18                        m           markings 42:19
    21:16 27:7,16,17     locker 11:18 12:5                           master 8:4,20 9:3
                                                madam 123:10
    28:14,16,19 29:9     long 33:1 65:1                               9:8,25 11:16 12:4
                                                madison 1:7,17
    29:15,17,19 30:2,3      69:8 99:16                                13:16 14:11 16:8
                                                  2:24 4:6,13,19
    31:25 32:11,13,14    longer 68:2 81:5                             16:10,16 17:7,10
                                                  5:14,15 6:2,19 7:1
    33:17,24 34:14       look 17:3 18:14                              17:20 18:2,3,10,11
                                                  7:10 35:16 39:17
    35:5 38:20,21           22:17 23:8 26:12                          19:6 20:13 21:8
                                                  40:24 41:12 45:9
    39:3,8,17 40:3          29:4 33:13 35:9                           21:18,24 22:3,4
                                                  52:4 58:17,25
    48:3,9,12,16 49:24      35:10 40:11,14                            25:4 26:6 28:19
                                                  84:2,18 96:4
    50:6,19 106:6           41:18 42:16,18                            30:11,12 31:7,21
                                                  98:14 105:11,24
    107:22                  49:25 63:2 70:3,5                         31:22,24 32:10,15
                                                  106:25 107:11
 lights 9:19 10:10          71:15 74:9 82:12                          32:20,22 33:25
                                                  115:17 116:7
    10:19,22 12:19          83:23 84:6,9,9                            34:10,15,25 46:11
                                                  118:24 123:7
    13:14 19:21 20:6        88:21 96:1 97:7                           46:14 47:13,16,23
                                                  124:3 125:3
    30:13 46:15,16          110:10 111:19                             48:2,5,10,11,20,23
                                                madison's 54:25
    47:24 49:6 52:5         113:23 117:11,12                          49:5,25 50:1
                                                  116:7
    53:22 54:1,20           117:17                                    52:16 53:6,15,21
                                                mail 70:20
    64:10,14,16,17,22    looked 18:11                                 53:25 71:8,22,23
                                                main 4:6,13
    66:11 75:11 77:4        30:10,11,11 33:10                         72:5,15,22 73:4,9
                                                majority 22:11,12
    77:10 78:12,20          34:9 43:9 49:5                            73:10,15,18,20,23
                                                making 31:14 32:2
    79:7,19 80:12           67:22 72:3,4                              73:23 74:1,3
                                                  49:24 113:20
    81:2,11 111:3        looking 7:8 26:14                            75:14 76:6,13,18
                                                manner 6:15
 limitations 28:20          31:2 36:22,22                             76:23 77:2 78:10
                                                map 22:5,7 30:11
 limited 16:23 17:1         48:4 56:23,24                             78:19,24 79:2,7,11
                                                  76:7,12,14 110:16
    17:8 108:19 109:4       58:15 60:23 61:20                         79:15,18 80:25
                                                march 2:14 35:23
 line 3:23 27:14            62:10,12 94:1                             83:3,14,19 84:4
                                                  37:7,8,15,20,25
    30:18,18 31:4           104:22                                    86:10,22 88:15
                                                  39:15,18,24 40:1
    55:21 67:16          looks 24:25 57:8                             95:8 103:3 105:14
                                                  40:17 41:11 42:19
    111:22 112:3            57:11,13,22 59:15                         106:2 108:3
                                                  42:24 43:4,17,17
    123:14 125:7            67:12 83:6 87:4                           112:11 113:6,14
                                                  43:18,22,22,25
                                  Brown & Jones Reporting                 414-224-9533
                                    A Veritext Company                  www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 48 of 60


[master - non]                                                               Page 15

  113:16,18 116:4,8   meeting 2:14,16       michael 67:7 70:7              n
  116:16,19 121:4      2:20 8:9,12,16,18     74:15 75:5          n 2:1 5:10,11
 matt 2:15,19 13:14    8:25 9:7,10,13       middle 8:19,21,22    name 5:9,10 123:6
  13:23 14:4,8         18:23 23:15 24:9      8:23                  124:3,4,15 125:3,4
  17:12,24 18:17,25    33:1 37:14,15,20     midwest 123:17         125:21
  26:20 27:8 34:23     38:1,3,4,9,13         126:1               narrative 65:6,7
  36:6 47:10,11,14     39:10,12,24 42:10    mike 18:18 26:20     narrowly 106:15
  47:19 56:10 60:16    42:23 43:4,8,10,12    71:14 72:10           106:20,21
  61:25 62:18 96:21    43:14,21,24,25        104:11              nathan 8:18 20:16
 matt's 47:11          44:1,3,7,11 45:5     mike's 72:9            21:10,13 23:19
 matter 112:2          46:1,6,20 47:8,14    mind 15:9 72:21        25:17 30:15 34:13
 matthew 8:19 70:7     47:17,18,20 71:20     119:10                35:1,7 37:6 39:9
  74:15                90:11,15 93:2,12     minute 14:13,13        40:18 41:20 42:2
 mautz 85:19           93:20 94:4,6          14:14 37:10 56:14     44:9 45:9,13,16
 mayor 2:23 82:14      101:4,8,15 102:17     58:3 84:5             57:24 66:21 74:10
  101:3,7,10,17,25     104:2,3,7 113:25     minutes 104:2          75:1 81:25 82:10
  102:18 115:17,24     113:25 114:4,6,8      105:3               nathan's 32:9 42:6
  118:3                114:10 115:2,10      misinterpreting      near 71:16
 mean 18:19,20        meetings 7:8           66:20               necessarily 34:5
  19:8 22:13 23:6      32:24 46:23 87:22    missed 83:22           52:20,21,24 99:8
  23:18 26:3 27:1      104:10,12 114:19     misspoke 41:6          99:10
  38:21 41:5 42:5      118:22               misstates 39:20      need 10:12 15:14
  43:8 47:11 52:6,7   members 7:8           mode 50:12             49:7 53:25 61:2,8
  52:20 54:13,22       85:21 87:18          modification           61:16 84:5
  59:2 61:7 63:22      111:22                98:19,21,25         needed 52:21,23
  64:2 66:22 68:18    memo 2:23 110:12       110:24 111:2          60:13 61:13
  79:10 80:20,22       110:15,19 111:21     moment 70:4          needs 27:23
  81:8 82:17 84:18     111:25 112:9          119:10              neighbors 21:22
  84:20 85:13 87:2     113:8 115:16,23      month 60:24            38:2 52:7,9,10,12
  88:12 89:10 92:15   memorandum             62:10 90:16 94:24     59:6 76:14 114:10
  97:11 109:9 112:7    112:3                morning 5:8            114:14 115:11
  112:20 113:8        memorial 94:17        motivated 21:15        116:7
  114:9 117:6         memory 46:20          motivating 100:9     never 10:11 27:21
 meaning 29:19        mentioned 45:24       moved 6:18,23          27:22 50:24,25
  61:9 68:14 86:23     61:21 76:17          moving 85:23           79:6 81:24
 means 22:6 84:24      103:11 119:25         114:11              new 41:1 98:16,17
  89:11,22 97:12      mere 111:12           muddied 51:16          99:8,14
 meant 71:19          met 8:13              municipal 6:15,16    night 19:21 20:5
 meat 109:20          metro 6:19 7:1         6:17                  101:15
 mechanism 72:16      mgo 29:20 30:19       munson 18:18         non 29:11 51:10
                       34:1                                        51:17
                              Brown & Jones Reporting                 414-224-9533
                                A Veritext Company                  www.veritext.com
  Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 49 of 60


[nonconforming - ordinances]                                                   Page 16

nonconforming            99:22 100:1,11      october 2:24 17:25    opinion 77:24
  60:5 61:23,25          101:12 112:6          18:17 19:9,17         78:15
  62:13 64:7 66:1        117:15 119:16         106:16 115:18,24    opponent 64:9,14
norm 88:12             objection 11:8        odd 70:15 108:13      opportunity
normal 35:5 58:14        12:7,14,23 13:20      117:5                 113:12 114:18
  68:19                  18:5 19:7,22 20:7   office 6:4 69:2       opposed 64:17,22
normally 10:5            21:19 23:25 30:5      70:17,19 72:14      option 72:21 73:2
  27:22 93:15            31:13,17 33:18        73:14,25 85:7,12      73:8,11,11,15,18
notarized 123:15         35:17 37:16,22        85:13,14,15,19        74:7 75:14 76:14
notary 4:4 122:4         38:10 39:19 40:6      87:7 89:17 116:12     76:22 93:19,22
  122:20 123:25          41:14 42:13,25        117:3 119:12,13       94:19
  124:10,18 125:15       43:6 44:5 45:11       119:25 120:23       options 74:25 75:1
  125:23 126:23          46:25 50:20 51:15   offices 4:5             75:10 82:1,2,3
note 86:5 120:1          52:6 53:9 54:5      official 51:22          93:16 94:1
  123:13                 61:5 62:15,23         54:25 55:14         order 116:15
notes 23:20              63:13,25 64:11        124:15 125:21       ordinance 6:16,16
notice 83:13             65:4 66:12 72:18    officials 8:17 51:4     10:19 13:1 48:17
  109:25                 74:5 78:13,22         52:7 80:10,16         76:9,23 77:23
notices 55:1,4,6,14      81:6,23 84:22         81:20 102:25          78:4,8 80:10 81:4
november 9:25            87:11 88:10,17,18     103:1,5               81:10,18 84:3,19
  11:17 16:9 19:17       100:24 101:20       oftentimes 58:7,10      86:9,12,14,18
nra's 119:2              102:5,12 106:17     oh 75:22 88:5           87:16 88:25 89:8
number 8:14              107:2 108:22          105:17                89:11,23 91:21,22
  19:13 35:13 84:10      109:8,14 111:9,13   ohio 123:2              92:21 93:4,11,14
  84:13,14 88:6,7,12     111:17              okay 15:7 19:25         93:18,24 94:5,8,14
  105:1,2 123:8,14     observe 13:23           21:14 37:5,12         95:19,22 96:3,8,9
numbers 84:13            14:4                  40:13 41:8 44:10      96:13,16,19,21
  125:7                obstacle 78:20          56:16 65:14 75:23     97:4,8,12 98:11
         o               79:18                 84:8 86:25 90:24      100:18 103:2,11
                       obtaining 2:17          96:10,11 99:13        103:25 104:24
o 5:10
                         57:10                 103:8 104:21          105:5,11,24
o0o 1:3 5:2,6
                       obvious 113:15          105:22 113:24         106:15 107:17,21
object 9:22 20:24
                         116:18                117:10,17,19,22       108:11,14,16
  26:2 32:17 46:8
                       obviously 72:10         121:7                 109:5,6,21 110:1,3
  51:5 52:19 53:23
                         83:21 89:5 112:7    once 41:6 97:13         110:17 112:19
  54:21 55:15 58:19
                         113:11 117:22       ones 52:22 120:5        113:7 118:15,16
  69:4 70:1 73:17
                       occur 77:17 109:3     ope 45:22               118:17,18 120:8
  74:5 75:8,21 76:5
                       occurred 43:12,15     open 48:12,18           121:1
  77:12 79:9,22
                         44:1                  56:19 79:1 105:15   ordinances 77:9
  80:13,19 83:15
                       occurring 98:21         106:3                 88:6 89:7 98:15
  85:18 90:21 91:23
                         98:22 99:24                                 101:2 102:16
  93:8 94:2 99:18
                                Brown & Jones Reporting                 414-224-9533
                                  A Veritext Company                  www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 50 of 60


[ordinances - point]                                                            Page 17

   109:20 112:12,16    parties 122:10        pertaining 66:10         53:25 71:8,22,23
   118:9,9 120:1,2,6   pass 61:24 103:1        84:3                   72:5,15,22,24 73:3
   120:15              passed 101:24         pertains 116:3           73:4,4,9,10,15,19
 original 57:13        path 49:2 72:10       petition 21:17,23        73:20,23,24 74:1,3
   97:16,18,25 99:9    paul 118:4              22:2,8,9 76:15         75:15,18,25 76:2,6
   103:15,19,23        pause 28:1            petitions 115:25         76:9,13,19,24 77:2
   108:2               pdf 57:1                116:6,14               78:10,19,24 79:3,7
 outdoor 10:19         pending 72:23         phone 8:14 46:22         79:11,15,18 80:25
   12:11 106:4,7       people 22:13 63:1       47:6,8 91:10           83:3,14,19 84:4
   107:24 108:8,20       69:3 111:22           92:18,19 123:3         86:10,22 88:15
 outliers 102:20       perfect 46:20         phrase 66:20             95:8 103:3 105:14
 outlined 74:25        period 7:7 8:15         71:18,22 84:24         106:2 108:3
 outlines 75:10          12:17 14:22,25      phrased 51:6             110:13,16 111:22
 outside 77:17           15:3,4,5,13,22      picture 46:20            112:11 113:6,14
   98:22 99:24 109:3     33:3 36:3 52:1      piece 84:18 89:20        113:16,18 116:4,8
          p              54:23 70:22         piecemeal 11:6,11        116:16,19 121:4
                         101:18 109:21       pieces 102:3 111:6     planning 7:13
 p.m. 37:7,8,25
                         117:2 118:20        pinckney 4:18            21:23 82:14 89:6
   121:9
                       periods 69:23         placed 71:9              118:12
 page 2:2 3:6,23
                       perk 45:20            places 119:17          plans 29:19,20,21
   33:14 40:22 57:15
                       permit 12:11          plaintiff 1:5 4:2,11   play 16:22 19:3
   57:16,17 63:3,6
                         28:19 30:10 31:6      122:7                  60:24 75:11 79:8
   104:16,17,17
                         34:9 36:5,10,23     plan 8:4,20 9:3,9        81:11 110:23
   110:20 123:14,16
                         39:3 42:12 45:10      9:25 11:16 12:4      played 19:14,14
   125:7 126:3
                         45:17 46:10 47:24     13:16 14:11 16:8     playing 17:17
 papers 108:24
                         48:1,9 50:19          16:10,12,16 17:7       78:25
 paragraph 29:18
                         52:17                 17:10,20 18:2,4,10   please 5:8 37:11
   31:5 40:22 71:6
                       permits 10:12           18:11 19:6 20:13       56:15 84:7 98:12
   112:9
                         11:15 29:22           21:8,18,24 22:3,4      105:8 112:24
 parked 120:7
                       permitted 18:1          23:4,10,15 24:3,4      117:18 123:12,12
 parking 118:8
                         108:10,12,15          24:9 25:4 26:6       point 12:16 13:5
 part 11:18,21
                       permitting 12:6         27:16 28:15,16,19      15:25 16:19 19:12
   55:25 58:22,22
                       person 8:14 9:17        30:11,13 31:7,21       26:5 30:24 33:7
   61:19 81:13 83:9
                         32:24,25 47:5         31:22,24 32:10,15      36:6 38:18 39:2
   83:21 108:2,13
                         48:3 62:20 63:10      32:20,22 33:25         41:17 42:5,7
   125:9
                         65:1 85:19 89:7       34:10,15,25 35:16      45:14 50:12,15
 participate 102:25
                         122:9                 36:17 46:11,14         51:14 61:21 71:15
 particular 8:18
                       personally 124:11       47:13,16,23 48:2,5     72:22,24 79:14
   84:14,15 99:25
                         125:15                48:10,11,20,20,23      108:3 110:2
 particularly
                       perspective 31:3        49:5,7,25 50:1         113:11 114:21
   120:16
                         89:22                 52:16 53:6,15,21       119:1

                                Brown & Jones Reporting                  414-224-9533
                                  A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 51 of 60


[points - quickly]                                                            Page 18

 points 49:23 52:23    primary 6:25            99:11 114:11,12    provision 17:3,18
 poles 41:2,2            98:23 100:4           114:16,18            18:11 46:13 49:9
 policy 118:12         printed 57:9          produced 117:9       provisions 29:6,7
 portion 68:5          printout 35:16        production 123:16      49:25 53:5,12
 position 33:16          84:1 88:23            123:17,22          public 4:4 57:14
   34:6 45:17 50:6     prior 6:1 8:5 10:23   professional 66:5      58:4 68:2,6 71:25
   62:7 63:12 112:11     12:10 13:13,24        119:11               72:1 87:9 100:18
   113:6,19              14:3,8 16:6,17      prohibited 52:17       109:25 122:4,20
 possibility 11:1,3      17:4 19:11,18         78:24                124:10,18 125:15
   22:8 23:23            20:3,11,11,15,15    prohibiting 79:11      125:23 126:23
 possible 19:8           20:25,25 21:16      prohibits 53:22      pulled 72:24
   27:12 28:23,25        29:25 32:10,13      project 23:3 24:7    punch 89:15
   54:7,14 102:9,14      40:25 41:13 51:2    projects 7:3 24:10   purpose 53:11
 potential 39:16         51:22 67:25 68:10   property 107:12        64:5
   60:5 64:7 107:14      83:7 89:25 90:11    proponent 64:15      pursuant 4:3
 potentially 10:7        90:12,19 93:12,24   proportion 88:9        122:13
 practical 110:22        97:2 103:2,18       proposal 2:11        pursue 72:17
   110:22                118:2               proposals 46:16      put 14:21 61:18
 practice 47:10        privilege 14:17,23      81:21                70:4 86:5,24 87:1
   54:9 58:22 69:15      51:7 55:8,16,24     propose 48:11,17       87:3,16,21 89:12
   104:9 112:2         privileged 51:8,10      48:19                89:12 93:3,18
 practices 17:2          51:17 55:6          proposed 32:21       putting 85:23
   19:20 20:5 48:13    probably 6:20 8:2       49:6 87:8 89:3              q
 preceding 15:1          25:19 26:4,7          91:21,22
                                                                  quarter 116:20
 precipitated 75:6       36:18 50:11 62:19   proposing 112:21
                                                                  quarters 22:10,13
 preparations 24:8       86:12 99:9 117:7      113:1
                                                                    76:19 116:15
 prepare 114:23          119:5               prosecution 6:14
                                                                  question 13:18,22
 preparing 26:25       problem 45:17           6:19,23 7:15
                                                                    15:14,15 16:21
 present 114:19          93:25 95:5,14       prospective
                                                                    20:18,20 21:11,13
 presently 35:5        procedure 124:5         120:20
                                                                    28:8 30:24 36:10
   81:3                  125:5               protest 21:17,23
                                                                    46:9 55:12 60:13
 preservation          proceeded 75:17         22:2,8,9 76:15
                                                                    61:13 75:4 80:21
   118:18 120:8        process 9:20 12:6       115:25 116:6
                                                                    83:9 87:2,13
 pressing 67:17          26:6 31:20,23       proud 120:16,18
                                                                    102:7,10 114:13
 presumably 38:22        35:6 36:20 38:5     provide 52:14
                                                                  questions 2:22
   42:6                  44:14 49:2 64:15      60:8 61:17 63:8
                                                                    3:22 67:17 114:11
 pretty 33:11 38:17      65:1,3,10 71:21       63:11,18,19,23
                                                                    121:6
   59:20                 72:4,7,16 75:17     provided 25:19
                                                                  quick 33:11 84:5
 previous 66:20          77:13,24 78:7         60:3,4 83:13
                                                                    103:6 113:15
 previously 3:5          79:18 81:13 86:17   providing 32:8
                                                                  quickly 73:6
   67:22                 87:8 95:10 97:13      115:7

                               Brown & Jones Reporting                 414-224-9533
                                 A Veritext Company                  www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 52 of 60


[quickness - related]                                                            Page 19

 quickness 56:1         reasons 17:5 72:11       109:2,9,19,19          91:15 98:12 102:8
 quite 45:20 70:21        102:23                 110:6,7,9 112:1        108:25 109:18
           r            rebutting 114:25         114:4,6,11,13          122:12 125:9
                        recall 8:9,12,18,23      115:4,6,9 116:6,10   records 56:19 58:5
 r 4:12 5:11
                          8:24,25 9:16 12:9    receipt 49:18            58:9,24 67:23
 racial 7:9
                          16:2,7 17:11           123:19                 68:2,6,11
 raise 42:1
                          18:19,20,21,25       receive 39:23          recreational 106:5
 raised 12:12,18
                          20:8 21:1,3,5,5,21     58:23 70:16 96:15      107:5 108:9,20
   16:20 18:24 34:8
                          23:1,5,6,9,12,17     received 42:1 52:3     reduced 118:11
   36:4,9 41:17
                          25:15,17 26:24,24      56:18 59:9 64:8      refer 101:6
   107:11,14
                          27:1,2,11 28:18        92:13 96:17,18       reference 104:22
 raising 12:3 41:25
                          29:16 30:23 31:1       113:10 115:25          123:8 124:2 125:2
   42:12 46:9 100:7
                          31:14,18 32:5,25     receiving 40:20,21     referenced 42:23
 ran 27:10,12
                          33:5,6 34:18,21,22     42:9 46:1 56:13        112:16 124:11
 rare 58:10
                          35:1,1,7,22 36:2,4     67:10 70:13 79:19      125:15
 read 14:15 15:20
                          36:5,8 37:18           82:23 83:10          references 42:19
   29:23 33:20,22,23
                          38:23 39:21,21       recess 65:15 103:9       56:22 118:4
   33:24 37:10 38:6
                          40:20,21 41:16,16    recipient 67:7         referral 73:5
   39:14 41:4 46:12
                          41:20 42:9,15        recognize 22:19          89:24
   46:14 50:3 56:14
                          43:21,24 44:3,7,8      24:20,23 35:15       referred 84:20
   60:14 67:18 77:5
                          44:11,19 45:2,18       40:15 57:3,5,6         85:3 86:5 87:9
   98:11 102:7,8
                          45:23 46:22 47:2       65:19 67:1 70:6        89:17
   105:7 108:23,25
                          47:4,7,9,16,17         82:13,17,17 84:1     referring 62:2,3
   109:17,18 112:13
                          50:10 51:12,24,25      88:22 104:2,23         89:20 95:22 96:2
   112:14 113:12,13
                          52:2,11 53:1,6,17      106:13,18 108:7        96:9,10 113:3
   121:8 124:5,6,12
                          54:2,7,9,22,23         110:12 115:16        refers 112:18
   125:5,6,17
                          55:3 56:13,16          117:1                refute 52:22
 reading 49:22
                          67:10,25 68:10,13    recollection 23:22     regarding 45:10
   123:20
                          68:18,21,23 70:13      28:21 29:14 32:7       57:9 60:4 64:7
 ready 65:12
                          74:21 82:23,25         34:16 36:12 43:11      97:4
 realistic 26:8
                          83:10,11,17,20         43:14 44:9 45:25     regardless 82:2
 realization 94:4,9
                          86:15,18,20 88:14      59:8,11 89:19        regulation 79:25
 realize 113:13
                          89:23,24 90:10         90:9 94:12,22        regulations 29:8
 really 31:2 32:7
                          91:20,24,24 92:4,8     97:2,6 103:14,17       32:4 46:14 49:12
   45:20 49:3 85:2
                          92:11,15,19,19,25      116:9                  50:24 77:3,8
   97:22 101:6
                          93:1,13,14,21        recommendation           78:11 80:2,6,17
   113:20
                          94:23 95:12,17         75:18 76:1,3,10        81:1 120:12
 reason 19:4 71:24
                          96:25 97:24 99:11    record 5:9 14:15       relate 99:23
   91:3,5 111:10
                          100:5,6,9,25 101:1     15:20 26:15 33:22    related 17:23
   123:15 125:8
                          103:4 104:8            56:18 57:14 58:15      19:13 29:7 52:4
   126:3
                          106:11 107:10          58:18 86:25 91:14      69:25 92:21 94:7

                                 Brown & Jones Reporting                   414-224-9533
                                   A Veritext Company                    www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 53 of 60


[related - rights]                                                             Page 20

   101:7 114:12           112:24 122:1,4,9    requiring 31:7        returned 123:19
   118:10 120:6           124:7                 105:12,25           returning 83:17
 relates 14:19          represent 6:19        research 5:21         revert 77:2 78:10
   118:24                 89:14,15 90:6       reservation 39:3        80:2,25
 relating 15:6            117:8               reserve 121:7         review 16:10,16
   88:23 95:20          representation        residential 5:12        17:7,9 36:24 40:4
 relation 39:5            80:18               residents 52:3,9        40:4 49:20 50:14
 relative 9:23          representative          52:10,12 58:17,24     54:8 77:16,22
   122:16                 55:25                 59:3                  78:7 92:22 94:20
 relatively 113:15      representatives       respect 7:9 13:18       121:3 123:13
 remember 7:14            8:1,2 12:10 54:19     14:18,22 19:16        124:1 125:1
   8:16 9:7,10,11,12      82:15                 33:12 39:17 50:4    reviewed 18:3,9
   9:14,17,23 10:9,10   represented 90:7        55:5 66:17 87:15      29:20 30:18 34:1
   10:14,16,17,21       representing            96:18 107:22          34:3 35:6,20
   11:11 12:2 14:6        26:15               respond 28:9            37:18 90:1
   17:23 18:6,7,22,22   represents 53:21        53:11,18 58:2       reviewing 30:23
   19:11,16 27:13       request 56:19 58:5    responded 25:7          35:22
   29:1,1 34:12 35:3      58:9,11 60:3          32:8 39:11          revocation 40:24
   35:13 36:6 37:13       67:23 68:2,7,12     responding 53:25        41:13 50:19,22
   39:4 46:6,9 47:5       82:8 93:10,11         68:23 93:9          revoke 50:25
   47:13,19 68:7          95:13 100:10        response 49:13,20     rewey 36:15
   70:15 104:6 115:2      114:25 122:7          50:2,7,9,13,16      rewrite 118:16
   118:5                  125:9,11              51:4,14,23 52:14      120:11
 remove 111:16          requested 29:22         53:24 54:10 62:18   rewrites 120:5
 repeal 76:23 83:3        57:14 75:2 86:21      65:20               rewrote 118:9,9
   83:13,19 84:4          104:13              responsibilities      rhodes 2:24 118:3
   86:9,13 88:15        requesting 23:3,14      6:11 7:12 120:23    right 8:8 11:1 12:6
   103:2 110:16         requests 58:15,18     responsibility          15:23 23:6,7 25:5
   116:3,8,15,19          58:24                 106:12                25:8 31:22 34:22
 repealed 112:11        require 61:24         responsible 7:17        36:11,12 39:8,18
   113:6                  76:19 77:20 95:9      85:4 102:1            43:15 44:14 46:18
 repealing 71:22          96:4 98:15,23       restriction 19:2        55:23 58:5 60:21
   77:2 78:9 80:25        110:24 116:20       restrooms 11:23         60:25 61:4,10,11
   86:13                required 22:10          11:25 12:5            62:22 74:2 75:15
 report 39:23 71:3        114:2 123:25        result 25:11,14,22      78:18 80:3 82:19
   118:23               requirement             25:25 65:2 76:17      82:21 90:15 94:25
 reported 1:24            101:17 109:24         116:14                98:8 105:1,9
   70:25                  116:15              resume 117:2            116:4 121:7
 reporter 4:4 6:7       requirements 77:8       120:3               rights 50:4 62:10
   16:25 27:23          requires 48:20        return 71:8             114:14,15
   105:16 109:16

                                 Brown & Jones Reporting                 414-224-9533
                                   A Veritext Company                  www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 54 of 60


[rluipa - sitting]                                                             Page 21

 rluipa 112:10           117:23 119:19        send 44:10 54:15      side 70:4
   113:21                123:6 124:3 125:3      58:3 59:17 60:9     sign 101:17 121:8
 role 6:12 86:10,15    school's 27:18           69:3 75:2           signature 122:19
   89:2                schools 71:10,19       sending 19:11           123:15
 rolls 99:2              72:1,2,12 73:20,22     40:1,2 41:20        signed 70:7 82:15
 rooms 11:18 12:5        73:22 94:15            44:16,21 54:17        102:18 124:13
 round 93:18           scroll 91:12             74:24 75:6            125:18
 rules 124:5 125:5     seal 124:15 125:21     sends 26:10           significantly 24:8
 run 33:15             seating 106:7          sense 63:16 68:20     signing 123:20
 runs 72:5               107:24               sent 24:24 28:23      signs 101:3,7,10
           s           second 28:2 31:5         28:24 33:3 36:7       101:25
                         40:22 57:16 67:5       50:7 52:3 54:7,11   simple 86:13
 s 2:7 3:1 5:11
                         97:19 104:17           57:24 58:8 59:1       113:17
   123:16 125:8,8
                         112:9 120:10           67:22 80:17 82:24   sincerely 123:21
   126:3
                       secondary 98:25        sentence 30:4 80:1    single 52:24 69:6
 s.c. 4:6,12
                         100:4                sentiment 31:11       sir 5:16 10:17 19:1
 sacred 1:4 123:6
                       section 29:21            31:14,16,19           19:19 22:19 24:20
   124:3 125:3
                       sections 98:13         separate 13:3           25:23 35:10,15
 sarah 4:17
                         105:11,24              34:15,20,24 42:17     37:13 40:11,15,22
 saturday 69:9,9
                       see 13:14 14:4         separately 12:19        41:8 42:16 43:17
 satya 118:3
                         22:21,25 25:11,12    september 27:15         52:13 54:24 56:22
 saw 36:7
                         26:21 27:18 28:11      110:21                56:23 57:3,7 61:2
 saying 23:18 26:10
                         31:8 35:14 37:8,9    series 2:17 37:9        65:19 66:8 68:16
   29:4 33:24 36:9
                         42:20 46:14 56:2     serve 50:18             70:6 73:14 80:24
   38:1 41:21,24,25
                         56:11 57:1,2,18      service 69:22,24        81:17 82:11,13
   46:22 47:19 73:21
                         60:17,18 63:8,9      set 24:2 69:1 87:17     83:23,25 88:22
   110:5 115:10
                         66:2,3,6 67:8,9      sets 52:15              89:2,14,25 91:17
 says 25:9 27:14
                         71:10,11 84:11       seven 118:10            99:3 100:13 101:9
   29:19,24 30:18
                         85:8 87:9 89:5       shared 60:16            102:24 104:2,6,15
   40:23 43:9 46:13
                         90:25 97:9 100:15    sheet 123:14 125:7      104:22 106:13
   48:16 58:1,6
                         111:23 114:2           125:10,18 126:1       108:7 110:10
   59:15 61:1,15
                         115:21 116:1         short 92:20             111:20 115:14
   62:8,11 67:20
                       seeing 18:19,20,21     shorthand 4:4           117:8 123:10
   68:9,14 78:15
                         26:24 27:1,2 33:6      122:3,8             sit 39:14 53:5
   89:17 90:25
                         36:8 56:16           shortly 27:7 30:14      100:5
   100:14 105:10
                       seek 12:3,5 83:3       show 48:15            site 35:16 36:17
   112:9,20 116:5
                       seeking 12:12,19       showed 77:13          sitting 23:5 25:15
 scheduled 114:9
                         26:1 95:6            shown 26:25 48:19       27:2 29:10 32:25
 schedules 56:1
                       seen 18:16 26:23         123:16                38:23 46:19 50:16
 school 1:4 5:19
                         36:13,18             shuffling 108:24        53:1,16 54:9
   27:17 54:19 66:16
                                                                      68:18,21 73:7
   94:16,17 106:25
                                Brown & Jones Reporting                  414-224-9533
                                  A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 55 of 60


[slow - sure]                                                                Page 22

 slow 6:7 105:16,21      92:11 94:16        starts 11:14 97:8     submit 58:14,17
   112:24              specifications       state 4:5 5:9 122:4   submitted 68:1
 social 7:9 118:25       49:11                122:21 124:10         83:18
 soglin 118:4          specifics 47:18        125:15              subpoena 4:3
 solid 55:14             96:21 101:23       stated 65:23 72:11      122:14
 solutions 123:1       specified 62:9         107:9               subscribed 124:10
   126:1                 106:8              statement 2:12          125:14 126:21
 somebody 10:5         speculate 45:13        31:11 32:9 113:17   subsection 98:14
   11:14 117:6           62:25 88:11          124:13,14 125:19      98:14 105:25
 soon 83:5             spell 5:9              125:19              substance 51:20
 sorrow 66:19          sports 106:4 107:5   states 1:1              109:20
 sorry 6:9 17:2          108:8,20           status 118:23         substitute 97:9,15
   27:20,21 28:10      spreadsheet 59:13    statutory 102:22        97:16,17,17,19,20
   32:11 33:1 36:2       60:3,16,21 61:18   steve 36:14,25          97:21,22,23,25
   43:25 74:5 75:22      65:25              stood 78:17             98:13 99:6 106:16
   85:10 99:21         square 77:18         stop 7:22 10:11         108:5,18 109:1,2
   105:17,17,17,20       98:19 99:16        stopped 10:1 49:1     substitutes 89:5
   105:20,23 108:23    stadium 38:3         storage 12:1,2        successful 119:3
   112:25                48:11,14 106:6     stouder 2:23 34:19    suddenly 10:7
 sort 10:1 21:17         107:22               34:23 115:17,23       11:11
   29:11 36:19 39:23   stadiums 106:3       strange 1:13 2:3      sue 85:19
   69:9 99:15 113:21     107:4 108:7,19       4:1 5:3,8,10,11     suggest 39:7 64:25
 sought 11:18,21       staff 7:7 36:19        6:10 18:15,16         114:24
   21:8                  38:3 40:5 85:21      22:17 24:18 26:13   suggested 60:20
 sound 13:18,19          86:16 96:22          26:16,18 27:20      suite 4:6,13 123:2
   14:1 106:6 107:23     118:21               34:12 37:3 56:4,8   summarize 8:6
 sounds 34:3           stamped 40:4           56:25 64:24 65:17   summary 110:20
 south 4:18            standard 71:8          67:16,21 68:10        119:11,21
 space 48:12,18          77:3,8 78:10         103:10 116:23       superior 123:1
   79:1                  79:25 80:2 81:1      122:14 123:9        supermajority
 speak 16:25 64:2      stands 11:21           124:4,9 125:4,13      22:12,14
   72:9 98:5 109:10    start 5:24 10:12       126:20              supervisor 70:23
 speaking 74:23          31:4,5 105:18,21   street 4:6,13,18      support 53:16
 specific 8:16 9:13      105:23 114:1       strike 57:16 108:6      65:24
   23:17 64:19 86:20     117:19,20,20,20    string 57:13          supported 53:8
   99:15,25 106:23     started 6:13,19      structure 7:6           61:3,18
   106:24                9:11 11:2 20:19      118:21,24           supreme 119:5,13
 specifically 34:10      24:14 49:2 120:9   stuff 13:8 102:20     sure 5:10 10:23
   48:16 53:2 58:18      120:11               102:21                12:17 13:23 32:2
   61:9 62:9 77:16     starting 37:7        subject 14:5 77:15      32:20 36:1 38:18
   83:20 84:19 85:4      57:15                                      38:25 43:3 61:8

                               Brown & Jones Reporting                 414-224-9533
                                 A Veritext Company                  www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 56 of 60


[sure - times]                                                                   Page 23

   62:5,20 69:18        talk 9:11 12:16        testify 122:15        third 36:18 71:6
   70:3 80:21 83:17       28:4 33:10 36:25     testimony 39:20         97:20
   84:7 85:5 86:4         74:24 84:19 90:3       90:4 122:13 124:6   thirty 123:19
   91:11 102:24         talked 17:5 18:7,8       124:7 125:6,9,12    thought 18:12
   104:25 109:16          19:8,10 23:19        thank 19:25 28:9        38:17 43:9 44:17
   116:13 117:8           42:7 45:15 75:1        65:14 82:11 85:11     48:4 53:13,15
   120:1,22               76:7 96:22             99:1 106:9          thousands 58:12
 surprise 26:7          talking 11:12          thanking 25:7         three 7:6 22:10,13
 surprised 25:24          18:25 22:22 28:7       45:3                  23:6 75:10 76:19
   26:3                   80:5 86:7 109:14     thanks 99:4             89:5 116:15,20
 surprising 24:14       talks 79:24 107:4      theoretically         thursday 37:7
 switch 31:24           tanner 4:17              107:17                42:20 43:17,18
 sworn 5:4 122:15       task 7:5,8 118:21      thesis 53:19            92:1,3 95:3
   124:10,13 125:14     teach 5:19,21          thiele 36:15          time 7:2 8:3,15
   125:18 126:21        team 19:20 20:5        thing 20:21 41:20       11:13 12:17 13:2
 szylstra 4:19          technical 13:6           44:17,23 49:1         14:22,25 15:3,4,5
           t              49:11                  68:10,13 69:10,13     15:12,22 16:14,17
                        technicalities           88:1 115:7            17:12,15,22,22
 t 2:7 3:1 5:11
                          85:23                things 11:4 13:7        18:3,8,21 19:5
 table 9:3 20:13
                        technically 89:21        53:17 78:6 85:23      20:25 22:7 23:11
   21:8 25:24 48:24
                        telephone 44:9           92:22 102:22          27:3 29:16 30:23
 tabled 23:23
                        telephonic 9:15,16       115:11 119:8          31:1 33:1,4,21
 tabling 9:8,12,24
                        tell 10:15 20:16         120:19                35:4 36:3,7,8,13
   10:8,25 11:2 12:4
                          29:10 46:20,21       think 14:16,23          38:18 39:2,12
   12:18 17:6 20:17
                          55:24 79:15 86:25      16:3 17:18 20:22      43:9 45:24 52:1
   21:2 25:4
                          88:7 114:21,22         25:20 26:3 30:9       52:25 54:23 59:9
 tag 57:9 67:4 90:1
                          117:11,13              30:14 32:12 34:8      68:19 69:6,23
   90:3
                        telling 21:1 26:9        36:23 40:8 44:16      70:22 72:25 77:7
 take 18:14 22:17
                          34:18,21,22 35:1,3     44:23 46:17 48:3      78:16,17,18,19
   26:12 29:4 33:13
                          44:9 45:4 53:12        48:5,7 55:23,23       79:3,12 80:17
   35:9,10 37:10
                        temporary 14:5,7         58:13 59:20 60:16     81:3 82:24 83:1
   40:14 56:14 58:7
                        tends 69:2               61:20 64:13,24        87:21 92:13 93:3
   62:21 68:19 70:3
                        terminate 71:8,23        68:1 71:22 72:3,9     93:7 97:14 101:18
   70:5 74:9 82:12
                          73:9,24 74:1,3         75:2 99:21 106:19     102:19 109:21
   83:23 84:5 88:21
                          86:22                  106:23 113:13         111:12 117:2,23
   101:10 103:6
                        terminating 72:4         115:7 117:6           118:19,22
   111:19 113:23
                          72:15 73:13,15,18    thinkable 73:1        timeframe 120:24
   117:11,12,17
                        terms 55:22 85:4       thinking 10:10        timeline 19:16
 taken 4:2 83:2
                          112:10                 11:13 31:20 44:15     40:9,10
   85:16 122:6,7,8,13
                        testified 5:5 17:24      45:22 52:25 65:9    times 8:14 32:5
 takes 34:5
                          34:7 95:4,7                                  88:4,8

                                 Brown & Jones Reporting                  414-224-9533
                                   A Veritext Company                   www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 57 of 60


[timing - variables]                                                             Page 24

 timing 87:21            transportation        typewriting           urgency 93:6
 title 89:8,12,23          6:20 7:18,21,22       122:11                100:6,9
    93:5,17,20,22          118:10,11,12        typical 69:7,15       use 6:24 7:1,12,21
    96:19,23,24 97:1,7     120:6                 104:9 112:2           11:10 21:8 34:15
    97:8 98:10,11        trap 59:21            typically 69:11         34:25 48:18 55:1
    99:5,8,9,10,13       treated 68:11           112:4                 60:5 61:23 62:1
    103:12,15,19,23      tried 79:14                     u             62:13 64:7 66:1
    105:7,9,10 106:9     trouble 35:24                                 77:16,22 78:21
                                               uh 27:19 85:9
    106:13 108:18        true 30:20 81:5                               79:19 92:22 94:20
                                                 105:16 111:15
    109:5,6,24 110:4,5     122:12                                      95:10,22 96:3,5,7
                                               ultimate 30:21,21
    110:6,8              trust 63:8,11,17                              96:9,13 98:15,21
                                               ultimately 10:13
 titles 99:7 106:11        63:23                                       98:23,23 99:23
                                               uncommon 88:13
    109:19,22            truth 122:15,16,16                            103:2,11 104:24
                                               undermine 62:13
 tjeanlouis 4:20         truthful 63:23                                105:14 106:2
                                               understand 33:21
 today 26:16 27:2        try 6:7 29:12 70:2                            107:18 109:6
                                                 38:19 39:1 62:20
    29:10 32:25 33:23      95:13                                       110:17,24 112:19
                                                 80:21 102:10
    39:14 53:1,5,17      trying 11:3 25:18                             114:12,15,17,23
                                                 114:10
    55:25 68:18,21         44:16 52:8 61:22                            115:1 120:18,24
                                               understanding
    89:25 100:5            73:13 94:18                               uses 77:14,16,20
                                                 33:16 38:5,8
    117:14 120:3           107:16,20 115:7                             95:9 96:5 98:16
                                                 41:12 47:22 71:17
 told 18:12 34:19          119:9                                       98:25 99:25 100:2
                                                 78:5 101:9,14,16
    34:23 80:24          tucker 8:19 13:14                             100:3 106:5 107:8
                                                 102:18
 tomorrow 38:4             13:24 14:4,8                                108:9,10,12,13,16
                                               understood 11:16
    43:10 58:3             17:24 18:17 19:5                            108:21 109:3
                                                 22:15 36:21 38:22
 tongue 99:2               26:21 27:4 28:18                          usual 59:1
                                                 77:7 79:2 116:13
 tonight 2:14 38:1         32:24 34:19,23                            usually 27:8 58:11
                                               unhappy 115:3,4
 top 8:12 24:24            38:12 47:14,19                              59:1 67:16,20
                                                 115:6,9
    84:10                  50:9 54:2 74:15                             68:9 69:5
                                               unintelligible
 topic 56:3                96:21                                               v
                                                 105:15
 topics 14:18            tuesday 43:19
                                               unit 6:14,19 7:15     v 123:6 124:3
 town 69:22,24             87:23 90:16,18,18
                                               united 1:1              125:3
 transcribed 124:7         90:20,25 91:4,4,6
                                               university 5:17       vacation 67:12,17
 transcript 90:1           104:3
                                                 119:19                68:15,16 69:1,6,16
    123:12,13 124:5      turn 104:1,16
                                               unusual 10:4 16:3       69:19 83:16,22
    124:12 125:5,11      two 7:6 34:19
                                                 24:7 49:1 50:11       92:10,12
    125:17                 102:3,9 107:5
                                                 50:15 102:19        vacations 68:20,22
 transcription             111:6,11,21
                                               upcoming 24:9           69:7
    122:11                 115:25
                                               update 118:13         valid 22:8
 transit 6:20 7:1        type 84:14 99:15
                                                 119:9,24            value 113:21
    118:8                types 99:25
                                               updates 117:12,13     variables 16:5

                                  Brown & Jones Reporting                 414-224-9533
                                    A Veritext Company                  www.veritext.com
   Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 58 of 60


[variety - zylstra]                                                           Page 25

 variety 89:4           73:21 87:19 88:11   west 94:16            writing 5:21 75:3
 veldran 57:8,9         117:20              western 1:2             77:7 118:23
 verbal 27:23          wanted 66:21         winter 1:24 4:3       written 68:4 81:22
 verbally 33:10         67:18 71:25 79:15    122:3,20               81:24
 verbatim 41:5          92:20 95:13         wisconsin 1:2,7,17    wrong 53:13
 verification 35:16    waters 51:16          4:5,7,13,19 5:17     wrote 62:21 82:9
   36:17                68:20 69:7,11,16     119:13,19 122:5               x
 verify 91:9            69:18,21,21 83:8     122:21 123:7
                                                                  x 2:1,7 3:1
 veritext 123:1,8       83:11,12,18 88:16    124:3 125:3
   126:1                88:20 92:5          wishing 45:5                   y
 veritext.com.         wautier 2:10,12      withdraw 88:17        yeah 8:8 11:24
   123:17               2:13 8:19,25 9:8    witness 2:2 4:2 6:9     37:11 65:13 90:23
 version 99:8           9:19 20:12 23:13     15:15,23 17:1          96:4 97:23 102:11
 versions 98:7          24:21 25:3 34:13     28:3,6,10 33:20,23     105:18 117:18
 versus 12:19           34:18,21,22 35:3     75:22 102:7          year 5:23,25 7:6
 vested 50:4            37:7,14 38:19        105:17 108:23          7:15
 viable 73:15           39:1,7 40:2,18       123:9,12 124:1,4     years 6:14 7:16
 view 30:1 78:8         42:2 44:14 45:9      124:11 125:1,4,15      23:7 59:2 72:5
 violations 6:16,16     57:24 74:10,23      witness’ 123:15       yep 5:15 28:6,6
 vitae 3:3              75:6 79:24          wmc 1:6                         z
 voluntarily 79:6      wautier's 41:9       won 119:4             zba 2:22 71:20
 voluntary 73:10        49:14 52:14         woodrow 59:7            73:2 94:4,6,10,21
   73:10,10 79:3       way 10:6 13:11       word 5:11 11:10         107:11,13
 vote 22:9,11,12        24:11,16 25:20       72:20 83:10          zoning 6:24 7:1
   76:4,19 116:15,20    48:8 62:17 80:11     120:18                 13:9,10 22:6 29:6
           w            81:22,25 94:13      words 52:15 95:11       29:6 34:15,25
                        99:3 120:25 121:3    99:3                   40:4 41:1 49:10
 w 1:13 2:3 4:1
                       ways 87:14           work 5:17 7:18          71:9,25 72:1 76:8
   122:14 123:9
                       website 84:2          69:16,20,21,25         76:9 77:3,9,13
   124:4,9 125:4,13
                       wednesday 5:1         83:12 88:14,19         78:11 80:1,3,6
   126:20
                        57:21 115:24         117:22,23 119:7        81:1 88:24 89:6
 wait 14:13,13,14
                       week 67:13,17         119:24 120:16          95:21 98:22
   28:8 73:12 93:17
                        68:15,17 69:9       worked 94:14            108:11 120:23
   93:20 109:13,13
                        90:7,10,12 91:25     119:17                 121:1
   109:13
                        93:2,2 100:8        working 109:20        zylstra 4:17 6:6
 waive 53:3
                       weekend 43:22         119:12                 9:22 11:8 12:7,14
 waived 123:20
                        45:6                worse 119:6             12:23 13:20 14:13
 waiving 55:18
                       weeks 120:13         write 37:25 53:19       14:16 15:2,5,9,12
 wake 119:13
                       weird 102:21          60:2,12,23 76:22       15:17,21 18:5,13
 want 15:3,17 38:5
                       went 33:11 69:6      writes 63:7 67:15       19:7,22,25 20:7,24
   51:9,18,20 55:11
                        97:12                71:7                   21:19 23:25 26:2
   69:17 72:9,11
                               Brown & Jones Reporting                 414-224-9533
                                 A Veritext Company                  www.veritext.com
Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 59 of 60



                 Federal Rules of Civil Procedure

                                  Rule 30



    (e) Review By the Witness; Changes.

    (1) Review; Statement of Changes. On request by the

    deponent or a party before the deposition is

    completed, the deponent must be allowed 30 days

    after being notified by the officer that the

    transcript or recording is available in which:

    (A) to review the transcript or recording; and

    (B) if there are changes in form or substance, to

    sign a statement listing the changes and the

    reasons for making them.

    (2) Changes Indicated in the Officer's Certificate.

    The officer must note in the certificate prescribed

    by Rule 30(f)(1) whether a review was requested

    and, if so, must attach any changes the deponent

    makes during the 30-day period.




    DISCLAIMER:      THE FOREGOING FEDERAL PROCEDURE RULES

    ARE PROVIDED FOR INFORMATIONAL PURPOSES ONLY.

    THE ABOVE RULES ARE CURRENT AS OF APRIL 1,

    2019.    PLEASE REFER TO THE APPLICABLE FEDERAL RULES

    OF CIVIL PROCEDURE FOR UP-TO-DATE INFORMATION.
Case: 3:21-cv-00118-wmc Document #: 56 Filed: 06/20/22 Page 60 of 60

               VERITEXT LEGAL SOLUTIONS
     COMPANY CERTIFICATE AND DISCLOSURE STATEMENT

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transcript of the colloquies, questions and answers
as submitted by the court reporter. Veritext Legal
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documents as submitted by the court reporter and/or
attorneys in relation to this deposition and that
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